Climate Change Indicators
in the United States, 2012




                   2ND EDITION




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    Acknowledgments
    This report was developed by EPA’s Office of Atmospheric Programs, Climate Change Division, with support from the Office Re-
    search and Development and the Office of Water. It also reflects the contributions and collaboration of many other individuals. EPA
    received essential support from scientists and communications experts at a number of federal agencies, universities, nongovernmental
    organizations, and international institutions.


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    Peer Review
    The report included an external peer review consisting of 12 expert reviewers: Michael C. MacCracken, Tanja Srebotnjak, Dan Tunstall, Paul Kir-
    shen, Thomas R. Knutson, Gerald Meehl, Steven Nerem, W. Tad Pfeffer, Michael J. Prather, David Schimel, Joel D. Schwartz, and Claudia Tebaldi.

    Report Production and Design
    Support for the report’s production and design was provided by Eastern Research Group, Inc. (ERG).
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     Introduction

     T
          he Earth’s climate is changing. Scientists are
          confident that many of the observed changes
          in the climate can be linked to the increase in
                                                                       What Is Climate Change?
     greenhouse gases in the atmosphere, caused largely                Climate change refers to any significant change in measures of
                                                                       climate (such as temperature or precipitation) lasting for an ex-
     by people burning fossil fuels to generate electric-              tended period (decades or longer). Climate change may result
     ity, heat and cool buildings, and power vehicles (see             from natural factors and processes or from human activities.
     “The Greenhouse Effect” below to learn about how                  Global warming is a term often used interchangeably with the
     these gases trap heat). Current and future emissions              term “climate change,” but they are not the same thing. Global
     will continue to increase the levels of these gases in            warming refers to an average increase in the temperature of the
     our atmosphere for the foreseeable future.                        atmosphere near the Earth’s surface. Global warming is just one
                                                                       aspect of global climate change, albeit a very important one.
     One way to track and communicate the causes and
     effects of climate change is through the use of indica-
     tors. An indicator, such as a record of Arctic sea ice         atmosphere and many fundamental measures of climate
     extent, represents the state or trend of certain envi-         in the United States are changing. Temperatures are
     ronmental conditions over a given area and a specified         rising, snow and rainfall patterns are shifting, and more
     period of time. Scientists, analysts, decision-makers, and     extreme climate events—like heavy rainstorms and
     others use environmental indicators, including those re-       record high temperatures—are taking place. Similar
     lated to climate, to help monitor environmental trends         changes are occurring around the world.
     over time, track key factors that influence the environ-         These observed changes affect people and the environ-
     ment, and identify effects on ecosystems and society.            ment in important ways. For example, sea levels are rising,
     The climate change indicators in this report pres-               glaciers are melting, and plant and animal life cycles are
     ent compelling evidence that the composition of the              changing. These types of changes can bring about fun-
                                                                                            damental disruptions in ecosystems,
                                                                                            affecting plant and animal popula-

                       The Greenhouse Effect                                                tions, communities, and biodiversity.
                                                                                            Such changes can also affect society,
                                                                                            including where people can live,
                                                                                            what kinds of crops farmers can grow,
                 Some solar radiation
                  is reflected by the           Some of the infrared radiation              and what kinds of businesses can
                     Earth and the              passes through the atmosphere.              thrive in certain areas.
                      atmosphere.               Some is absorbed and re-emitted
                                                                                            Indicators of climate change are ex-
                                                in all directions by greenhouse
                                                gas molecules. The effect of this           pected to become even more numer-
                                                is to warm the Earth’s surface              ous and depict even clearer trends in
                                                and the lower atmosphere.                   the future. Looking ahead, the U.S.
Most radiation is absorbed                                                                  Environmental Protection Agency
by the Earth’s surface                    Atmosphere                                        (EPA) will continue to work in part-
                                                                Infrared radiation
and warms it.                                                    is emitted by the          nership with other agencies, orga-
                               Earth’s surface
                                                                  Earth’s surface.          nizations, and individuals to collect
                                                                                            and communicate useful data and to
                                                                                            inform policies and programs based
                                                                                            on this knowledge.                                  3




                                                                                                                                        P00000069597
    About This Report                                             Who Is This Report For?
    Climate Change Indicators in the United States, 2012,         Climate Change Indicators in the United States, 2012,
    presents 26 indicators to help readers better un-             is written with the primary goal of informing read-
    derstand observed trends related to the causes and            ers’ understanding of climate change. In addition to
    effects of climate change. This document updates a            presenting climate change observations and trends
    report published by EPA in 2010.                              in the United States and globally, this report high-
                                                                  lights the far-reaching significance of these changes
    Various government agencies, academic institutions,
                                                                  and their possible consequences for people, the envi-
    and other organizations contributed data critical to
                                                                  ronment, and society.
    the development of this report. EPA also received
    feedback from a diverse group of scientists, research-        This report is also designed to be useful for sci-
    ers, and communications experts in the public and             entists, analysts, decision-makers, educators, and
    private sectors. This feedback helped to inform the           others who can use climate change indicators as a
    content and new features of this 2012 report. All             tool for:
    of the indicators in this report are based on data
                                                                  •	 Assessing trends in environmental quality, factors
    that have been collected and compiled according
                                                                     that influence the environment, and effects on
    to protocols accepted by the scientific community.
                                                                     ecosystems and society.
    The indicators were chosen using a standard set of
    criteria that considered usefulness, objectivity, data        •	 Effectively supporting science-based decision-
    quality, transparency, ability to meaningfully com-              making and communication.
    municate, and relevance to climate change. In addi-
    tion, the report was peer-reviewed by independent             •	 Evaluating existing and future climate-related
    technical experts.                                               policies and programs.


                                                                  What’s New?
       EPA’s Greenhouse Gas                                       The 2012 report reflects the following new features
                                                                  and changes:
       Reporting Program                                          •	 Three new indicators: Snowfall, Streamflow, and
       EPA is now collecting facility-level data on U.S. green-
       house gas emissions and other relevant information            Ragweed Pollen Season. These additions provide
       under the Greenhouse Gas Reporting Program. This              further evidence of climate change and its effects
       program requires annual reporting of greenhouse gas           that are being felt by different kinds of ecosys-
       data from large emissions sources across a range of           tems, as well as by society.
       industry sectors, as well as suppliers of products that
       would emit greenhouse gases if released or combust-        •	 Expanded indicators: Arctic Sea Ice was ex-
       ed. This new information will help inform the annual          panded to show changes in the age of ice and
       Inventory of U.S. Greenhouse Gas Emissions and Sinks,
       which currently serves as the data source for the U.S.        Snow Cover was expanded to show changes in
       Greenhouse Gas Emissions indicator.                           snow cover for particular seasons. Several decades
       For more information, see: www.epa.gov/                       of historical data were added to Drought, and
       climatechange/emissions/ghgdata.                              the 2010 Heat Waves indicator was converted to
                                                                     High and Low Temperatures.
                                                                  •	 Updated indicators: Nearly all indicators have
                                                                     been updated with additional years of data that
                                                                     have become available since the last report.
                                                                  •	 Regional perspectives: Several indicators include
                                                                     maps that show how trends vary by region.




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                                                                                                            P00000069598
A Roadmap to the Report                                                          Snow and Ice: Climate change can
                                                                                  alter the Earth’s snow- and ice-cov-
Most of the indicators in this report focus on the Unit-                          ered areas. These changes, in turn,
ed States, but some include global trends to provide                              can affect air temperatures, sea levels,
context or a basis for comparison, while others have a                            ocean currents, and storm patterns.
regional focus. Geographic coverage depends on data                               This chapter focuses on trends in
availability and the nature of what is being measured.      glaciers and sea ice, snowfall, extent and depth of snow
For example, greenhouse gas concentrations in the           cover, and the freezing and thawing of oceans and lakes.
atmosphere are studied on a global scale. The indica-
tors span a range of time periods, depending on data                             Society and Ecosystems: Changes
availability. Each indicator features five elements:                             in the Earth’s climate can affect
                                                                                 public health, agriculture, water
•	 One or more graphics depicting changes over time.                             supplies, energy production and use,
   Some indicators consist of a single metric, while                             land use and development, and
   others present multiple metrics (for example, the                             recreation. Climate change can also
   Drought indicator shows two different ways of cal-       disrupt the functioning of ecosystems and increase the
   culating drought).                                       risk of harm or even extinction for some species. This
•	 Key points about what the graphics show.                 chapter looks at some of the ways that climate change
                                                            is affecting society and ecosystems, including changes
•	 Background on how the indicator relates to climate       in allergy seasons, heat-related deaths, streamflows, and
   change.                                                  bird migration patterns.
•	 Information about how the indicator was developed.
•	 Factors that influence the potential to draw valid       The report concludes with a discussion on climate
   conclusions from the indicator.                          change indicators and health, as further development
                                                            of human health indicators is of increasing importance.
The indicators are divided into five chapters:              Climate change impacts associated with human health
                                                            include expected increases in heat-related illness and
                    Greenhouse Gases: Greenhouse gases      death, worsening air quality, and likely increases in the
                    from human activities are responsible   frequency and strength of certain extreme events such
                    for the largest share of climate        as floods, droughts, and storms. Climate change may
                    change since the mid-20th century.      also allow some diseases to spread more easily. People
                    The indicators in this chapter          most vulnerable to health impacts include the poor,
                    characterize emissions of the major     the elderly, those already in poor health, the disabled,
greenhouse gases resulting from human activities, the       and indigenous populations. EPA plans to explore
concentrations of these gases in the atmosphere, and how    opportunities to work with climate and health experts
emissions and concentrations have changed over time.        to develop indicators that communicate the effects of
                                                            climate change on health and society more broadly.
                    Weather and Climate: Rising global      EPA has compiled an accompanying technical support
                    average temperature is linked to        document containing more detailed information about
                    certain widespread changes in           each indicator, including data sources, data collection
                    weather patterns, which in turn         methods, calculations, statistical considerations, and
                    lead to changes in the Earth’s          sources of uncertainty. This document also describes
                    climate (the average weather over       EPA’s approach and criteria for selecting indicators
time). This chapter focuses on indicators related to        for the report. This information is available on EPA’s
weather and climate, including temperature, precipita-      website at: www.epa.gov/climatechange/indicators.
tion, storms, and droughts.
                                                            Additional resources that can provide readers with
                   Oceans: The world’s oceans have a        more information appear at the end of the report (see
                    two-way relationship with weather       Climate Change Resources on p. 75).
                    and climate. The oceans influence
                    the weather on local to global
                    scales, while changes in climate can
                                                            Looking Ahead
                    fundamentally alter certain proper-     As new and more comprehensive indicator data be-
ties of the ocean. This chapter examines trends in          come available, EPA plans to continue to periodically
ocean characteristics that relate to climate change,        update the indicators presented in this report to docu-
such as heat storage, temperature, and sea level.           ment climate change and its effects.
                                                                                                                              5




                                                                                                                      P00000069599
    Summary of Key Points

    Greenhouse Gases
    Human activities have substantially increased the amount of greenhouse gases in the atmosphere, leading to
    warming of the climate and many other changes around the world—effects that will persist over a long time.


                  U.S. Greenhouse Gas Emissions. In the United States, greenhouse gas emissions caused by hu-
                  man activities increased by 10 percent from 1990 to 2010. Carbon dioxide accounts for most
                  of the nation’s emissions and most of this increase. Electricity generation is the largest source
                  of greenhouse gas emissions in the United States, followed by transportation. Emissions per
                  person have decreased slightly in the last few years.


                  Global Greenhouse Gas Emissions. Worldwide, emissions of greenhouse gases from human
                  activities increased by 26 percent from 1990 to 2005. Emissions of carbon dioxide, which ac-
                  count for nearly three-fourths of total emissions, increased by 31 percent over this period. As
                  with the United States, the majority of the world’s emissions result from energy production
                  and use.

                  Atmospheric Concentrations of Greenhouse Gases. Concentrations of carbon dioxide and
                  other greenhouse gases in the atmosphere have increased since the beginning of the industrial
                  era. Almost all of this increase is attributable to human activities.1 Historical measurements
                  show that current levels of many greenhouse gases are higher than any levels recorded for
                  hundreds of thousands of years, even after accounting for natural fluctuations.


                  Climate Forcing. Climate or “radiative” forcing is the measurement of how substances such
                  as greenhouse gases affect the amount of energy absorbed by the atmosphere. An increase in
                  radiative forcing means a heating effect, which leads to warming, while a decrease in forcing
                  produces cooling. From 1990 to 2011, the total radiative forcing from greenhouse gases added
                  by humans to the Earth’s atmosphere increased by 30 percent. Carbon dioxide has accounted
                  for approximately 80 percent of this increase.




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                                                                                                           P00000069600
Weather and Climate
Variations in weather and climate cause changes in temperature, precipitation, and extreme event patterns,
which can directly or indirectly affect many aspects of society.


               U.S. and Global Temperature. Average temperatures have risen across the contiguous 48 states
               since 1901, with an increased rate of warming over the past 30 years. Seven of the top 10
               warmest years on record have occurred since 1990. Recent compilations of the change in
               global average temperatures show a similar trend, and 2001–2010 was the warmest decade on
               record worldwide. Within the United States, temperatures in parts of the North, the West,
               and Alaska have increased the most.

               High and Low Temperatures. Since the 1970s, unusually hot summer temperatures have
               become more common in the United States, and heat waves have become more frequent. In
               contrast, extremely cold winter temperatures have become less common. The most recent
               decade has had twice as many record high temperatures as record lows. The most severe heat
               waves in U.S. history remain those that occurred during the “Dust Bowl” in the 1930s.

               U.S. and Global Precipitation. Total annual precipitation has increased in the United States
               and over land areas worldwide. Since 1901, precipitation has increased at an average rate of
               nearly 6 percent per century in the contiguous 48 states and more than 2 percent per century
               over land areas worldwide. However, shifting weather patterns have caused certain areas, such
               as Hawaii and parts of the Southwest, to experience less precipitation than usual.

               Heavy Precipitation. In recent years, a higher percentage of precipitation in the United States
               has come in the form of intense single-day events. Nationwide, eight of the top 10 years for
               extreme one-day precipitation events have occurred since 1990. The occurrence of abnor-
               mally high annual precipitation totals (as defined by the National Oceanic and Atmospheric
               Administration) has also increased.


               Drought. Average drought conditions across the nation have varied since records began in
               1895. The 1930s and 1950s saw the most widespread droughts, while the last 50 years have
               generally been wetter than average. However, specific trends vary by region. A more detailed
               index developed recently shows that between 2000 and 2011, roughly 30 to 60 percent of the
               U.S. land area experienced drought conditions at any given time.


              Tropical Cyclone Activity. Tropical storm activity in the Atlantic Ocean, Caribbean, and Gulf
              of Mexico has increased during the past 20 years. This increase is closely related to variations
              in sea surface temperature in the tropical Atlantic. However, changes in observation meth-
              ods over time make it difficult to know for sure whether a long-term increase has occurred.
              Records collected since the late 1800s suggest that the actual number of hurricanes per year
              has not increased.




                                                                                                                         7




                                                                                                                 P00000069601
    Oceans
    Changes in ocean temperature, sea level, and seawater chemistry have implications for coastal communities
    and could substantially alter the biodiversity and productivity of ocean ecosystems.

                   Ocean Heat. Several studies have shown that the amount of heat stored in the ocean has
                   increased substantially since the 1950s. Ocean heat content not only determines sea surface
                   temperature, but also affects sea level and currents.


                   Sea Surface Temperature. Ocean surface temperatures increased around the world over the
                   20th century. Even with some year-to-year variation, the overall increase is statistically sig-
                   nificant, and sea surface temperatures have been higher during the past three decades than at
                   any other time since reliable observations began in the late 1800s.

                   Sea Level. When averaged over all the world’s oceans, sea level has increased at a rate of
                   roughly seven-tenths of an inch per decade since 1880. The rate of increase has accelerated
                   in recent years to more than an inch per decade. Changes in sea level relative to the height
                   of the land vary widely because the land itself moves. Along the U.S. coastline, sea level has
                   risen the most relative to the land along the Mid-Atlantic coast and parts of the Gulf Coast.
                   Sea level has decreased relative to the land in parts of Alaska and the Northwest.

                   Ocean Acidity. The ocean has become more acidic over the past 20 years because of increased
                   levels of atmospheric carbon dioxide, which in turn dissolves in the water. Higher acidity
                   has led to decreased availability of minerals such as aragonite, which is an important form of
                   calcium carbonate that many marine animals use to build their skeletons and shells.



    Snow and Ice
    Climate change can dramatically alter the Earth’s snow- and ice-covered areas, affecting vegetation and
    wildlife, water supplies and transportation, and communities in Arctic regions.

                   Arctic Sea Ice. Part of the Arctic Ocean is covered by ice year-round. The area covered by ice
                   is typically smallest in September, after the summer melting season. The minimum extent of
                   Arctic sea ice has decreased over time, and in September 2012 it was the smallest on record.
                   Arctic ice has also become thinner, which makes it more vulnerable to additional melting.


                   Glaciers. Glaciers in the United States and around the world have generally shrunk since the
                   1960s, and the rate at which glaciers are melting has accelerated over the last decade. The
                   loss of ice from glaciers has contributed to the observed rise in sea level.


                   Lake Ice. Lakes in the northern United States generally appear to be freezing later and thaw-
                   ing earlier than they did in the 1800s and early 1900s. The length of time that lakes stay
                   frozen has decreased at an average rate of one to two days per decade.


                   Snowfall. Total snowfall has decreased in most parts of the country since widespread records
                   began in 1930. One reason for this decline is that more than three-fourths of the locations
                   studied have seen more winter precipitation fall in the form of rain instead of snow.

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                                                                                                          P00000069602
               Snow Cover. The portion of North America covered by snow has decreased somewhat since
               1972, based on weekly measurements taken throughout the year. However, there has been
               much year-to-year variability. During the years 2002–2011, the average area covered by snow
               was 3 percent (roughly 100,000 square miles) smaller than the average extent of snow cover
               during the first 10 years of measurement (1972–1981).

               Snowpack. The depth of snow on the ground (snowpack) in early spring decreased at most
               measurement sites—some by more than 75 percent—between 1950 and 2000. However, a few
               locations in the western United States and Canada saw an increase in spring snowpack.




Society and Ecosystems
Climate change could require adaptation on larger and faster scales than in the past, presenting challenges to
human well-being, the economy, and natural ecosystems.

               Streamflow. Changes in temperature, precipitation, snowpack, and glaciers can affect the
               amount of water carried by rivers and streams and the timing of peak flow. Over the last 70
               years, minimum and maximum flows have changed in many parts of the country—some
               higher, some lower. Three-fifths of the rivers and streams measured show peak winter-spring
               runoff happening at least five days earlier than it did in the past.

               Ragweed Pollen Season. Warmer temperatures and later fall frosts allow ragweed plants to produce
               pollen later into the year, potentially prolonging allergy season for millions of people. The length
               of ragweed pollen season has increased at eight out of 10 locations studied in the central United
               States and Canada since 1995. The change becomes more pronounced from south to north.

               Length of Growing Season. The average length of the growing season in the contiguous 48
               states has increased by nearly two weeks since the beginning of the 20th century. A particular-
               ly large and steady increase has occurred over the last 30 years. The observed changes reflect
               earlier spring warming as well as later arrival of fall frosts. The length of the growing season
               has increased more rapidly in the West than in the East.

               Leaf and Bloom Dates. Leaf growth and flower blooms are examples of natural events whose
               timing can be influenced by climate change. Observations of lilacs and honeysuckles in the
               contiguous 48 states suggest that first leaf growth is now occurring a few days earlier than it did
               in the early 1900s. Lilac and honeysuckle bloom dates vary greatly from year to year, which
               makes it difficult to determine whether a statistically meaningful change has taken place.

               Bird Wintering Ranges. Some birds shift their range or alter their migration habits to adapt to
               changes in temperature or other environmental conditions. Long-term studies have found that bird
               species in North America have shifted their wintering grounds northward by an average of 35 miles
               since 1966, with a few species shifting by several hundred miles. On average, bird species have also
               moved their wintering grounds farther from the coast, consistent with rising inland temperatures.

               Heat-Related Deaths. Over the past three decades, more than 7,000 Americans were reported
               to have died as a direct result of heat-related illnesses, such as heat stroke. The annual death
               rate rises when accounting for other deaths in which heat was reported as a contributing factor.
               Considerable year-to-year variability in the data and certain limitations of this indicator make it
               difficult to determine whether the United States has experienced long-term trends in the num-
               ber of deaths classified as “heat-related.”

                                                                                                                              9




                                                                                                                      P00000069603
     Greenhouse
     Major Greenhouse Gases Associated with Human Activities
      Greenhouse gas How it’s produced                                                            Average lifetime             100-year global
                                                                                                  in the atmosphere            warming potential
      Carbon dioxide           Emitted primarily through the burning of fossil   see below*                                    1
                               fuels (oil, natural gas, and coal), solid waste,
                               and trees and wood products. Changes in land
                               use also play a role. Deforestation and soil
                               degradation add carbon dioxide to the atmo-
                               sphere, while forest regrowth takes it out of the
                               atmosphere.
      Methane                  Emitted during the production and transport                        12 years                     21
                               of coal, natural gas, and oil. Methane emissions
                               also result from livestock and agricultural prac-
                               tices and from the anaerobic decay of organic
                               waste in municipal solid waste landfills.
      Nitrous oxide            Emitted during agricultural and industrial activi-                 114 years                    310
                               ties, as well as during combustion of fossil fuels
                               and solid waste.
      Fluorinated              A group of gases that includes hydrofluorocar-   A few weeks to                                 Varies (the highest
      gases                    bons, perfluorocarbons, and sulfur hexafluoride, thousands of years                             is sulfur hexafluo-
                               among other chemicals. These gases are emitted                                                  ride at 23,900)
                               from a variety of industrial processes and com-
                               mercial and household uses, and do not occur
                               naturally. Sometimes used as substitutes for
                               ozone-depleting substances such as chlorofluoro-
                               carbons (CFCs).

     This table shows 100-year global warming potentials, which describe the effects that occur over a period of 100 years after a particular mass of a
     gas is emitted. EPA uses global warming potentials from the Intergovernmental Panel on Climate Change’s (IPCC’s) Second Assessment Report,1
     as countries have agreed to do under current international guidelines within the United Nations Framework Convention on Climate Change
     (UNFCCC). Lifetimes come from the IPCC’s Fourth Assessment Report.2

     * Carbon dioxide’s lifetime is poorly defined because the gas is not destroyed over time, but instead moves among different parts of the ocean–
     atmosphere–land system. Some of the excess carbon dioxide will be absorbed quickly (for example, by the ocean surface), but some will remain in
     the atmosphere for thousands of years, due in part to the very slow process by which carbon is transferred to ocean sediments.




     INDICATORS IN THIS CHAPTER

                                     U.S.                                                               Global                                            Atmospheric
                                     Greenhouse                                                         Greenhouse                                        Concentrations
10                                   Gas                                                                Gas                                               of Greenhouse
                                     Emissions                                                          Emissions                                         Gases




                                                                                                                                                            P00000069604
Gases
  E
       nergy from the sun drives the
       Earth’s weather and climate.
       The Earth absorbs some of the
                                                  Many of the major greenhouse
                                                  gases can remain in the atmo-
                                                  sphere for tens to hundreds of
                                                                                                 One factor is the length of time
                                                                                                 that the gas remains in the
                                                                                                 atmosphere. A second factor is
  energy it receives from the sun                 years after being released. They               each gas’s unique ability to absorb
  and radiates the rest back toward               become globally mixed in the                   energy. By considering both of
  space. However, certain gases in                lower atmosphere, reflecting con-              these factors, scientists calculate
  the atmosphere, called greenhouse               tributions from emissions sources              a gas’s global warming potential,
  gases, absorb some of the energy                worldwide.                                     as compared to an equivalent
  radiated from the Earth and trap                                                               mass of carbon dioxide (which
  it in the atmosphere. These gases                                                              is defined by a global warming
  essentially act as a blanket, mak-                                                             potential equal to 1).
  ing the Earth’s surface warmer
  than it otherwise would be.                                                                     Why does it matter?
  While this “greenhouse effect”                                                                 As greenhouse gas emissions
  occurs naturally, making life                                                                  from human activities increase,
  as we know it possible, human                                                                  they contribute to more warming
  activities in the past century                                                                 of the climate, leading to many
  have substantially increased the                                                               other changes around the world—
  amount of greenhouse gases in                                                                  in the atmosphere, on land, and
  the atmosphere, causing the at-                                                                in the oceans. These changes will
  mosphere to trap more heat and                                                                 have both positive and negative
  leading to changes in the Earth’s                                                              effects on people, plants, and ani-
  climate.                                                                                       mals. Because many of the major
                                                                                                 greenhouse gases can stay in the
  What is happening?                                                                             atmosphere for tens to hundreds
  The major greenhouse gases emit-                Several factors determine how                  of years after being released, their
  ted into the atmosphere through                 strongly a particular greenhouse               warming effects on the climate will
  human activities are carbon                     gas will affect the Earth’s climate.           persist over a long time.
  dioxide, methane, nitrous oxide,
  and fluorinated gases (see Major
  Greenhouse Gases Associated                        Gases and Substances Not Included in This Report
  With Human Activities on p.10).                    This report addresses most of the major, well-mixed greenhouse gases that
  Some of these gases are produced                   contribute to warming of the climate. The report does not address trends in
  almost entirely by human activi-                   emissions or concentrations of substances with shorter atmospheric lifetimes
                                                     (i.e., less than a year) that are also relevant to climate change, such as ozone in
  ties; others come from a combina-                  the lower atmosphere, pollutants that lead to ozone formation, water vapor,
  tion of natural sources and human                  and aerosols (atmospheric particles) such as black carbon and sulfates. These
  activities.                                        substances may be considered for future editions of this report.




For detailed information about data used in these indicators, see the online technical documentation at: www.epa.gov/climatechange/indicators.




  Climate
  Forcing                                                                                                                                        11




                                                                                                                               P00000069605
                      U.S. Greenhouse Gas Emissions
                        This indicator describes emissions of greenhouse gases in the United States.



     Background                                              Figure 1. U.S. Greenhouse Gas Emissions by Gas, 1990–2010
                                                             This figure shows emissions of carbon dioxide, methane, nitrous oxide, and several fluorinated
     A number of factors influence the quan-                 gases in the United States from 1990 to 2010. For consistency, emissions are expressed in million
     tities of greenhouse gases released into                metric tons of carbon dioxide equivalents.
     the atmosphere, including economic ac-




                                                              Emissions (million metric tons of carbon dioxide equivalents)
     tivity, population, consumption patterns,
     energy prices, land use, and technology.                                                                                         8,000
     There are several ways to track these                                                                                                                                                     Nitrous oxide
                                                                                                                                                              HFCs, PFCs, and SF6*
     emissions. In addition to tracking overall                                                                                       7,000
     emissions and emissions from specific
     industrial sectors in absolute terms,                                                                                            6,000                                             Methane
     many countries also track emissions per
     capita.                                                                                                                          5,000



     About the Indicator                                                                                                              4,000

                                                                                                                                      3,000                                                            Carbon dioxide
     This indicator focuses on emissions
     of carbon dioxide, methane, nitrous
                                                                                                                                      2,000
     oxide, and several fluorinated gases—all
     important greenhouse gases that are
                                                                                                                                      1,000
     influenced by human activities. These
     particular gases are covered under the
                                                                                                                                                  0
     United Nations Framework Convention                                                                                                          1990        1992       1994        1996       1998       2000         2002    2004   2006   2008    2010
     on Climate Change, an international
                                                                                                                                                                                                           Year
     agreement that requires participating
     countries to develop and periodically                                                                                                              * HFCs are hydrofluorocarbons, PFCs are perfluorocarbons, and SF 6 is sulfur hexafluoride.
     submit an inventory of greenhouse gas                                                                                                              Data source: U.S. EPA, 20124
     emissions. Data and analysis for this
     indicator come from EPA’s Inventory of
     U.S. Greenhouse Gas Emissions and Sinks:                 Figure 2. U.S. Greenhouse Gas Emissions and Sinks by Economic
     1990–2010. 3 This indicator is restricted
     to emissions associated with human                       Sector, 1990–2010
     activities.                                              This figure shows greenhouse gas sinks (negative values) and emissions by source in the United
     This indicator reports emissions of                      States from 1990 to 2010. For consistency, emissions are expressed in million metric tons of
     greenhouse gases according to their                      carbon dioxide equivalents. Totals do not match Figure 1 exactly because the economic sectors
     100-year global warming potential, a                     shown here do not include emissions from U.S. territories.
     measure of how much a given amount
                                                                               Emissions (million metric tons of carbon dioxide equivalents)




     of the greenhouse gas is estimated to                                                                                                     8,000
                                                                                                                                                                                            Commercial            Residential
     contribute to global warming over a                                                                                                       7,000
     period of 100 years after being emitted                                                                                                                         Agriculture
     (see table on p. 10). For purposes of                                                                                                     6,000
     comparison, global warming potential
     values are calculated in relation to                                                                                                      5,000                                                       Industry
     carbon dioxide and are expressed in
                                                                                                                                               4,000
     terms of carbon dioxide equivalents.
     For additional perspective, this indica-                                                                                                                                                           Transportation
                                                                                                                                               3,000
     tor also shows greenhouse gas emis-
     sions in relation to economic activity                                                                                                    2,000
     and population.                                                                                                                                                                               Electricity generation
                                                                                                                                               1,000

                                                                                                                                                   0

                                                                                                                                               -1,000
                                                                                                                                                                                 Land use, land use change,
                                                                                                                                                                                    and forestry (sinks)
                                                                                                                                               -2,000
                                                                                                                                                    1990       1992       1994        1996       1998       2000         2002   2004   2006    2008   2010
                                                                                                                                                                                                            Year
12                                                                                                                                                      Data source: U.S. EPA, 20125




                                                                                                                                                                                                                                              P00000069606
                                                                                                                         Indicator Notes
                                                                                                                         While this indicator addresses the major
                                                                                                                         greenhouse gases emitted by human activi-
                                                                                                                         ties, it does not include other greenhouse
                                                                                                                         gases and substances that are not covered
                                                                                                                         under the United Nations Framework
                                                                                                                         Convention on Climate Change but that still
     Figure 3. U.S. Greenhouse Gas Emissions per Capita and per Dollar of                                                affect the Earth’s energy balance and climate
                                                                                                                         (see the Climate Forcing indicator on p. 20
     GDP, 1990–2010                                                                                                      for more details). For example, this indica-
     This figure shows trends in greenhouse gas emissions from 1990 to 2010 per capita (heavy or-                        tor excludes ozone-depleting substances
     ange line), based on the total U.S. population (thin orange line). It also shows trends in emissions                such as chlorofluorocarbons (CFCs) and
     compared with the real GDP (heavy blue line). Real GDP is the value of all goods and services                       hydrochlorofluorocarbons (HCFCs), which
     produced in the country during a given year, adjusted for inflation (thin blue line). All data are in-              have high global warming potentials, as
     dexed to 1990 as the base year, which is assigned a value of 100. For instance, a real GDP value                    these gases are being phased out under an
     of 163 in the year 2010 would represent a 63 percent increase since 1990.                                           international agreement called the Mon-
                                                                                                                         treal Protocol. There are also many natural
                  180
                                                                                                                         greenhouse gas emission sources; however,
                                                                                                                         this indicator includes only emissions that
                  160                                                                                                    are associated with human activities.
                                                                     Real GDP
                  140
                                                                                                                         Data Sources
    Index value




                                                                             Population
                  120                                                                                                    Data for this indicator came from EPA’s
                                                                                                         1990 = 100      Inventory of U.S. Greenhouse Gas Emissions
                  100                                                                                                    and Sinks: 1990–2010. This report is avail-
                                                                           Emissions per capita                          able online at: www.epa.gov/climatechange/
                  80                                                                                                     ghgemissions/usinventoryreport.html. The
                                                            Emissions per $GDP                                           calculations in Figure 3 are based on GDP
                  60                                                                                                     and population data provided by the U.S.
                                                                                                                         Bureau of Economic Analysis and the U.S.
                    1990       1992      1994      1996   1998    2000      2002      2004        2006   2008     2010
                                                                                                                         Census, respectively.
                        Data source: U.S. EPA, 20126              Year



Key Points
•	 In April 2010, U.S. greenhouse gas emissions totaled 6,822 million metric tons of carbon
   dioxide equivalents, a 10 percent increase from 1990 (see Figure 1).
•	 For the United States, during the period from 1990 to 2010 (see Figure 1):
	      o	Emissions of carbon dioxide, the primary greenhouse gas emitted by human activities,
          increased by 12 percent.
	      o	Methane emissions remained roughly the same, as higher emissions from activities
          such as livestock production and natural gas systems were largely offset by reduced
          emissions from landfills and coal mines.7
	      o	Nitrous oxide emissions, largely derived from vehicle emissions and agricultural soil
          management practices, such as the use of nitrogen as a fertilizer, declined by 3 percent.
	      o	Emissions of fluorinated gases (hydrofluorocarbons, perfluorocarbons, and sulfur
          hexafluoride), released as a result of commercial, industrial, and household uses,
          increased by 58 percent.
•	 Electricity generation is the largest U.S. emissions source, accounting for about 32 percent of
   total U.S. greenhouse gas emissions since 1990. Transportation is the second-largest source
   of greenhouse gas emissions, accounting for 27 percent of emissions since 1990 (see Figure 2).
•	 Emissions sinks, the opposite of emissions sources, absorb and store emissions. In 2010,
   16 percent of U.S. greenhouse gas emissions were offset by sinks resulting from land use
   and forestry practices (see Figure 2). One major sink is the net growth of forests, which
   remove carbon from the atmosphere. Other carbon sinks are associated with how people
   use the land, including the practice of depositing yard trimmings and food scraps in landfills.
•	 Emissions increased at about the same rate as the population from 1990 to 2007, which caused
   emissions per capita to remain fairly level (see Figure 3). Total emissions and emissions per
   capita declined from 2007 to 2009, due in part to a drop in U.S. economic production during
   this time. Emissions have increased since 2009 as the U.S. economy has begun to grow again.8
•	 From 1990 to 2010, greenhouse gas emissions per dollar of U.S. gross domestic product
   (GDP) declined by 32 percent (see Figure 3). This change may reflect a combination of
   increased energy efficiency and structural changes in the economy.                                                                                                    13

                                                                                                                                                                         13




                                                                                                                                                        P00000069607
                      Global Greenhouse
                      Gas Emissions
                        This indicator describes emissions of greenhouse gases worldwide.




     Background                                                Figure 1. Global Greenhouse Gas Emissions by Gas, 1990–2005
                                                               This figure shows worldwide emissions of carbon dioxide, methane, nitrous oxide, and several fluo-
     Since preindustrial times, increasing                     rinated gases from 1990 to 2005. For consistency, emissions are expressed in million metric tons of
     emissions of greenhouse gases due to                      carbon dioxide equivalents. These totals do not include emissions due to land-use change or forestry.
     human activities worldwide have led to
                                                                                                                               40,000


                                                               Emissions (million metric tons of carbon dioxide equivalents)
     a noticeable increase in atmospheric
     concentrations of long-lived and other
                                                                                                                               35,000
     greenhouse gases (see the Atmospheric
     Concentrations of Greenhouse Gases
                                                                                                                               30,000
     indicator on p. 16). Every country
     around the world emits greenhouse
                                                                                                                               25,000
     gases into the atmosphere, meaning
     the root causes of climate change are
                                                                                                                               20,000
     truly global. Some countries produce far
     more greenhouse gases than others, and                                                                                                                                                                 HFCs, PFCs, and SF6*
                                                                                                                               15,000
     several factors such as economic activity,                                                                                                                                                             Nitrous oxide
     population, income level, land use, and                                                                                                                                                                Methane
                                                                                                                               10,000
     climatic conditions can influence a coun-                                                                                                                                                              Carbon dioxide
     try’s emissions levels. Tracking green-                                                                                    5,000
     house gas emissions worldwide provides
     a global context for understanding the                                                                                         0
     United States and other nations’ roles in                                                                                                   1990                     1995                     2000                       2005
     climate change.                                                                                                                                                                     Year
                                                                                                                                        * HFCs are hydrofluorocarbons, PFCs are perfluorocarbons, and SF 6 is sulfur hexafluoride.

     About the Indicator                                                                                                                Data source: World Resources Institute, 20129

     Like the U.S. Greenhouse Gas Emissions
     indicator (p. 12), this indicator focuses                                  Figure 2. Global Greenhouse Gas Emissions by Sector, 1990–2005
     on emissions of gases covered under the                                    This figure shows worldwide greenhouse gas emissions by sector from 1990 to 2005.* For consis-
     United Nations Framework Convention                                        tency, emissions are expressed in million metric tons of carbon dioxide equivalents. These totals do
     on Climate Change: carbon dioxide,                                         not include emissions due to land-use change or forestry.
     methane, nitrous oxide, and several fluo-                                                                                 40,000
                                                            Emissions (million metric tons of carbon dioxide equivalents)




     rinated gases. These are all important
     greenhouse gases that are influenced by                                                                                   35,000
     human activities, and the Convention re-
     quires participating countries to develop                                                                                 30,000
     and periodically submit an inventory of
     emissions.                                                                                                                25,000
     Data and analysis for this indicator come
     from the World Resources Institute’s                                                                                      20,000
                                                                                                                                                                                                          Waste
     Climate Analysis Indicators Tool (CAIT),                                                                                                                                                             Industrial processes
     which compiles data from peer-reviewed                                                                                    15,000
                                                                                                                                                                                                          Agriculture
     and internationally recognized green-                                                                                                                                                                International transport
                                                                                                                               10,000
     house gas inventories developed by                                                                                                                                                                   Energy
     EPA and other government agencies
                                                                                                                                5,000
     worldwide. Global estimates for carbon
     dioxide are published annually, but esti-
                                                                                                                                   0
     mates for other gases, such as methane                                                                                                      1990                     1995                     2000                       2005
     and nitrous oxide, are available only
     every fifth year.
                                                                                                                                                                                         Year
                                                                                                                                        * Note that the sectors shown here are different from the economic sectors used in U.S. emissions account-
                                                                                                                                        ing (see the U.S. Greenhouse Gas Emissions indicator). Emissions from international transport (aviation and
                           (Continued on page 15)                                                                                       marine) are separate from the energy sector because they are not part of individual countries’ emissions
                                                                                                                                        inventories. The energy sector includes all other transportation activities.
14                                                                                                                                      Data source: World Resources Institute, 201210




                                                                                                                                                                                                                               P00000069608
                                                                                                                                                         This indicator tracks emissions of green-
                                                                                                                                                         house gases according to their 100-year
                                                                                                                                                         global warming potential, a measure of how
                                                                                                                                                         much a given amount of the greenhouse
                                                                                                                                                         gas is estimated to contribute to global
                                                                                                                                                         warming over a period of 100 years after
                                                                                                                                                         being emitted. For purposes of compari-
                                                                                                                                                         son, global warming potential values are
                                                                                                                                                         calculated in relation to carbon dioxide and
                                                                                                                                                         are expressed in terms of carbon dioxide
                                                                                                                                                         equivalents.
Key Points
•	 In 2005, estimated worldwide emissions totaled nearly 39 billion metric tons of green-
   house gases, expressed as carbon dioxide equivalents. This represents a 26 percent
                                                                                                                                                         Indicator Notes
   increase from 1990 (see Figures 1 and 2).                                                                                                             Like the U.S. Greenhouse Gas Emissions
                                                                                                                                                         indicator (p. 12), this indicator does not
•	 Between 1990 and 2005, global emissions of all major greenhouse gases increased (see                                                                  include emissions of a number of gases that
   Figure 1). Emissions of carbon dioxide increased by 31 percent, which is particularly
                                                                                                                                                         affect climate but are not covered under
   important because carbon dioxide accounts for nearly three-fourths of total global emis-
                                                                                                                                                         the United Nations Framework Convention
   sions. Methane emissions increased the least—10 percent—while emissions of nitrous
                                                                                                                                                         on Climate Change. For example, this indi-
   oxide increased by 14 percent. Emissions of fluorinated gases more than doubled.
                                                                                                                                                         cator excludes ozone-depleting substances
•	 Energy production and use (including energy used by vehicles) represent the largest                                                                   such as chlorofluorocarbons (CFCs) and
   source of greenhouse gas emissions worldwide (about 73 percent of the total), followed                                                                hydrochlorofluorocarbons (HCFCs),
   by agriculture (16 to 17 percent) (see Figure 2).                                                                                                     which have high global warming potentials,
•	 Carbon dioxide emissions are increasing faster in some parts of the world than in others                                                              because these gases are being phased out
   (see Figure 3).                                                                                                                                       under an international agreement called
                                                                                                                                                         the Montreal Protocol. This indicator is
                                                                                                                                                         restricted to emissions associated with hu-
                                                                                                                                                         man activities, but it does not account for
                                                                                                                                                         emissions associated with land-use change
                                                                                                                                                         or forestry. There are also various emis-
                                                                                                                                                         sions of greenhouse gases of natural origin,
                                                                                                                                                         which this indicator does not cover.
      Figure 3. Global Carbon Dioxide Emissions by Region, 1990–2008                                                                                     Global emissions inventories for gases other
      This figure shows carbon dioxide emissions from 1990 to 2008 for different regions of the world.                                                   than carbon dioxide are limited to five-year
      These totals do not include emissions due to land-use change or forestry.                                                                          intervals. The United Nations Framework
                                                                                                                                                         Convention on Climate Change database
                                     35,000                                                                                                              has more comprehensive data; however,
                                                                                                                                                         these data are available mainly for a group
                                                                                                                          Australia and Oceania
                                                                                                                                                         of mostly developed countries that account
                                     30,000                                                                                                              for only about half of global greenhouse gas
                                                                                                 Africa and Middle East                                  emissions. Thus, to provide a more repre-
                                                                            South America
   Emissions (million metric tons)




                                     25,000                                                                                                              sentative measure of global greenhouse gas
                                                    Other North America                                                                                  emissions, this indicator uses the broader
                                                                                                                                                         CAIT database.
                                     20,000


                                     15,000
                                                                                        United States                                                    Data Sources
                                                                                                                                                         Data for this indicator came from the
                                                                                                                                                         World Resources Institute’s CAIT
                                     10,000                                                    Asia                                                      database, which is accessible online at:
                                                                                                                                                         http://cait.wri.org. CAIT compiles data
                                      5,000                                                                                                              that were originally collected by organiza-
                                                                                            Europe
                                                                                                                                                         tions including the International Energy
                                                                                                                                                         Agency, EPA, the U.S. Carbon Dioxide
                                         0                                                                                                               Information Analysis Center, and the
                                         1990         1992       1994      1996       1998            2000     2002         2004       2006       2008
                                                                                                                                                         European Commission.
                                                                                             Year
                                              Data source: World Resources Institute, 201211




                                                                                                                                                                                                        15
                                                                                                                                                                                                        15




                                                                                                                                                                                        P00000069609
                      Atmospheric Concentrations
                      of Greenhouse Gases
                        This indicator describes how the levels of major greenhouse gases in the atmosphere have changed over time.




     Background                                                                                                                                                    400
                                                                                                                                                                                     647,426 BC to 2011 AD
     Since the Industrial Revolution began in                 Figure 1. Global Atmospheric




                                                                                                                              Carbon dioxide concentration (ppm)




                                                                                                                                                                                                                                             Carbon dioxide concentration (ppm)
     the late 1700s, people have added a sig-
     nificant amount of greenhouse gases into
                                                              Concentrations of Carbon                                                                             350

     the atmosphere by burning fossil fuels,                  Dioxide Over Time                                                                                    300
     cutting down forests, and conducting
                                                              This figure shows concentrations of carbon
     other activities (see the U.S. and Global                                                                                                                     250
                                                              dioxide in the atmosphere from hundreds
     Greenhouse Gas Emissions indicators on
                                                              of thousands of years ago through 2011.
     pp. 12–15). When greenhouse gases are                                                                                                                         200
                                                              The data come from a variety of historical
     emitted into the atmosphere, many re-
                                                              ice core studies and recent air monitoring                                                           150
     main there for long time periods ranging
                                                              sites around the world. Each line repre-
     from a decade to many millennia. Over
                                                              sents a different data source.                                                                       100
     time, these gases are removed from the
     atmosphere by emissions sinks, such as
     oceans, vegetation, or chemical reac-                                                                                                                          50
     tions. Emissions sinks are the opposite
                                                                                                                                                                     0
     of emissions sources, and they absorb
                                                                                                                                                                   -700,000        -500,000      -300,000     -100,000 0
     and store emissions or cause the gases
     to break down. However, if these gases                                                                                                                                      Year (negative values = BC)
     enter the atmosphere more quickly than
     they can be removed, their concentra-                                                                                                                               Data source: Various studies12
     tions increase.
     Many greenhouse gases remain in the
     atmosphere for decades or longer.
     The greenhouse gases being reported
     here become well mixed throughout
     the entire global atmosphere because
     of their long lifetimes and because of
     transport by winds. Concentrations of
     other greenhouse gases such as tropo-
     spheric ozone, which has an atmospheric
                                                                                                                                                                                   646,729 BC to 2011 AD
     lifetime of hours to days, often vary
     regionally and are not included in this                  Figure 2. Global Atmospheric                                                      2,000                                                                                                       2,0
     indicator.                                               Concentrations of Methane
                                                                                                             Methane concentration (ppb)




                                                                                                                                                                                                                           Methane concentration (ppb)
     Concentrations of greenhouse gases are
     measured in parts per million (ppm),
                                                              Over Time                                                                         1,500                                                                                                       1,5
     parts per billion (ppb), or parts per                    This figure shows concentrations of meth-
     trillion (ppt) by volume. In other words,                ane in the atmosphere from hundreds of
     a concentration of 1 ppb for a given gas                 thousands of years ago through 2011. The                                          1,000                                                                                                       1,0
     means there is one part of that gas in                   data come from a variety of historical ice
     1 billion parts of a given amount of air.                core studies and recent air monitoring sites
     For some greenhouse gases, even chang-                   around the world. Each line represents a
     es as small as a few parts per trillion can              different data source.                                                                           500                                                                                                         5
     make a difference in global climate.


     About the Indicator                                                                                                                                             0
                                                                                                                                                                   -700,000      -500,000     -300,000      -100,000 0
     This indicator describes concentrations
     of greenhouse gases in the atmosphere.
                                                                                                                                                                               Year (negative values = BC)
     It focuses on the major greenhouse
     gases that result from human activities.                                                                                                                            Data source: Various studies13
     These include carbon dioxide, methane,

                           (Continued on page 18)
16




                                                                                                                                                                                                          P00000069610
                                                                                                                                                                            Key Points
                                                                                                                                                                            •	 Global atmospheric concentrations
                                                                                                                                                                               of carbon dioxide, methane, nitrous
                                                                                                                                                                               oxide, and certain manufactured
                                                                                                                                                                               greenhouse gases have all risen over
                                                                                                                                                                               the last few hundred years (see
                                                                                                                                                                               Figures 1, 2, 3, and 4).
                                                                                                                                                                            •	 Before the industrial era began in the
                                                                                                                                                                               late 1700s, carbon dioxide concen-
                                                   10,000
                                                   10,000 BC
                                                          BC to
                                                              to 2011
                                                                 2011 AD
                                                                      AD                                                                   1950
                                                                                                                                           1950 AD
                                                                                                                                                AD to
                                                                                                                                                    to 2011
                                                                                                                                                       2011 AD
                                                                                                                                                            AD                 trations measured approximately
                                 400
                                 400                                                                                     400
                                                                                                                         400                                                   280 ppm. Concentrations have risen
                                                                                                                                                                               steadily since then, reaching 391
Carbon dioxide concentration (ppm)




                                                                                        Carbon dioxide concentration (ppm)
                                 350
                                 350                                                                                     350
                                                                                                                         350                                                   ppm in 2011—a 40 percent increase.
                                                                                                                                                                               Almost all of this increase is due to
                                 300
                                 300                                                                                     300
                                                                                                                         300                                                   human activities.14
                                 250
                                 250                                                                                     250
                                                                                                                         250                                                •	 The concentration of methane in the
                                                                                                                                                                               atmosphere has more than doubled
                                 200
                                 200                                                                                     200
                                                                                                                         200                                                   since preindustrial times, reaching
                                                                                                                                                                               about 1,818 ppb in 2011. It is very
                                 150
                                 150                                                                                     150
                                                                                                                         150                                                   likely that this increase is predomi-
                                                                                                                                                                               nantly due to agriculture and fossil
                                 100
                                 100                                                                                     100
                                                                                                                         100                                                   fuel use.15

                                     50
                                     50                                                                                      50
                                                                                                                             50                                             •	 Historical measurements show
                                                                                                                                                                               that the current global atmospheric
                                       00                                                                                     00                                               concentrations of carbon dioxide
                                     -10,000
                                      -10,000 -8000
                                               -8000 -6000
                                                      -6000 -4000
                                                             -4000 -2000
                                                                    -2000   00   2000
                                                                                 2000                                         1950
                                                                                                                               1950 1960
                                                                                                                                    1960 1970
                                                                                                                                         1970 1980
                                                                                                                                              1980 1990
                                                                                                                                                   1990 2000
                                                                                                                                                        2000 2010
                                                                                                                                                             2010 2020
                                                                                                                                                                  2020         and methane are unprecedented
                                                                                                                                                                               compared with the past 650,000
                                               Year
                                               Year (negative
                                                     (negative values
                                                               values == BC)
                                                                         BC)                                                                      Year
                                                                                                                                                  Year                         years (see Figures 1 and 2).
                                                                                                                                                                            •	 Over the past 100,000 years, con-
                                                                                                                                                                               centrations of nitrous oxide in the
                                                                                                                                                                               atmosphere have rarely exceeded
                                                                                                                                                                               280 ppb. Levels have risen since
                                                                                                                                                                               the 1920s, however, reaching a new
                                                                                                                                                                               high of 324 ppb in 2011 (see Figure
                                                                                                                                                                               3). This increase is primarily due to
                                                                                                                                                                               agriculture. 16
                                                                                                                                                                            •	 Concentrations of many of the
                                                                                                                                                                               halogenated gases shown in Figure 4
                                                                                                                                                                               (gases that contain chlorine, fluorine,
                                                    10,000 BC to 2011 AD                                                                    1950 AD to 2011 AD                 or bromine) were essentially zero a
                                     2,000                                                                                   2,000                                             few decades ago but have increased
                                                                                                                                                                               rapidly as they have been incorpo-
                                                                                                                                                                               rated into industrial products and
     Methane concentration (ppb)




                                                                                            Methane concentration (ppb)




                                                                                                                                                                               processes. Some of these chemicals
                                     1,500                                                                                   1,500
                                                                                                                                                                               are now being phased out of use
                                                                                                                                                                               because they are ozone-depleting
                                                                                                                                                                               substances, meaning they also cause
                                     1,000                                                                                   1,000                                             harm to the Earth’s ozone layer. As
                                                                                                                                                                               a result, concentrations of some
                                                                                                                                                                               ozone-depleting gases have begun
                                                                                                                                                                               to stabilize or decline (see Figure 4,
                                      500                                                                                     500                                              left panel). Concentrations of other
                                                                                                                                                                               halogenated gases have continued to
                                                                                                                                                                               rise, however, especially where the
                                        0                                                                                         0                                            gases have emerged as substitutes
                                       -10,000 -8000 -6000 -4000 -2000      0    2000                                             1950 1960 1970 1980 1990 2000 2010 2020      for ozone-depleting chemicals (see
                                                                                                                                                                               Figure 4, right panel). Some of these
                                                Year (negative values = BC)                                                                        Year                        halogenated gases are considered
                                                                                                                                                                               major greenhouse gases due to their
                                                                                                                                                                               very high global warming potentials
                                                                                                                                                                               and long atmospheric lifetimes (see
                                                                                                                                                                               table on p. 10).
                                                                                                                                                                                                                         17




                                                                                                                                                                                                     P00000069611
                          Atmospheric Concentrations of Greenhouse Gases (continued)




     nitrous oxide, and certain manufactured             Figure 3. Global Atmospheric                                                                           104,301 BC to 2011 AD
     gases known as halogenated gases. This                                                                                                    350                                                                                             3
     indicator shows concentrations of green-            Concentrations of Nitrous
     house gases over thousands of years. Recent
                                                         Oxide Over Time




                                                                                                           Nitrous oxide concentration (ppb)




                                                                                                                                                                                                           Nitrous oxide concentration (ppb)
                                                                                                                                               300                                                                                             3
     measurements come from monitoring
     stations around the world, while older mea-         This figure shows concentrations of
                                                         nitrous oxide in the atmosphere from                                                  250                                                                                             2
     surements come from air bubbles trapped in
     layers of ice from Antarctica and Greenland.        100,000 years ago through 2011. The
     By determining the age of the ice layers and        data come from a variety of historical ice                                            200                                                                                             2
     the concentrations of gases trapped inside,         core studies and recent air monitoring
     scientists can learn what the atmosphere            sites around the world. Each line repre-                                              150                                                                                             1
     was like thousands of years ago.                    sents a different data source.
                                                                                                                                               100                                                                                             1

     Indicator Notes                                                                                                                            50
     This indicator includes several of the most
     important halogenated gases, but some oth-                                                                                                  0
     ers are not shown. Many other halogenated                                                                                                 -120,000          -80,000             -40,000        0
     gases are also greenhouse gases, but Figure
     4 is limited to a set of common examples
                                                                                                                                                            Year (negative values = BC)
     that represent most of the major types of
     these gases. The indicator also does not
                                                                                                                                                     Data source: Various studies22
     address certain other pollutants that can af-
     fect climate by either reflecting or absorbing
     energy. For example, sulfate particles can
     reflect sunlight away from the Earth, while
     black carbon aerosols (soot) absorb energy.
     Data for nitrogen trifluoride (Figure 4)
     reflect measurements made in the North-
     ern Hemisphere only, where concentrations
     are expected to be slightly higher than the
     global average.


     Data Sources                                        Figure 4. Global Atmospheric                                          1,000
                                                                                                                                                           Ozone-depleting substances
                                                                                                                                                            CFC-12
                                                                                                                                                                                                                                               1
     Global atmospheric concentration measure-           Concentrations of Selected                                                                                                    HCFC-22
     ments for carbon dioxide (Figure 1), methane
     (Figure 2), and nitrous oxide (Figure 3) come
                                                         Halogenated Gases, 1978–2011
     from a variety of monitoring programs and           This figure shows concentrations of                                                   100
                                                                                                      Concentration (ppt)




                                                                                                                                                                                                             Concentration (ppt)
                                                         several halogenated gases (which contain                                                                Methyl chloroform
     studies published in peer-reviewed literature.
     References for the underlying data are in-          fluorine, chlorine, or bromine) in the
     cluded in the corresponding exhibits. Global        atmosphere. The data come from moni-
                                                                                                                                                10
     atmospheric concentration data for selected         toring sites around the world. Note that                                                                    HCFC-141b
     halogenated gases (Figure 4) were compiled          the scale is logarithmic, which means
     by the Advanced Global Atmospheric Gases            it increases by powers of 10. This is                                                                                       Halon-1211
     Experiment,17 the National Oceanic and              because the concentrations of different                                                 1
     Atmospheric Administration,18 and two stud-         halogenated gases can vary by a few
     ies on nitrogen trifluoride.19,20 An older figure   orders of magnitude. The numbers follow-
     with many of these gases appeared in the In-        ing the name of each gas (e.g., HCFC-22)
     tergovernmental Panel on Climate Change’s           are used to denote specific types of those                                            0.1
     Fourth Assessment Report.21                         particular gases.                                                                        1975         1985          1995         2005     2015
                                                                                                                                                                             Year
                                                                                                                                                     Data sources: AGAGE, 2011;23 Arnold et al., 2012;24
                                                                                                                                                     NOAA, 2011;25 Weiss et al., 200826




18




                                                                                                                                                                                        P00000069612
                                                     10,000
                                                      10,000BCBCtoto2011
                                                                     2011ADAD                                                                           1950
                                                                                                                                                         1950ADADtoto2011
                                                                                                                                                                      2011ADAD
                            350
                              350                                                                                               350
                                                                                                                                  350
    Nitrous oxide concentration (ppb)
    Nitrous oxide concentration (ppb)




                                                                                                        Nitrous oxide concentration (ppb)
                                                                                                        Nitrous oxide concentration (ppb)
                            300
                              300                                                                                               300
                                                                                                                                  300

                            250
                              250                                                                                               250
                                                                                                                                  250

                            200
                              200                                                                                               200
                                                                                                                                  200

                            150
                              150                                                                                               150
                                                                                                                                  150

                            100
                              100                                                                                               100
                                                                                                                                  100

                                   5050                                                                                                5050

                                    00                                                                                                      00
                                   -10,000
                                     -10,000-8000
                                              -8000-6000
                                                     -6000-4000
                                                            -4000-2000
                                                                   -2000 0 0 2000
                                                                               2000                                                         1950
                                                                                                                                              19501960
                                                                                                                                                    19601970
                                                                                                                                                          19701980
                                                                                                                                                                19801990
                                                                                                                                                                      19902000
                                                                                                                                                                            20002010
                                                                                                                                                                                  20102020
                                                                                                                                                                                        2020
                                                  Year
                                                   Year(negative
                                                         (negativevalues
                                                                   values==BC)
                                                                            BC)                                                                                  Year
                                                                                                                                                                Year




                                                    Other halogenated gases
                               1,000


                                                                                    PFC-14
                                                                                                                                                     Water Vapor as a Greenhouse Gas
                                        100                                                                                                          Water vapor is the most abundant greenhouse gas in the atmosphere.
          Concentration (ppt)




                                                                                                                                                     Human activities have only a small direct influence on atmospheric
                                                                       HFC-134a                                                                      concentrations of water vapor, primarily through irrigation and defor-
                                                                                     Sulfur                                                          estation, so it is not included in this indicator. However, the surface
                                                        HFC-23                    hexafluoride
                                         10                                                                                                          warming caused by human production of other greenhouse gases
                                                                                                                                                     leads to an increase in atmospheric water vapor, because a warmer
                                                                                                                                                     climate increases evaporation. This creates a positive “feedback loop”
                                                                                    PFC-116
                                                                                                                                                     where warming leads to more warming.
                                          1                   HFC-152a          HFC-125

                                                         Nitrogen trifluoride

                                        0.1
5                                          1975      1985          1995           2005           2015
                                                                  Year




                                                                                                                                                                                                                                       19




                                                                                                                                                                                                                               P00000069613
                        Climate Forcing
                         This indicator measures the “radiative forcing” or heating effect caused by greenhouse gases in the atmosphere.



     Background                                                   Figure 1. Radiative Forcing Caused by Major Greenhouse Gases,
                                                                  1979–2011
     When energy from the sun reaches
     the Earth, the planet absorbs some of                        This figure shows the amount of radiative forcing caused by various greenhouse gases, based
     this energy and radiates the rest back                       on the concentrations present in the Earth’s atmosphere. On the right side of the graph,
     to space as heat. The Earth’s surface                        radiative forcing has been converted to the Annual Greenhouse Gas Index, which is set to a
     temperature depends on this balance                          value of 1.0 for 1990.
     between incoming and outgoing energy.                                                                                                                                           1.4
                                                                                             3.0
     If this energy balance is altered, the
     Earth’s average temperature will become
     warmer or cooler, leading to a variety of                                                                                                                                       1.2
                                                                                             2.5
     other changes in global climate.
                                                                                                                                                  1990 = 1




                                                                                                                                                                                           Annual Greenhouse Gas Index
     A number of natural and human-influ-                                                                                                                                            1.0
                                                                  Radiative forcing (W/m2)
     enced mechanisms can affect the global                                                  2.0
     energy balance and force changes in the
                                                                                                                                                                                     0.8
     Earth’s climate. Changes in greenhouse                                                                                                                  Carbon dioxide
     gas concentrations are one such mecha-                                                  1.5                                                             Methane
     nism. Greenhouse gases in the atmo-                                                                                                                     Nitrous oxide           0.6
                                                                                                                                                             CFC-12
     sphere absorb and re-emit most of the
                                                                                             1.0                                                             CFC-11
     energy that radiates upward from the                                                                                                                    15 other gases          0.4
     Earth’s surface, adding the heat back to
     the lower atmosphere and warming the
                                                                                             0.5
     Earth’s surface. Because elevated con-                                                                                                                                          0.2
     centrations of many of the greenhouse
     gases emitted by human activities can
                                                                                              0                                                                                      0
     remain in the atmosphere for decades,                                                         1980         1985              1990   1995   2000          2005            2010
     centuries, or longer, their associated
     warming effects persist over a long time.                                                                                           Year
     Factors that influence the Earth’s energy                                                     Data source: NOAA, 2012   27

     balance can be quantified in terms of
     “radiative climate forcing.” Positive
     radiative forcing indicates a warming
     influence (for example, by decreasing the
     amount of energy that escapes to space),
     while negative forcing is associated
     with a cooling influence. The balance
     between positive and negative forcing is
     what drives the actual change in surface
     temperature.


     About the Indicator
     This indicator measures the average
     total radiative forcing of 20 greenhouse
     gases, including carbon dioxide, meth-
     ane, and nitrous oxide. The results were
     calculated by the National Oceanic and
     Atmospheric Administration based on
     measured concentrations of the gases
     in the atmosphere, compared with
     the concentrations that were pres-
     ent around 1750, before the Industrial
     Revolution began. Because each gas
     has a different capacity to absorb and
     emit heat energy, this indicator con-
     verts the changes in greenhouse gas

                          (Continued on page 21)
20




                                                                                                                                                                  P00000069614
Key Points                                                                                     concentrations into a measure of the to-
•	 In 2011, the Annual Greenhouse Gas Index was 1.30, an increase in radiative forcing of      tal radiative forcing (energy absorption)
   30 percent since 1990 (see Figure 1).                                                       caused by each gas. Radiative forcing is
                                                                                               calculated in watts per square meter,
•	 Of the greenhouse gases shown in Figure 1, carbon dioxide accounts for by far the larg-     which represents the rate of energy
   est amount of radiative forcing, and its contribution continues to grow at a steady rate.   transfer over a particular area.
   By 2011, radiative forcing due to carbon dioxide was 40 percent higher than in 1990.
   Carbon dioxide accounts for approximately 80 percent of the overall increase in radia-      The National Oceanic and Atmospheric
   tive forcing since 1990.                                                                    Administration also translates the total
                                                                                               radiative forcing of these measured gases
•	 Although the overall Annual Greenhouse Gas Index continues to rise, the rate of in-         into an index value called the Annual
   crease has slowed somewhat over time. This change has occurred in large part because        Greenhouse Gas Index. This number
   methane concentrations have remained relatively steady since 1990 (although they have       represents the ratio of the radiative
   recently begun to rise again), and chlorofluorocarbon (CFC) concentrations have been        forcing for a particular year compared
   declining because the production of these gases has been banned globally due to the         with the radiative forcing in 1990, which
   harm they cause to the ozone layer (see Figure 1).                                          is a common baseline year for global
                                                                                               efforts to measure greenhouse gas
                                                                                               concentrations. This indicator does not
                                                                                               consider all substances that contribute
                                                                                               to climate change (see Indicator Notes).


                                                                                               Indicator Notes
                                                                                               This indicator does not consider certain
                                                                                               other substances that contribute to
                                                                                               climate forcing. For example, the indica-
                                                                                               tor does not measure reflective aerosol
                                                                                               particles in the atmosphere, which can
                                                                                               reduce radiative forcing, nor ground-
                                                                                               level ozone or black carbon (soot),
                                                                                               which can increase it. One gas shown in
                                                                                               this indicator (methane) can also have
                                                                                               an indirect influence on radiative forcing
                                                                                               through its effects on water vapor and
                                                                                               ozone formation; these indirect effects
                                                                                               are not shown.


                                                                                               Data Sources
                                                                                               Data for this indicator were provided by
                                                                                               the National Oceanic and Atmospheric
                                                                                               Administration. This figure and other
                                                                                               information are available at: www.esrl.
                                                                                               noaa.gov/gmd/aggi.




                                                                                                                                            2121




                                                                                                                           P00000069615
     Weather and



     INDICATORS IN THIS CHAPTER


               U.S. and Global    High and Low   U.S. and Global
22             Temperature        Temperatures   Precipitation




                                                   P00000069616
Climate
  W
           eather is the state of the atmo-
           sphere at any given time and
                                                          Unusually warm days and nights have also
                                                          become more common in some places.
                                                                                                                    Earth’s Atmosphere




                                                                                                                   Exosphere
           place. Most of the weather that                Generally, warmer surface tempera-
  affects people, agriculture, and ecosystems             tures lead to an increase in evaporation
  takes place in the lower layer of the atmo-             from the oceans and land, leading to an
  sphere, the troposphere (see diagram of                 increase in globally averaged precipita-
  the Earth’s atmosphere at right). Familiar              tion. However, while some regions can get
  aspects of weather include temperature,                 more precipitation, shifting storm patterns
  precipitation, clouds, and wind. Severe                 and increased evaporation can cause some
  weather conditions include hurricanes,                  areas to experience more severe droughts
  tornadoes, blizzards, and droughts.                     than they have in the past. Scientific
  Climate is the long-term average of the                 studies also indicate that extreme weather
                                                          events such as storms, floods, and hur-




                                                                                                                   Thermosphere
  weather in a given place. While the                                                                                                          Shuttle
  weather can change in minutes or hours,                 ricanes are likely to become more intense.
  a change in climate is something that                   However, because these extremes already
                                                          vary naturally, it may be difficult over




                                                                                                                   TThher
  develops over longer periods of decades
  to centuries. Climate is defined not only               short time periods to distinguish whether
  by average temperature and precipitation,               changes in their intensity and frequency
  but also by the type, frequency, duration,              can be attributed to larger climate trends
                                                          caused by human influences.                                                        Aurora
  and intensity of weather events such as
  heat waves, cold spells, storms, floods,
  and droughts. Weather can vary widely,
                                                          Why does it matter?
  and extreme events occur naturally, but                 Climate variations can directly or indi-
  average conditions tend to remain stable                rectly affect many aspects of society—in
  unless the Earth experiences a force                    both positive and disruptive ways. For
  that can shift the climate. At various                  example, warmer average tempera-                               herrree
                                                                                                                   Mesosphere
                                                                                                                        pher
  times in the Earth’s history, the climate               tures reduce heating costs and improve
                                                                                                                                   Meteorrs
                                                                                                                                   Meteors
  has changed in response to forces such                  conditions for growing some crops; yet
  as large volcanic eruptions, changes in                 extreme heat can increase illnesses and
  greenhouse gas concentrations, and shifts               deaths among vulnerable populations
                                                                                                                   Stratosphere




  in the Earth’s orbit around the sun.                    and damage some crops. Precipitation                                          Weather balloon
                                                          can replenish water supplies and sup-
  What is happening?                                      port agriculture, but intense storms can
  The average temperature at the surface of               damage property, cause loss of life and
  the Earth has been increasing over the past             population displacement, and tempo-
                                                                                                                   Troposphere




  century, primarily because human activities             rarily disrupt essential services such as
  are adding large quantities of heat-trapping            transportation, telecommunications,
  greenhouse gases to the atmosphere.                     energy, and water supplies.                                              Mount
                                                                                                                                   Everest
                                                                                                                     Source: NOAA, 20091


 For detailed information about data used in these indicators, see the online technical documentation at: www.epa.gov/climatechange/indicators.



                                                                                                                   Tropical
   Heavy
                                                           Drought                                                 Cyclone
   Precipitation                                                                                                                                          23
                                                                                                                   Activity




                                                                                                                                         P00000069617
                         U.S. and Global Temperature
                          This indicator describes trends in average surface temperature for the United States and the world.



     Background                                                                 Figure 1. Temperatures in the Contiguous 48 States, 1901–2011
                                                                                This figure shows how annual average temperatures in the contiguous 48 states have changed
     Temperature is a fundamental measure-
                                                                                since 1901. Surface data come from land-based weather stations. Satellite measurements cover
     ment for describing the climate, and the
                                                                                the lower troposphere, which is the lowest level of the Earth’s atmosphere (see diagram on p. 23).
     temperature in particular places can
                                                                                “UAH” and “RSS” represent two different methods of analyzing the original satellite measure-
     have wide-ranging effects on human life
                                                                                ments. This graph uses the 1901 to 2000 average as a baseline for depicting change. Choosing a
     and ecosystems. For example, increases
                                                                                different baseline period would not change the shape of the data over time.
     in air temperature can lead to more
     intense heat waves, which can cause                                             3
     illness and death, especially in vulner-
     able populations. Annual and seasonal
     temperature patterns also determine                                             2
     the types of animals and plants that can
     survive in particular locations. Changes
                                                          Temperature anomaly (°F)



     in temperature can disrupt a wide range                                         1
     of natural processes, particularly if these
     changes occur more quickly than plant
     and animal species can adapt.                                                   0

     Concentrations of heat-trapping green-
     house gases are increasing in the Earth’s                                       -1
     atmosphere (see the Atmospheric
     Concentrations of Greenhouse Gases
                                                                                                                                                                 Lower troposphere
     indicator on p. 16). In response, average                                       -2                                              Earth's surface           (measured by satellite)
     temperatures at the Earth’s surface are                                                                                                                        UAH            RSS
     rising and are expected to continue
     rising. However, because climate change                                         -3
     can shift the wind patterns and ocean                                            1900      1910    1920   1930   1940   1950   1960    1970       1980      1990     2000    2010    2020
     currents that drive the world’s climate
                                                                                          Data source: NOAA, 2012 2                 Year
     system, some areas experience more
     warming than others, and some might
     experience cooling.                                                        Figure 2. Temperatures Worldwide, 1901–2011

     About the Indicator
                                                                                This figure shows how annual average temperatures worldwide have changed since 1901. Surface data
                                                                                come from a combined set of land-based weather stations and sea surface temperature measure-
                                                                                ments. Satellite measurements cover the lower troposphere, which is the lowest level of the Earth’s at-
     This indicator examines U.S. and global                                    mosphere (see diagram on p. 23). “UAH” and “RSS” represent two different methods of analyzing the
     surface temperature patterns from 1901                                     original satellite measurements. This graph uses the 1901 to 2000 average as a baseline for depicting
     to the present. U.S. surface measure-                                      change. Choosing a different baseline period would not change the shape of the data over time.
     ments come from weather stations on
     land, while global surface measurements                                         3
     also incorporate observations from
     buoys and ships on the ocean, thereby
     providing data from sites spanning                                              2
     much of the surface of the Earth. For
     comparison, this indicator also displays
                                                          Temperature anomaly (°F)




     satellite measurements that can be used                                         1
     to estimate the temperature of the
     Earth’s lower atmosphere since 1979.
                                                                                     0
     This indicator shows anomalies, which
     compare recorded annual temperature
     values against a long-term average. For                                         -1
     example, an anomaly of +2.0 degrees
     means the average temperature was                                                                                                Earth's surface            Lower troposphere
                                                                                                                                     (land and ocean)          (measured by satellite)
     2 degrees higher than the long-term                                             -2                                                                             UAH            RSS
     average. This indicator uses the average
     temperature from 1901 to 2000 as a
                                                                                     -3
                            (Continued on page 25)                                    1900      1910    1920   1930   1940   1950   1960    1970        1980     1990     2000     2010   2020
24                                                                                        Data source: NOAA, 20123                  Year




                                                                                                                                                                                    P00000069618
                                                                                                    baseline for comparison. Annual anomalies
                                                                                                    are calculated for each weather station,
                                                                                                    starting from daily and monthly average
                                                                                                    temperatures. Anomalies for broader re-
                                                                                                    gions have been determined by dividing the
                                                                                                    country (or the world) into a grid, averag-
                                                                                                    ing the data for all weather stations within
                                                                                                    each cell of the grid, and then averaging the
                                                                                                    grid cells together (for Figures 1 and 2) or
   Figure 3. Rate of Temperature Change in the United States, 1901–2011                             displaying them on a map (Figure 3). This
   This figure shows how annual average air temperatures have changed in different parts of the     method ensures that the results are not
   United States since the early 20 th century (since 1901 for the contiguous 48 states, 1905 for   biased toward regions that happen to have
   Hawaii, and 1918 for Alaska).                                                                    many stations close together.


                                                                                                    Indicator Notes
                                                                                                    Data from the early 20 th century are some-
                                                                                                    what less precise than more recent data be-
                                                                                                    cause there were fewer stations collecting
                                                                                                    measurements at the time, especially in the
                                                                                                    Southern Hemisphere. However, the overall
                                                                                                    trends are still reliable. Where possible, the
                                                                                                    data have been adjusted to account for any
                                                                                                    biases that might be introduced by station
                                                                                                    moves, development (e.g., urbanization)
                                                                                                    near the station, changes in instruments and
                                                                                                    times of measurement, and other changes.


                                                                                                    Data Sources
                                                                                                    The data for this indicator were provided by
                                                                                                    the National Oceanic and Atmospheric Ad-
                                                                                                    ministration’s National Climatic Data Center,
                                                                                                    which maintains a large collection of climate
                                                                                                    data online at: www.ncdc.noaa.gov/oa/ncdc.
                                                                                                    html. Surface temperature anomalies were
                                                                                                    calculated based on monthly values from a
                                                                                                    network of long-term monitoring stations.
                                                                                                    Satellite data were analyzed by two inde-
                                                                                                    pendent groups—the Global Hydrology and
                                                                                                    Climate Center at the University of Alabama
                                                                                                    in Huntsville (UAH) and Remote Sensing
                            Rate of temperature change (°F per century):
                                                                                                    Systems (RSS)—resulting in slightly different
                                                                                                    trend lines.
                   -4       -3    -2      -1        0         1       2   3    4
  Data source: NOAA, 2012
                        4              Gray interval: -0.1 to 0.1°F




Key Points
•	 Since 1901, the average surface temperature across the contiguous 48 states has risen at
   an average rate of 0.13°F per decade (1.3°F per century) (see Figure 1). Average tempera-
   tures have risen more quickly since the late 1970s (0.31 to 0.45°F per decade). Seven of the
   top 10 warmest years on record for the contiguous 48 states have occurred since 1990.
•	 Worldwide, 2001–2010 was the warmest decade on record since thermometer-based
   observations began. Global average surface temperature has risen at an average rate of
   0.14°F per decade since 1901 (see Figure 2), similar to the rate of warming within the
   contiguous 48 states. Since the late 1970s, however, the United States has warmed faster
   than the global rate.
•	 Some parts of the United States have experienced more warming than others (see Figure
   3). The North, the West, and Alaska have seen temperatures increase the most, while
   some parts of the Southeast have experienced little change. However, not all of these
   regional trends are statistically significant.
                                                                                                                                                     25




                                                                                                                                    P00000069619
                          High and Low Temperatures
                            This indicator describes trends in unusually hot and cold temperatures across the United States.




     Background                                                                              Figure 1. U.S. Annual Heat Wave Index, 1895–2011
                                                                                             This figure shows the annual values of the U.S. Heat Wave Index from 1895 to 2011.
     Unusually hot or cold temperatures can                                                  These data cover the contiguous 48 states.
     result in prolonged extreme weather
     events like summer heat waves or winter                                         1.4
     cold spells. Heat waves can lead to ill-
     ness and death, particularly among older
     adults, the very young, and other vulner-                                       1.2
     able groups (see the Heat-Related Deaths
     indicator on p. 72). People can also die                                        1.0
     from exposure to extreme cold (hypo-
     thermia). In addition, prolonged exposure                    Heat Wave Index
                                                                                     0.8
     to excessive heat and cold can damage
     crops and injure or kill livestock. Extreme
     heat can lead to power outages as heavy                                         0.6
     demands for air conditioning strain the
     power grid, while extremely cold weather                                        0.4
     increases the need for heating fuel.
     Record-setting daily temperatures, heat                                         0.2
     waves, and cold spells are a natural
     part of day-to-day variation in weather.
     However, as the Earth’s climate warms                                                0
                                                                                          1890   1900   1910     1920     1930   1940    1950     1960   1970        1980    1990   2000     2010    2020
     overall, heat waves are expected to
     become more frequent, longer, and                                                      Data source: Kunkel, 20128                          Year
     more intense. 5,6 Higher heat index values
     (which combine temperature and humid-
     ity to describe perceived temperature)
     are expected to increase discomfort and
     could aggravate health issues. Converse-
                                                                                            Figure 2. Area of the Contiguous 48 States With Unusually Hot
     ly, cold spells are expected to decrease.                                              Summer Temperatures, 1910–2012
     In most locations, scientists expect daily
                                                                                            This graph shows the percentage of the land area of the contiguous 48 states with un-
     minimum temperatures throughout the
                                                                                            usually hot daily high and low temperatures during the months of June, July, and August.
     year to become warmer at a faster rate
     than daily maximum temperatures.7                                                      The thin lines represent individual years, while the thick lines show a nine-year weighted
                                                                                            average. Red lines represent daily highs, while orange lines represent daily lows. The
                                                                                            term “unusual” is based on the long-term average conditions at each location.
     About the Indicator                                                             80
     Trends in extreme temperatures can be                                                                                                         Hot daily highs
     examined in a variety of ways. This indica-                                     70
     tor covers several approaches by looking                                                                                                      Hot daily highs (smoothed)
     at prolonged heat wave events as well as                                                                                                      Hot daily lows
     unusually hot or cold daily highs and lows.                                     60
                                                                                                                                                   Hot daily lows (smoothed)
     The data come from thousands of weather
                                                              Percent of land area




     stations across the United States. National                                     50
     patterns can be determined by dividing the
     country into a grid and examining the data                                      40
     for one station in each cell of the grid. This
     method ensures that the results are not
                                                                                     30
     biased toward regions that happen to have
     many stations close together.
                                                                                     20
     Figure 1 shows the U.S. Annual Heat
     Wave Index, which tracks the occur-
     rence of heat wave conditions across the                                        10
     contiguous 48 states from 1895 to 2011.
     While there is no universal definition                                           0
     of a heat wave, this index defines a heat                                        1910       1920     1930     1940      1950       1960     1970     1980        1990      2000       2010     2020
     wave as a four-day period with an average                                                                                             Year
     temperature that would only be expected                                               Data source: NOAA, 20129
     to occur once every 10 years, based on
     the historical record. The index value
26                           (Continued on page 27)




                                                                                                                                                                                           P00000069620
                                      Figure 3. Area of the Contiguous 48 States With Unusually                                                        for a given year depends on how often
                                                                                                                                                       heat waves occur and how widespread
                                      Cold Winter Temperatures, 1911–2012                                                                              they are. For example, an index value of
                                                                                                                                                       0.2 could mean that 20 percent of the
                                      This graph shows the percentage of the land area of the contiguous 48 states with
                                                                                                                                                       country experienced one heat wave, 10
                                      unusually cold daily high and low temperatures during the months of December, January,
                                                                                                                                                       percent of the country experienced two
                                      and February. The thin lines represent individual years, while the thick lines show a nine-
                                                                                                                                                       heat waves, or some other combination of
                                      year weighted average. Blue lines represent daily highs, while purple lines represent daily
                                                                                                                                                       frequency and area resulted in this value.
                                      lows. The term “unusual” is based on the long-term average conditions at each location.
                             80                                                                                                                        Figures 2 and 3 show trends in the per-
                                                                                                                  Cold daily highs
                                                                                                                                                       centage of the country’s area experiencing
                             70                                                                                                                        unusually hot temperatures in the summer
                                                                                                                  Cold daily highs (smoothed)          and unusually cold temperatures in the
                             60                                                                                   Cold daily lows                      winter. These graphs are based on daily
                                                                                                                                                       maximum temperatures, which usually oc-
Percent of land area




                                                                                                                  Cold daily lows (smoothed)
                             50                                                                                                                        cur during the day, and daily minimum tem-
                                                                                                                                                       peratures, which usually occur at night. At
                             40                                                                                                                        each station, the recorded highs and lows
                                                                                                                                                       are compared with the full set of historical
                             30                                                                                                                        records. After averaging over a particular
                                                                                                                                                       month or season of interest, the coldest
                             20                                                                                                                        10 percent of years are considered “unusu-
                                                                                                                                                       ally cold” and the warmest 10 percent are
                             10                                                                                                                        “unusually hot.” For example, if last year’s
                                                                                                                                                       summer highs were the 10th warmest on
                              0                                                                                                                        record for a particular location with more
                              1910          1920      1930     1940        1950     1960      1970      1980    1990      2000       2010       2020   than 100 years of data, that year’s summer
                                  Data source: NOAA, 201210                               Year                                                         highs would be considered unusually warm.
                                                                                                                                                       Data are available from 1910 to 2012 for
                                                                                                                                                       summer (June through August) and from
                                       Figure 4. Record Daily High and Low Temperatures in the                                                         1911 to 2012 for winter (December of the
                                                                                                                                                       previous year through February).
                                       Contiguous 48 States, 1950–2009                                                                                 Many people are familiar with record daily
                                       This figure shows the percentage of daily temperature records set at weather stations across                    high and low temperatures, which are fre-
                                       the contiguous 48 states by decade. Record highs (red) are compared with record lows (blue).                    quently mentioned in weather reports. Fig-
                             100                                                                                                                       ure 4 looks at trends in these records by
                                                                                                         Record highs            Record lows           comparing the number of record-setting
                              75                                                                                                                       highs with the number of record-setting
                                                                                                                                                       lows by decade. These data come from a
  Percent of daily records




                              50
                                                                                                                                                       set of weather stations that have collected
                              25                                                                                                                       data consistently from 1950 through 2009.



                              25
                                  0
                                                                                                                                                       Indicator Notes
                                                                                                                                                       Temperature data are less certain for the
                              50                                                                                                                       early part of the 20 th century because
                              75                                                                                                                       fewer stations were operating at that
                                                                                                                                                       time. In addition, measuring devices and
                             100                                                                                                                       methods have changed over time, and
                                             1950s            1960s               1970s              1980s          1990s               2000s          some stations have moved. The data have
                                                                                                                                                       been adjusted to the extent possible to
                                                                                           Decade
                                       Data source: Meehl et al., 200911                                                                               account for some of these influences and
                                                                                                                                                       biases, however, and these uncertainties
                                                                                                                                                       are not sufficient to change the funda-

   Key Points
                                                                                                                                                       mental trends shown in the figures.

   •	 Heat waves were frequent and widespread in the 1930s, and these remain the most
      severe heat waves in the U.S. historical record (see Figure 1). Poor land use practices
                                                                                                                                                       Data Sources
      and many years of intense drought (the “Dust Bowl”) contributed to these heat waves                                                              The data for this indicator are based on
      by depleting soil moisture and reducing the moderating effects of evaporation.12                                                                 measurements from weather stations
   •	 Unusually hot summer days (highs) have become more common over the last few                                                                      managed by the National Oceanic and
      decades (see Figure 2). The occurrence of unusually hot summer nights (lows) has                                                                 Atmospheric Administration. Figure 1
      increased at an even faster rate. This trend indicates less “cooling off” at night.                                                              uses data from the National Weather
                                                                                                                                                       Service Cooperative Observer Net-
   •	 The 20 th century saw many winters with widespread patterns of unusually low tem-
                                                                                                                                                       work; these data are available online at:
      peratures, including a particularly large spike in the late 1970s (see Figure 3). Since the
                                                                                                                                                       www.nws.noaa.gov/os/coop/what-is-
      1980s, though, unusually cold winter temperatures have become less common—par-
                                                                                                                                                       coop.html. Figures 2 and 3 are based on
      ticularly very cold nights (lows).
                                                                                                                                                       the U.S. Climate Extremes Index; for
   •	 If the climate were completely stable, one might expect to see highs and lows each account-                                                      data and a description of the index, see:
      ing for about 50 percent of the records set. However, since the 1970s, record-setting daily                                                      www.ncdc.noaa.gov/extremes/cei.html.
      high temperatures have become more common than record lows across the United States                                                              Figure 4 uses National Weather Service
      (see Figure 4). The most recent decade had twice as many record highs as record lows.                                                            data processed by Meehl et al. (2009).13       27




                                                                                                                                                                                    P00000069621
                        U.S. and Global Precipitation
                          This indicator describes trends in average precipitation for the United States and the world.




     Background                                               Figure 1. Precipitation in the Contiguous 48 States, 1901–2011
                                                              This figure shows how the total annual amount of precipitation in the contiguous 48 states has
     Precipitation can have wide-ranging ef-                  changed since 1901. This graph uses the 1901 to 2000 average as a baseline for depicting
     fects on human well-being and ecosys-                    change. Choosing a different baseline period would not change the shape of the data over time.
     tems. Rainfall, snowfall, and the timing
     of snowmelt can all affect the amount of
     water available for drinking, irrigation,                                  20
     and industry, and can also determine
     what types of animals and plants (includ-                                  15
     ing crops) can survive in a particular
     place. Changes in precipitation can dis-                                   10
     rupt a wide range of natural processes,                  Percent anomaly
     particularly if these changes occur more                                    5
     quickly than plant and animal species
     can adapt.                                                                  0
     As average temperatures at the Earth’s
     surface rise (see the U.S. and Global                                       -5
     Temperature indicator on p. 24), more
     evaporation occurs, which, in turn,                                        -10
     increases overall precipitation. There-
     fore, a warming climate is expected to                                     -15
     increase precipitation in many areas.
     However, just as precipitation patterns                                    -20
                                                                                  1900     1910    1920    1930   1940   1950   1960   1970   1980   1990   2000   2010   2020
     vary across the world, so will the effects
     of climate change. By shifting the wind                                                                                    Year
                                                                                      Data source: NOAA, 201214
     patterns and ocean currents that drive
     the world’s climate system, climate
     change will also cause some areas to
     experience decreased precipitation. In
     addition, higher temperatures lead to                         Figure 2. Precipitation Worldwide, 1901–2011
     more evaporation, so increased precipi-                       This figure shows how the total annual amount of precipitation over land worldwide has changed
     tation will not necessarily increase the                      since 1901. This graph uses the 1901 to 2000 average as a baseline for depicting change. Choos-
     amount of water available for drinking,                       ing a different baseline period would not change the shape of the data over time.
     irrigation, and industry (see the Drought
     indicator on p. 32).                                                       20


     About the Indicator                                                        15

     This indicator examines U.S. and global                                    10
     precipitation patterns from 1901 to the
                                                              Percent anomaly




     present, based on rainfall and snowfall                                     5
     measurements from land-based weather
     stations worldwide.                                                         0

     This indicator shows annual anoma-
                                                                                 -5
     lies, or differences, compared with
     the average precipitation from 1901 to
                                                                                -10
     2000. These anomalies are presented
     in terms of percent change compared
                                                                                -15
     with the baseline. Annual anomalies are
     calculated for each weather station.
                                                                                -20
     Anomalies for broader regions have                                           1900     1910    1920    1930   1940   1950   1960   1970   1980   1990   2000   2010   2020
     been determined by dividing the country
     (or the world) into a grid, averaging the                                                                                  Year
                                                                                      Data source: NOAA, 201215
     data for all weather stations within each
     cell of the grid, and then averaging the
     grid cells together (for Figures 1 and 2)

                           (Continued on page 29)
28




                                                                                                                                                                   P00000069622
                                                                                                         or displaying them on a map (Figure 3). This
                                                                                                         method ensures that the results are not
                                                                                                         biased toward regions that happen to have
                                                                                                         many stations close together.


                                                                                                         Indicator Notes
                                                                                                         Data from the early 20 th century are
   Figure 3. Rate of Precipitation Change in the United States, 1901–2011                                somewhat less precise because there were
                                                                                                         fewer stations collecting measurements at
   This figure shows the rate of change in total annual precipitation in different parts of the United   the time. To ensure that overall trends are
   States since the early 20 th century (since 1901 for the contiguous 48 states, 1905 for Hawaii,       reliable, the data have been adjusted where
   and 1918 for Alaska).                                                                                 possible to account for any biases that might
                                                                                                         be introduced by station moves, changes
                                                                                                         in measurement instruments, and other
                                                                                                         changes.


                                                                                                         Data Sources
                                                                                                         The data for this indicator were provided
                                                                                                         by the National Oceanic and Atmospheric
                                                                                                         Administration’s National Climatic Data
                                                                                                         Center, which maintains a large collection
                                                                                                         of climate data online at: www.ncdc.noaa.
                                                                                                         gov/oa/ncdc.html. Global, U.S., and regional
                                                                                                         precipitation anomalies were calculated
                                                                                                         based on monthly values from a network of
                                                                                                         long-term monitoring stations.




                           Rate of change in precipitation (% per century):

                           -60 -50 -40 -30 -20 -10 0 10 20 30 40 50 60
                                          Gray interval: -2 to 2%

   Data source: NOAA, 201216




Key Points
•	 On average, total annual precipitation has increased over land areas in the United States
   and worldwide (see Figures 1 and 2). Since 1901, global precipitation has increased at an
   average rate of 2.3 percent per century, while precipitation in the contiguous 48 states
   has increased at a rate of 5.9 percent per century.
•	 Some parts of the United States have experienced greater increases in precipitation
   than others. A few areas such as Hawaii and parts of the Southwest have seen a de-
   crease in precipitation (see Figure 3).


                                                                                                                                                         2929




                                                                                                                                        P00000069623
                         Heavy Precipitation
                           This indicator tracks the frequency of heavy precipitation events in the United States.




     Background                                                Figure 1. Extreme One-Day Precipitation Events in the Contiguous 48
                                                               States, 1910–2011
     “Heavy precipitation” refers to instances
     during which the amount of precipitation                  This figure shows the percentage of the land area of the contiguous 48 states where a much
     experienced in a location substantially                   greater than normal portion of total annual precipitation has come from extreme single-day pre-
     exceeds what is normal. What consti-                      cipitation events. The bars represent individual years, while the line is a nine-year weighted average.
     tutes a period of heavy precipitation
     varies according to location and season.                                         25
     Climate change can affect the intensity
     and frequency of precipitation. Warmer
     oceans increase the amount of water                                              20
     that evaporates into the air. When more
                                                               Percent of land area

     moisture-laden air moves over land or
     converges into a storm system, it can                                            15
     produce more intense precipitation—
     for example, heavier rain and snow
     storms.17 The potential impacts of heavy                                         10
     precipitation include crop damage, soil
     erosion, and an increase in flood risk
     due to heavy rains. In addition, runoff                                          5
     from precipitation can impair water
     quality as pollutants deposited on land
     wash into water bodies.                                                          0
                                                                                      1910       1920     1930      1940       1950    1960   1970    1980      1990       2000     2010    2020
     Heavy precipitation does not necessar-
     ily mean the total amount of precipita-                                               Data source: NOAA, 201218
                                                                                                                                          Year
     tion at a location has increased—just
     that precipitation is occurring in more
     intense events. However, changes in
     the intensity of precipitation, when                      Figure 2. Unusually High Annual Precipitation in the Contiguous 48
     combined with changes in the interval
     between precipitation events, can also                    States, 1895–2011
     lead to changes in overall precipitation                  This figure shows the percentage of the land area of the contiguous 48 states that experienced
     totals.                                                   much greater than normal precipitation in any given year, which means it scored 2.0 or above
                                                               on the annual Standardized Precipitation Index (SPI). The thicker orange line shows a nine-year

     About the Indicator                                       weighted average that smoothes out some of the year-to-year fluctuations.

     Heavy precipitation events can be                                                20
     measured by tracking their frequency,
     examining their return period (the
     chance that the event will be equaled
     or exceeded in a given year), or directly                                        15
     measuring the amount of precipitation in
                                                               Percent of land area




     a certain period.
     One way to track heavy precipitation
     is by calculating what percentage of a                                           10
     particular location’s total precipitation
     in a given year has come in the form of
     extreme one-day events—or, in other
     words, what percentage of precipitation                                           5
     is arriving in short, intense bursts. Figure
     1 of this indicator looks at the preva-
     lence of extreme single-day precipitation
     events over time.                                                                 0
                                                                                       1890     1900    1910     1920   1930    1940   1950   1960   1970    1980   1990     2000    2010   2020

                          (Continued on page 31)                                                                                          Year
                                                                                           Data source: NOAA, 201219

30




                                                                                                                                                                                    P00000069624
                                                                                             For added insight, this indicator also tracks
                                                                                             the occurrence of unusually high total
                                                                                             yearly precipitation. It does so by looking
                                                                                             at the Standardized Precipitation Index
                                                                                             (SPI), which compares actual yearly precipi-
                                                                                             tation totals with the range of precipitation
                                                                                             totals that one would typically expect at a
                                                                                             specific location, based on historical data.

Key Points                                                                                   If a location experiences less precipitation
                                                                                             than normal during a particular period, it
•	 In recent years, a larger percentage of precipitation has come in the form of intense     will receive a negative SPI score, while a
   single-day events. Eight of the top 10 years for extreme one-day precipitation events     period with more precipitation than nor-
   have occurred since 1990 (see Figure 1).                                                  mal will receive a positive score. The more
                                                                                             precipitation (compared with normal), the
•	 The prevalence of extreme single-day precipitation events remained fairly steady
   between 1910 and the 1980s, but has risen substantially since then. Over the entire       higher the SPI score. The SPI is a useful
   period from 1910 to 2011, the portion of the country experiencing extreme single-day      way to look at precipitation totals because
   precipitation events increased at a rate of about half a percentage point per decade (5   it allows comparison of different locations
   percentage points per century) (see Figure 1).                                            and different seasons on a standard scale.
                                                                                             Figure 2 shows what percentage of the
•	 The percentage of land area experiencing much greater than normal yearly precipita-
                                                                                             total area of the contiguous 48 states had
   tion totals increased between 1895 and 2011. However, there has been much year-to-
                                                                                             an annual SPI score of 2.0 or above (well
   year variability. In some years there were no abnormally wet areas, while a few others
                                                                                             above normal) in any given year.
   had abnormally high precipitation totals over 10 percent or more of the contiguous
   48 states’ land area (see Figure 2). For example, 1941 was extremely wet in the West,
   while 1982 was very wet nationwide.20
•	 Figures 1 and 2 are both consistent with other studies that have found an increase
                                                                                             Indicator Notes
                                                                                             Weather monitoring stations tend to be
   in heavy precipitation over timeframes ranging from single days to 90-day periods to
                                                                                             closer together in the eastern and central
   whole years.21 For more information on trends in overall precipitation levels, see the
                                                                                             states than in the western states. In areas
   U.S. and Global Precipitation indicator on p. 28.
                                                                                             with fewer monitoring stations, heavy pre-
                                                                                             cipitation indicators are less likely to reflect
                                                                                             local conditions accurately.


                                                                                             Data Sources
                                                                                             The data used for this indicator come from
                                                                                             a large national network of weather stations
                                                                                             and were provided by the National Oceanic
                                                                                             and Atmospheric Administration’s National
                                                                                             Climatic Data Center. Figure 1 is based
                                                                                             on Step #4 of the National Oceanic and
                                                                                             Atmospheric Administration’s U.S. Climate
                                                                                             Extremes Index; for data and a descrip-
                                                                                             tion of the index, see: www.ncdc.noaa.gov/
                                                                                             extremes/cei.html. Figure 2 is based on the
                                                                                             U.S. SPI, which is shown in a variety of maps
                                                                                             available online at: www.ncdc.noaa.gov/oa/
                                                                                             climate/research/prelim/drought/spi.html.
                                                                                             The data used to construct these maps
                                                                                             are available from the National Oceanic and
                                                                                             Atmospheric Administration at:
                                                                                             ftp://ftp.ncdc.noaa.gov/pub/data/cirs.




                                                                                                                                                31




                                                                                                                              P00000069625
                         Drought
                          This indicator measures drought conditions of U.S. lands.




     Background                                                 Key Points
     There are many definitions and types of                    •	 Average drought conditions across the nation have varied since records began in 1895.
     drought. Meteorologists generally define                      The 1930s and 1950s saw the most widespread droughts, while the last 50 years have
     drought as a prolonged period of dry                          generally been wetter than average (see Figure 1).
     weather caused by a lack of precipitation                  •	 Over the period from 2000 through 2011, roughly 30 to 60 percent of the U.S. land area
     that results in a serious water shortage
                                                                   experienced conditions that were at least abnormally dry at any given time (see Figure
     for some activity, population, or ecologi-
                                                                   2). The years 2002, 2003, and 2007 were relatively high drought years, while 2001, 2005,
     cal system. Drought can also be thought
     of as an extended imbalance between                           2009, and 2010 were relatively low drought years. In 2011, the overall extent of drought
     precipitation and evaporation.                                was relatively low, but the droughts that did occur were more severe than at any other
                                                                   time since 2000.
     As average temperatures have risen be-
     cause of climate change, the Earth’s wa-                   •	 According to the Drought Monitor, more than 64 percent of the contiguous U.S. land
     ter cycle has sped up through an increase                     area was covered by moderate or greater drought by the end of September 2012. In
     in the rate of evaporation. An increase in                    many portions of the country, 2012 has been among the driest years on record. 24
     evaporation makes more water available
     in the air for precipitation, but contrib-
     utes to drying over some land areas,
     leaving less moisture in the soil. Thus, as
     the climate continues to change, many                    Figure 1. Average Drought Conditions in the Contiguous 48 States, 1895–2011
     areas are likely to experience increased                 This chart shows annual values of the Palmer Drought Severity Index, averaged over the entire area of the
     precipitation (see the U.S. and Global                   contiguous 48 states. Positive values represent wetter-than-average conditions, while negative values repre-
     Precipitation indicator on p. 28) and                    sent drier-than-average conditions. A value between -2 and -3 indicates moderate drought, -3 to -4 is severe
     increased risk of flooding (see the Heavy                drought, and -4 or below indicates extreme drought. The thicker line is a nine-year weighted average.
     Precipitation indicator on p. 30), while
     areas located far from storm tracks are                      8
     likely to experience less precipitation and
     increased risk of drought. As a result,
                                                                  6
     since the 1950s, some regions of the
     world have experienced longer and more
     intense droughts, particularly in southern                   4
     Europe and West Africa, while other
     regions have seen droughts become less                       2
     frequent, less intense, or shorter (for
     example, in central North America).22
                                                                  0
     Drought conditions can negatively af-
     fect agriculture, water supplies, energy
                                                                 -2
     production, and many other aspects of
     society. The impacts vary depending on
     the type, location, intensity, and duration                 -4
     of the drought. For example, effects on
     agriculture can range from slowed plant                     -6
     growth to severe crop losses, while water
     supply impacts can range from lowered
                                                                 -8
     reservoir levels and dried-up streams to                     1890     1900   1910   1920        1930   1940   1950   1960   1970   1980   1990   2000    2010   2020
     major water shortages. Lower stream-
     flow and ground water levels can also                            Data source: NOAA, 2012   25                    Year
     harm plants and animals, and dried-out
     vegetation increases the risk of wildfires.


     About the Indicator
     During the 20th century, many indices
     were created to measure drought severity
     by looking at precipitation, soil moisture,
     stream flow, vegetation health, and other
     variables.23 Figure 1 shows annual values
     of the most widely used index, the Palmer

                          (Continued on page 33)
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                                                                                                                                                             P00000069626
                                                                                                                                        Drought Severity Index, which is calculated
                                                                                                                                        from precipitation and temperature measure-
                                                                                                                                        ments at weather stations. An index value of
                                                                                                                                        zero represents average moisture conditions
                                                                                                                                        for a given location, based on many years of
                                                                                                                                        observations. A positive value means condi-
                                                                                                                                        tions are wetter than average, while a nega-
                                                                                                                                        tive value is drier than average. Index values
                                                                                                                                        from locations across the contiguous 48
Figure 2. U.S. Lands Under Drought Conditions, 2000–2011                                                                                states have been averaged together to pro-
This chart shows the percentage of U.S. lands classified under drought conditions from 2000                                             duce the national values shown in Figure 1.
through 2011. This figure uses the U.S. Drought Monitor classification system, which is described                                       For a more detailed perspective on recent
in the table below. The data cover all 50 states plus Puerto Rico.                                                                      trends, Figure 2 shows a newer index called
                            100
                                                                                                                                        the Drought Monitor, which is based on
                                                                                                                                        several indices (including Palmer), along
                             90                                                                      D0    Abnormally dry               with additional factors such as snow water
                                                                                                     D1    Moderate drought             content, ground water levels, reservoir
                             80                                                                      D2    Severe drought               storage, pasture/range conditions, and other
                                                                                                     D3    Extreme drought
                                                                                                                                        impacts. The Drought Monitor uses codes
Percent of U.S. land area




                             70                                                                      D4    Exceptional drought
                                                                                                                                        from D0 to D4 (see table below) to classify
                             60                                                                                                         drought severity. This part of the indicator
                                                                                                                                        covers all 50 states and Puerto Rico.
                             50

                             40

                             30
                                                                                                                                        Indicator Notes
                                                                                                                                        Because this indicator focuses on national
                             20                                                                                                         trends, it does not show how drought con-
                                                                                                                                        ditions vary by region. For example, even
                             10                                                                                                         if half of the country suffered from severe
                                                                                                                                        drought, Figure 1 could show an average
                              0
                                   2000    2001     2002     2003    2004    2005    2006    2007   2008     2009    2010        2011   index value close to zero if the rest of the
                                                                                                                                        country was wetter than average. Thus, Fig-
                                                                                 Year                                                   ure 1 might understate the degree to which
                                  Data source: National Drought Mitigation Center, 2012 26                                              droughts are becoming more severe in some
                                                                                                                                        areas while other places receive more rain
                                                                                                                                        as a result of climate change.
                            Categories of Drought Severity                                                                              The U.S. Drought Monitor (Figure 2) offers a
                                                                                                                                        closer look at the percentage of the country
                             Category                      Description               Possible Impacts                                   that is affected by drought. However, this
                             D0                            Abnormally dry            Going into drought: short-term dry-                index is relatively new and thus too short-lived
                                                                                     ness slowing planting or growth of                 to be used for assessing long-term climate
                                                                                     crops or pastures. Coming out of                   trends. With several decades of data collec-
                                                                                     drought: some lingering water deficits;            tion, future versions of this indicator should
                                                                                     pastures or crops not fully recovered.             be able to paint a more complete picture of
                                                                                                                                        trends over time.
                             D1                            Moderate drought          Some damage to crops or pastures;
                                                                                     streams, reservoirs, or wells low; some            Overall, this indicator gives a broad over-
                                                                                     water shortages developing or immi-                view of drought conditions in the United
                                                                                     nent; voluntary water use restrictions             States. It is not intended to replace local or
                                                                                     requested.                                         state information that might describe condi-
                             D2                            Severe drought            Crop or pasture losses likely; water               tions more precisely for a particular region.
                                                                                     shortages common; water restrictions

                             D3                            Extreme drought
                                                                                     imposed.
                                                                                     Major crop/pasture losses; widespread
                                                                                                                                        Data Sources
                                                                                     water shortages or restrictions                    Data for Figure 1 were obtained from the
                             D4                            Exceptional drought       Exceptional and widespread crop/                   National Oceanic and Atmospheric Admin-
                                                                                     pasture losses; shortages of water in              istration’s National Climatic Data Center,
                                                                                     reservoirs, streams, and wells, creating           which maintains a large collection of climate
                                                                                     water emergencies.                                 data online at: www.ncdc.noaa.gov/oa/ncdc.
                                                                                                                                        html. Data for Figure 2 were provided by
                                                                                                                                        the National Drought Mitigation Center.
                            Experts update the U.S. Drought Monitor weekly and produce maps that illustrate                             Historical data in table form are available at:
                            current conditions as well as short- and long-term trends. Major participants include                       http://droughtmonitor.unl.edu/archive.html.
                            the National Oceanic and Atmospheric Administration, the U.S. Department of Agri-                           Maps and current drought information can
                                                                                                                                        be found on the main Drought Monitor site
                            culture, and the National Drought Mitigation Center. For a map of current drought
                                                                                                                                        at: http://droughtmonitor.unl.edu.
                            conditions, visit the Drought Monitor website at: http://droughtmonitor.unl.edu.
                                                                                                                                                                                           33




                                                                                                                                                                         P00000069627
                         Tropical Cyclone Activity
                          This indicator examines the frequency, intensity, and duration of hurricanes and other tropical storms in the
                          Atlantic Ocean, Caribbean, and Gulf of Mexico.



     Background                                                  Figure 1. Number of Hurricanes in the North Atlantic, 1878–2011
                                                                 This graph shows the number of hurricanes that formed in the North Atlantic Ocean each year
     Hurricanes, tropical storms, and other in-                  from 1878 to 2011, along with the number that made landfall in the United States. The blue curve
     tense rotating storms fall into a general cat-              shows how the total count in the red curve can be adjusted to attempt to account for the lack of
     egory called cyclones. There are two main
                                                                 aircraft and satellite observations in early years. All three curves have been smoothed using a five-
     types of cyclones: tropical and extratropical
                                                                 year average, plotted at the middle year. The most recent average (2007–2011) is plotted at 2009.
     (those that form outside the tropics). Tropi-
     cal cyclones get their energy from warm
     tropical oceans. Extratropical cyclones get                                                12
     their energy from the jet stream and from                                                                                                  Total hurricanes (adjusted)
     temperature differences between cold, dry
     air masses from higher latitudes and warm,                                                                                                 Total hurricanes (unadjusted)
                                                                                                10
     moist air masses from lower latitudes.                                                                                                     Hurricanes reaching the United States
     This indicator focuses on tropical cyclones in
                                                             Number of hurricanes


     the Atlantic Ocean, Caribbean, and Gulf of                                                     8
     Mexico. Tropical cyclones are most common
     during the “hurricane season,” which runs
     from June through November. The effects                                                        6
     of tropical cyclones are numerous and well
     known. At sea, storms disrupt and endanger
     shipping traffic. When cyclones encounter                                                      4
     land, their intense rains and high winds can
     cause severe property damage, loss of life,
     soil erosion, and flooding. The associated                                                     2
     storm surge—the large volume of ocean
     water pushed toward shore by the cyclone’s
     strong winds—can cause severe flooding and                                                     0
     destruction.                                                                                              1880        1900          1920       1940           1960            1980      2000
     Climate change is expected to affect tropical                                                                                                   Year
     cyclones by increasing sea surface tempera-                                                        Data source: Knutson, 201230
     tures, a key factor that influences cyclone
     formation and behavior. According to the
     U.S. Global Change Research Program, it is
     very likely that increased levels of green-
     house gases have contributed to an increase
                                                                 Figure 2. North Atlantic Tropical Cyclone Activity According to the
     in sea surface temperatures in areas where                  Accumulated Cyclone Energy Index, 1950–2011
     hurricanes form.27 The U.S. Global Change
     Research Program and the Intergovernmen-                    This figure shows total annual Accumulated Cyclone Energy (ACE) Index values from 1950
     tal Panel on Climate Change project that                    through 2011. The National Oceanic and Atmospheric Administration has defined “near
     tropical cyclones will likely become more                   normal,” “above normal,” and “below normal” ranges based on the distribution of ACE Index
     intense over the 21st century, with higher                  values over the 30 years from 1981 to 2010.
     wind speeds and heavier rains.28,29
                                                                                                    300

     About the Indicator
                                                                 Accumulated Cyclone Energy Index




                                                                                                    250
     Records of tropical cyclones in the Atlantic                                                                                                                                                   Above
     Ocean have been collected since the 1800s.                                                     200                                                                                             normal
     The most reliable long-term records focus
     on hurricanes, which are the strongest                                                         150
     category of tropical cyclones in the Atlantic,
     with wind speeds of at least 74 miles per                                                      100                                                                                             Near
     hour. This indicator uses historical data                                                                                                                                                      normal
     from the National Oceanic and Atmo-
     spheric Administration to track the number                                                      50                                                                                             Below
     of hurricanes per year in the North Atlantic                                                                                                                                                   normal
     (north of the equator) and the number                                                              0
     reaching the United States since 1878. Some                                                            1950        1960         1970       1980           1990             2000      2010
     hurricanes over the ocean might have been                                                                                                     Year
                                                                                                             Data source: NOAA, 201231
                               (Continued on page 35)
34




                                                                                                                                                                                                 P00000069628
                                                                                                                                                         missed before the start of aircraft and satel-
                                                                                                                                                         lite observation, so scientists have used other
                                                                                                                                                         evidence to estimate the actual number of hur-
                                                                                                                                                         ricanes that might have formed in earlier years.
                                                                                                                                                         This indicator also looks at the Accumulated
                                                                                                                                                         Cyclone Energy (ACE) Index and the Power
                                                                                                                                                         Dissipation Index (PDI), which are two ways of
                                                                                                                                                         monitoring the frequency, strength, and dura-
                                                                                                                                                         tion of tropical cyclones based on wind speed
                    Key Points                                                                                                                           measurements.
                    •	 Since 1878, about six to seven hurricanes have formed in the North Atlantic every year.                                           Every cyclone has an ACE Index value, which is
                       Roughly two per year make landfall in the United States. The total number of hurricanes                                           a number based on the maximum wind speed
                       (particularly after being adjusted for improvements in observation methods) and the num-                                          measured at six-hour intervals over the entire
                       ber reaching the United States do not indicate a clear overall trend since 1878 (see Figure 1).                                   time that the cyclone is classified as at least a
                                                                                                                                                         tropical storm (wind speed of at least 39 miles
                    •	 According to the total annual ACE Index, cyclone intensity has risen noticeably over the                                          per hour). Therefore, a storm’s ACE Index value
                       past 20 years, and six of the 10 most active years have occurred since the mid-1990s                                              accounts for both strength and duration. The
                       (see Figure 2). Relatively high levels of cyclone activity were also seen during the 1950s                                        National Oceanic and Atmospheric Administra-
                       and 1960s.                                                                                                                        tion calculates the total ACE Index value for an
                    •	 The PDI (see Figure 3) shows fluctuating cyclone intensity for most of the mid- to late                                           entire hurricane season by adding the values for
                                                                                                                                                         all named storms, including subtropical storms,
                       20 th century, followed by a noticeable increase since 1995 (similar to the ACE Index).
                                                                                                                                                         tropical storms, and hurricanes. The resulting
                       These trends are associated with variations in sea surface temperature in the tropical
                                                                                                                                                         annual total accounts for cyclone strength, dura-
                       Atlantic (see Figure 2).                                                                                                          tion, and frequency. For this indicator, the index
                    •	 Despite the apparent increases in tropical cyclone activity in Figures 2 and 3, changes in                                        has been converted to a scale where 100 equals
                       observation methods over time make it difficult to know for certain whether tropical                                              the median value (the midpoint) over a base pe-
                       storm activity has actually shown a long-term increase. 32                                                                        riod from 1981 to 2010. The thresholds in Figure
                                                                                                                                                         2 define whether the ACE Index for a given year
                                                                                                                                                         is close to normal, significantly above normal, or
                                                                                                                                                         significantly below.
                                                                                                                                                         Like the ACE Index, the PDI is based on mea-
                    Figure 3. North Atlantic Tropical Cyclone Activity According to the                                                                  surements of wind speed, but it uses a different
                                                                                                                                                         calculation method that places more emphasis
                    Power Dissipation Index, 1949–2011                                                                                                   on storm intensity. This indicator shows the
                                                                                                                                                         annual PDI value, which represents the sum of
                    This figure presents annual values of the Power Dissipation Index (PDI). Tropical North Atlantic
                                                                                                                                                         PDI values for all named storms during the year.
                    sea surface temperature trends are provided for reference. Note that sea surface temperature

                                                                                                                                                         Indicator Notes
                    is measured in different units, but the values have been plotted alongside the PDI to show how
                    they compare. The lines have been smoothed using a five-year weighted average, plotted at
                    the middle year. The most recent average (2007–2011) is plotted at 2009.
                                                                                                                                                         Over time, data collection methods have changed
                          6                                                                                        83.2                                  as technology has improved. For example, wind
                                                                                                                                                         speed collection methods have evolved sub-
                          5
                                                                                                                                                         stantially over the past 60 years, while aircraft
                                                                                                                          Sea surface temperature (°F)




                                                                                                                   82.8                                  reconnaissance began in 1944 and satellite
Power Dissipation Index




                                                                                                                                                         tracking around 1966. Figure 1 shows how older
                          4                                                                                                                              hurricane counts have been adjusted to attempt
                                                     Power                                                         82.4                                  to account for the lack of aircraft and satellite
                                               Dissipation Index
                          3                                                                                                                              observations. Changes in data gathering tech-
                                                                                                                                                         nologies could substantially influence the overall
                                                                                                                   82.0                                  patterns in Figures 2 and 3. The effects of these
                          2                                                                                                                              changes on data consistency over the life of the
                                                                                                                                                         indicator would benefit from additional research.
                                                                                                                   81.6
                          1


                          0
                                                  Sea surface
                                                 temperature
                                                                                                                   81.2
                                                                                                                                                         Data Sources
                               1950           1960           1970   1980       1990         2000         2010                                            Hurricane counts are reported on several Na-
                                                                                                                                                         tional Oceanic and Atmospheric Administration
                                                                    Year
                              Data source: Emanuel, 201233                                                                                               websites and were compiled using methods de-
                                                                                                                                                         scribed in Knutson et al. (2010).34 The ACE Index
                                                                                                                                                         data (Figure 2) came from the National Oceanic
                                                                                                                                                         and Atmospheric Administration’s Climate
                                                                                                                                                         Prediction Center, and are available online at:
                                                                                                                                                         www.cpc.noaa.gov/products/outlooks/
                                                                                                                                                         background_information.shtml. Values for the
                                                                                                                                                         PDI have been calculated by Kerry Emanuel at
                                                                                                                                                         the Massachusetts Institute of Technology. Both
                                                                                                                                                         indices are based on wind speed measurements
                                                                                                                                                         compiled by the National Oceanic and Atmo-
                                                                                                                                                         spheric Administration.
                                                                                                                                                                                                              35




                                                                                                                                                                                          P00000069629
     Oceans



     INDICATORS IN THIS CHAPTER


                                  Sea Surface
               Ocean Heat                       Sea Level
36                                Temperature




                                                  P00000069630
                                 T
                                     he oceans and at-                climate change by storing             reduces the availability of
                                     mosphere interact                one-fifth to one-third of             some types of minerals,
                                     constantly—both                  the carbon dioxide that               thus making it harder for
                                 physically and chemi-                human activities emit into            certain organisms, such as
                                 cally—exchanging energy,             the atmosphere,1 increas-             corals and shellfish, to build
                                 water, gases, and particles.         ing levels of dissolved               their skeletons and shells.
                                 This relationship influ-             carbon are changing the               These effects, in turn, could
                                 ences the Earth’s climate            chemistry of seawater and             substantially alter the bio-
                                 on regional and global               making it more acidic.                diversity and productivity
                                 scales. It also affects the                                                of ocean ecosystems.
                                 state of the oceans.
                                                                                                                  Changes in ocean
                                 Covering about                                                                   systems generally oc-
                                 70 percent of the                                                                cur over much longer
                                 Earth’s surface, the                                                             time periods than
                                 oceans store vast                                                                in the atmosphere,
                                 amounts of energy                                                                where storms can
                                 absorbed from the                                                                form and dissipate in
                                 sun and move this                                                                a single day. Interac-
                                 energy around the                                                                tions between the
                                 globe through cur-                                                               oceans and atmo-
                                 rents. The oceans                                                                sphere occur slowly
                                 are also a key com-                                                              over many years, and
                                 ponent of the Earth’s                                                            so does the move-
                                 carbon cycle. Oceans                 Why does it matter?                   ment of water within the
                                 store a large amount of                                                    oceans, including the
                                 carbon, either in dissolved          Changes in ocean tempera-             mixing of deep and shal-
                                 form or within plants and            tures and currents brought            low waters. Thus, trends
                                 animals (living or dead).            about by climate change               can persist for decades,
                                                                      will lead to alterations in           centuries, or longer. For
                                 What is happening?                   climate patterns around the           this reason, even if green-
                                                                      world. For example, warm-             house gas emissions are
                                 As greenhouse gases trap
                                                                      er waters may promote the             stabilized tomorrow, it will
                                 more energy from the sun,
                                                                      development of stronger               take many more years—
                                 the oceans are absorbing
                                                                      storms in the tropics, which          decades to centuries—for
                                 more heat, resulting in
                                                                      can cause property damage             the oceans to adjust to
                                 an increase in sea surface
                                                                      and loss of life. Other im-           changes in the atmosphere
                                 temperatures and ris-
                                                                      pacts come from increased             and the climate that have
                                 ing sea level. Although
                                                                      ocean acidity, which                  already occurred.
                                 the oceans help reduce

For detailed information about data used in these indicators, see the online technical documentation at: www.epa.gov/climatechange/indicators.




  Ocean
  Acidity                                                                                                                                        37




                                                                                                                               P00000069631
                        Ocean Heat
                          This indicator describes trends in the amount of heat stored in the world’s oceans.




     Background                                               Figure 1. Ocean Heat Content, 1955–2011
                                                              This figure shows changes in ocean heat content between 1955 and 2011. Ocean heat con-
     When sunlight reaches the Earth’s                        tent is measured in joules, a unit of energy, and compared against the 1971–2000 average,
     surface, the world’s oceans absorb some                  which is set at zero for reference. Choosing a different baseline period would not change the
     of this energy and store it as heat. This                shape of the data over time. The lines were calculated independently by three agencies: the
     heat is initially absorbed at the surface,               National Oceanic and Atmospheric Administration, Australia’s Commonwealth Scientific and
     but some of it eventually spreads to                     Industrial Research Organisation (CSIRO), and Japan’s Agency for Marine-Earth Science and
     deeper waters. Currents also move                        Technology (JAMSTEC).
     this heat around the world. Water has
                                                                                                  15
     a much higher heat capacity than air,
     meaning the oceans can absorb larger
     amounts of heat energy with only a
     slight increase in temperature.
                                                                                                  10
     The total amount of heat stored by the                                                                                                                          NOAA
                                                               Ocean heat content (1022 joules)


     oceans is called “ocean heat content,”
     and measurements of water tempera-
     ture reflect the amount of heat in the                                                        5
     water at a particular time and location.
     Ocean temperature plays an important
     role in the Earth’s climate system—
                                                                                                                                                                             Long-term average
     particularly sea surface temperature                                                          0
     (see the Sea Surface Temperature
     indicator on p. 40)—because heat from                                                                                JAMSTEC
     ocean surface waters provides energy
     for storms and thereby influences                                                             -5
     weather patterns.
     Higher greenhouse gas concentrations                                                                                               CSIRO
     are trapping more energy from the sun,
     and the oceans are currently absorbing                                                       -10
                                                                                                             1960            1970               1980          1990    2000             2010
     80 to 90 percent of this extra heat—
     much more than the amount absorbed                                                                                                                Year
     by the atmosphere.2 If not for the large                                                           Data sources: CSIRO, 2012;4 JAMSTEC, 2012;5 NOAA, 20126
     heat-storage capacity provided by the
     oceans, the atmosphere would grow
     warmer more rapidly. 3 Increased heat
     absorption also changes ocean currents
     because many currents are driven by
     differences in temperature, which causes
     differences in density. These currents
     influence climate patterns and sustain
     ecosystems—for example, coastal
     fishing grounds depend on upwelling cur-
     rents to bring nutrients to the surface.
     Because water expands slightly as it
     gets warmer, an increase in ocean heat
     content will also increase the volume of
     water in the ocean, which is one cause
     of the observed increases in sea level
     (see the Sea Level indicator on p. 42).




38




                                                                                                                                                                                  P00000069632
                                                                                             About the Indicator
                                                                                             This indicator shows trends in global ocean
                                                                                             heat content from 1955 to 2011. These data
                                                                                             are available for the top 700 meters of the
                                                                                             ocean (nearly 2,300 feet), which accounts
                                                                                             for just under 20 percent of the total
                                                                                             volume of water in the world’s oceans. The

Key Points                                                                                   indicator measures ocean heat content in
                                                                                             joules, which are a unit of energy.
•	 In three different data analyses, the long-term trend shows that the oceans have become   The National Oceanic and Atmospheric
   warmer since 1955 (see Figure 1).                                                         Administration has calculated changes in
•	 Although concentrations of greenhouse gases have risen at a relatively steady rate over   ocean heat content based on measurements
   the past few decades (see the Atmospheric Concentrations of Greenhouse Gases indica-      of ocean temperatures around the world at
   tor on p. 16), the rate of change in ocean heat content can vary from year to year (see   different depths. These measurements come
   Figure 1). Year-to-year changes are influenced by events such as volcanic eruptions and   from a variety of instruments deployed
   recurring ocean-atmosphere patterns such as El Niño.                                      from ships and airplanes and, more recently,
                                                                                             underwater robots. Thus, the data must be
                                                                                             carefully adjusted to account for differences
                                                                                             among measurement techniques and data
                                                                                             collection programs. Figure 1 shows three
                                                                                             independent interpretations of essentially
                                                                                             the same underlying data.


                                                                                             Indicator Notes
                                                                                             Data must be carefully reconstructed and
                                                                                             filtered for biases because of different data
                                                                                             collection techniques and uneven sampling
                                                                                             over time and space. Various methods of
                                                                                             correcting the data have led to slightly dif-
                                                                                             ferent versions of the ocean heat trend line.
                                                                                             Scientists continue to compare their results
                                                                                             and improve their estimates over time.
                                                                                             They also test their ocean heat estimates by
                                                                                             looking at corresponding changes in other
                                                                                             properties of the ocean. For example, they
                                                                                             can check to see whether observed changes
                                                                                             in sea level match the amount of sea level
                                                                                             rise that would be expected based on the
                                                                                             estimated change in ocean heat.


                                                                                             Data Sources
                                                                                             Data for this indicator were collected by the
                                                                                             National Oceanic and Atmospheric Admin-
                                                                                             istration and other organizations around the
                                                                                             world. The data were analyzed independent-
                                                                                             ly by researchers at the National Oceanic
                                                                                             and Atmospheric Administration, Australia’s
                                                                                             Commonwealth Scientific and Industrial
                                                                                             Research Organisation, and Japan’s Agency
                                                                                             for Marine-Earth Science and Technology.




                                                                                                                                             39




                                                                                                                            P00000069633
                        Sea Surface Temperature
                         This indicator describes global trends in sea surface temperature.




     Background                                             Figure 1. Average Global Sea Surface Temperature, 1880–2011
                                                            This graph shows how the average surface temperature of the world’s oceans has changed since
     Sea surface temperature—the tem-                       1880. This graph uses the 1971 to 2000 average as a baseline for depicting change. Choosing a
     perature of the water at the ocean sur-                different baseline period would not change the shape of the data over time. The shaded band shows
     face—is an important physical attribute                the range of uncertainty in the data, based on the number of measurements collected and the preci-
     of the world’s oceans. The surface tem-                sion of the methods used.
     perature of the world’s oceans varies
     mainly with latitude, with the warmest                                            2.0
     waters generally near the equator and
     the coldest waters in the Arctic and                                              1.5
     Antarctic regions. As the oceans absorb
     more heat, sea surface temperatures                                               1.0
                                                            Temperature anomaly (°F)
     will increase and the ocean circulation
     patterns that transport warm and cold                                             0.5
     water around the globe will change.                                                                1971–2000 average
                                                                                         0
     Changes in sea surface temperature
     can alter marine ecosystems in several                                            -0.5
     ways. For example, variations in ocean
     temperature can affect what species                                               -1.0
     of plants and animals are present in a
     location, alter migration and breeding                                            -1.5
     patterns, threaten sensitive ocean life
     such as corals, and change the fre-                                               -2.0
                                                                                          1880 1890 1900 1910 1920 1930 1940 1950 1960 1970 1980 1990 2000 2010 2020
     quency and intensity of harmful algal
     blooms.7 Over the long term, increases                                                                                 Year
     in sea surface temperature could also                                                    Data source: NOAA, 201210
     reduce the circulation patterns that
     bring nutrients from the deep sea to
     surface waters. Changes in reef habitat
     and nutrient supply can lead to declines
     in fish populations, which in turn could
     affect people who depend on fishing for
     food or jobs.8
     Because the oceans continuously inter-
     act with the atmosphere, sea surface
     temperature can also have profound
     effects on global climate. Based on
     increases in sea surface temperature,
     the amount of atmospheric water vapor
     over the oceans is estimated to have
     increased by about 5 percent during the
     20 th century.9 This water vapor feeds
     weather systems that produce precipi-
     tation, increasing the risk of heavy rain
     and snow (see the Heavy Precipitation
     and Tropical Cyclone Intensity indica-
     tors on pp. 30 and 34, respectively).
     Changes in sea surface temperature
     can also shift storm tracks, potentially
     contributing to droughts in some areas.




40




                                                                                                                                                         P00000069634
                                                                                               About the Indicator
                                                                                               This indicator tracks average global sea
                                                                                               surface temperature from 1880 through
                                                                                               2011 using data compiled by the National
                                                                                               Oceanic and Atmospheric Administration.
                                                                                               Techniques for measuring sea surface tem-
                                                                                               perature have evolved since the 1800s. For

Key Points                                                                                     instance, the earliest data were collected by
                                                                                               inserting a thermometer into a water sam-
•	 Sea surface temperature increased over the 20 th century and continues to rise. From 1901   ple collected by lowering a bucket from a
   through 2011, temperatures rose at an average rate of 0.13˚F per decade (see Figure 1).     ship. Today, temperature measurements are
                                                                                               collected more systematically from ships, as
•	 Sea surface temperatures have been higher during the past three decades than at any
                                                                                               well as at stationary and drifting buoys.
   other time since reliable observations began in 1880 (see Figure 1).
                                                                                               The National Oceanic and Atmospheric
•	 Increases in sea surface temperature have largely occurred over two key periods: be-
                                                                                               Administration has carefully reconstructed
   tween 1910 and 1940, and from 1970 to the present. Sea surface temperatures appear to
                                                                                               and filtered the data for this indicator to
   have cooled between 1880 and 1910 (see Figure 1).
                                                                                               correct for biases in the different collection
                                                                                               techniques and to minimize the effects of
                                                                                               sampling changes over various locations and
                                                                                               times. The data are shown as anomalies, or
                                                                                               differences, compared with the average sea
                                                                                               surface temperature from 1971 to 2000.
   Example: Average Sea Surface Temperature in 2011
   This map shows annual average sea surface temperatures around the world during the year
   2011. It is based on a combination of direct measurements and satellite measurements.       Indicator Notes
                                                                                               Because this indicator tracks sea surface
                                                                                               temperature at a global scale, the data
                                                                                               shown in Figure 1 do not necessarily reflect
                                                                                               local or regional trends.
                                                                                               Due to denser sampling and improve-
                                                                                               ments in sampling design and measurement
                                                                                               techniques, newer data are more precise
                                                                                               than older data. The earlier trends shown
                                                                                               by this indicator have less certainty because
                                                                                               of lower sampling frequency and less precise
                                                                                               sampling methods, as shown by the width of
                                                                                               the blue shaded band in Figure 1.


                                                                                               Data Sources
                                                                                               Data for this indicator were provided by the
                                                                                               National Oceanic and Atmospheric Admin-
                                    Average sea surface temperature (°F):                      istration’s National Climatic Data Center
                                                                                               and are available online at: www.ncdc.noaa.
     30                40                50               60                70    80
                                                                                               gov/ersst. These data were reconstructed
                                                                                               from measurements of water temperature,
   Data source: UK Met Office, 201211                                                          which are available from the National Oce-
                                                                                               anic and Atmospheric Administration at:
                                                                                               http://icoads.noaa.gov/products.html.




                                                                                                                                                41




                                                                                                                               P00000069635
                          Sea Level
                           This indicator describes how sea level has changed over time. The indicator describes two types of sea level
                           changes: absolute and relative.



     Background                                             Figure 1. Global Average Absolute Sea Level Change, 1880–2011
                                                            This graph shows cumulative changes in sea level for the world’s oceans since 1880, based on a
     As the temperature of the Earth changes,               combination of long-term tide gauge measurements and recent satellite measurements. This figure
     so does sea level. Temperature and sea                 shows average absolute sea level change, which refers to the height of the ocean surface, regardless
     level are linked for two main reasons:                 of whether nearby land is rising or falling. Satellite data are based solely on measured sea level, while
     1.	 Changes in the volume of water and                 the long-term tide gauge data include a small correction factor because the size and shape of the
         ice on land (namely glaciers and ice               oceans are changing slowly over time. (On average, the ocean floor has been gradually sinking since
         sheets) can increase or decrease the               the last Ice Age peak, 20,000 years ago.) The shaded band shows the likely range of values, based on
         volume of water in the ocean (see the              the number of measurements collected and the precision of the methods used.
         Glaciers indicator on p. 50).
                                                                                                   12
     2.	 As water warms, it expands slightly—
         an effect that is cumulative over the                                                                      Trend based on tide gauges
                                                                                                   10
         entire depth of the oceans (see the                                                                        Satellite measurements
                                                            Cumulative sea level change (inches)



         Ocean Heat indicator on p. 38).
     Changing sea levels can affect human                                                           8
     activities in coastal areas. For example,
     rising sea levels can lead to increased                                                        6
     coastal flooding and erosion, which is
     a particular concern in low-lying areas.
     Higher sea level also makes coastal                                                            4
     infrastructure more vulnerable to damage
     from storms. Sea level rise can alter eco-                                                     2
     systems, transforming marshes and other
     wetlands into open water and freshwater
     systems into salt water systems.                                                               0

     The sea level changes that affect coastal
     systems involve more than just expand-                                                        -2
     ing oceans, however, because the Earth’s                                                       1880     1890   1900   1910   1920    1930   1940   1950   1960   1970   1980   1990   2000   2010   2020
     continents can also rise and fall relative                                                                                                         Year
     to the oceans. Land can rise through pro-                                                          Data sources: CSIRO, 2012;12 NOAA, 201213
     cesses such as sediment accumulation (the
     process that built the Mississippi Delta)
     and geological uplift (for example, as gla-
     ciers melt and the land below is no longer
     weighed down by heavy ice). In other
     areas, land can sink because of erosion,
     sediment compaction, natural subsidence
     (sinking due to geologic changes), or engi-
     neering projects that prevent rivers from
                                                                               Key Points
     naturally depositing sediments along their                                •	 After a period of approximately 2,000 years of little change (not shown here), global aver-
     banks. Changes in ocean currents such as                                     age sea level rose throughout the 20 th century, and the rate of change has accelerated in re-
     the Gulf Stream can also affect sea levels                                   cent years.14 When averaged over all the world’s oceans, absolute sea level increased at an
     by pushing more water against some                                           average rate of 0.07 inches per year from 1880 to 2011 (see Figure 1). From 1993 to 2011,
     coastlines and pulling it away from others,                                  however, average sea level rose at a rate of 0.11 to 0.13 inches per year—roughly twice as
     raising or lowering sea levels accordingly.                                  fast as the long-term trend.
     Scientists account for these types of                                     •	 Relative sea level rose along much of the U.S. coastline between 1960 and 2011, particu-
     changes by measuring sea level change                                        larly the Mid-Atlantic Coast and parts of the Gulf Coast, where some stations registered
     in two different ways. Relative sea level                                    increases of more than 8 inches (see Figure 2). Meanwhile, relative sea level fell at some
     change is how the height of the ocean                                        locations in Alaska and the Pacific Northwest. At those sites, even though absolute sea
     rises or falls relative to the land at a                                     level has risen, land elevation has risen more rapidly.
     particular location. In contrast, absolute                                •	 While absolute sea level has increased steadily overall, particularly in recent decades, re-
     sea level change refers to the height of                                     gional trends vary, and absolute sea level has decreased in some places.15 Relative sea level
     the ocean surface above the center of the                                    also has not risen uniformly because of regional and local changes in land movement and
     earth, without regard to whether nearby                                      long-term changes in coastal circulation patterns.
     land is rising or falling.

42




                                                                                                                                                                                                  P00000069636
                                                                                                   About the Indicator
                                                                                                   This indicator presents trends in sea level
                                                                                                   based on measurements from tide gauges
                                                                                                   and from satellites that orbit the Earth. Tide
                                                                                                   gauges measure relative sea level change at
                                                                                                   points along the coast, while satellite instru-
                                                                                                   ments measure absolute sea level change
Figure 2. Relative Sea Level Change Along U.S. Coasts, 1960–2011                                   over nearly the entire ocean surface. Many
                                                                                                   tide gauges have collected data for more
This map shows cumulative changes in relative sea level from 1960 to 2011 at tide gauge stations   than 100 years, while satellites have col-
along U.S. coasts. Relative sea level reflects changes in sea level as well as land elevation.     lected data since the early 1990s.
                                                                                                   Figure 1 shows annual absolute sea level
                                                                                                   change averaged over the entire Earth’s
                                                                                                   ocean surface. The long-term trend is based
                                                                                                   on tide gauge data that have been adjusted
                                                                                                   to show absolute global trends through
                                                                                                   calibration with recent satellite data. Figure
                                                                                                   2 shows trends at a more local scale, high-
                                                                                                   lighting the 1960 to 2011 change in relative
                                                                                                   sea level at 68 tide gauges along the Atlantic,
                                                                                                   Pacific, and Gulf coasts of the United States.


                                                                                                   Indicator Notes
                                                                                                   Relative sea level trends represent a
                                                                                                   combination of absolute sea level change
                                                                                                   and any local land movement. Tide gauge
                                                                                                   measurements such as those in Figure
                                                                                                   2 generally cannot distinguish between
               Alaska                                                                              these two different influences without
                                                                                                   an accurate measurement of vertical land
                                              Hawaii and                                           motion nearby.
                                             Pacific Islands                                       Some changes in relative and absolute sea
                                                                                                   level can be due to multi-year cycles such
                                                                                                   as El Niño and La Niña, which affect coastal
                                                                                                   ocean temperatures, salt content, wind
                                                                                                   patterns, atmospheric pressure (and thus
                                    Relative sea level change (inches):
                                                                                                   storm tracks), and currents. Obtaining a
               -7.99        -5.99    -3.99    -1.99                                                reliable trend can require many years of
               to -6        to -4    to -2     to 0                                                data, which is why the satellite record in
                                                                                                   Figure 1 has been supplemented with a
                                                        0.01     2.01     4.01   6.01
                                                        to 2     to 4     to 6   to 8              longer-term reconstruction based on tide
                                                                                                   gauge measurements.


                                                                                                   Data Sources
Data source: NOAA, 201216



                                                                                                   Absolute sea level trends were provided by
                                                                                                   Australia’s Commonwealth Scientific and
                                                                                                   Industrial Research Organisation and the
                                                                                                   National Oceanic and Atmospheric Admin-
                                                                                                   istration. These data are based on measure-
                                                                                                   ments collected by satellites and tide gauges.
                                                                                                   Relative sea level data are available from
                                                                                                   the National Oceanic and Atmospheric
                                                                                                   Administration, which publishes an interac-
                                                                                                   tive online map (http://tidesandcurrents.
                                                                                                   noaa.gov/sltrends/sltrends.shtml) with links
                                                                                                   to detailed data for each tide gauge.




                                                                                                                                                     43




                                                                                                                                     P00000069637
                         Ocean Acidity
                          This indicator shows changes in the chemistry of the ocean, which relate to the amount of carbon dissolved in the water.




     Background                                                 Key Points
     The ocean plays an important role in                       •	 Measurements made over the last few decades have demonstrated that ocean carbon diox-
     regulating the amount of carbon diox-                         ide levels have risen in response to increased carbon dioxide in the atmosphere, leading to
     ide in the atmosphere. As atmospheric                         an increase in acidity (that is, a decrease in pH) (see Figure 1).
     concentrations of carbon dioxide rise                      •	 Historical modeling suggests that since the 1880s, increased carbon dioxide has led to
     (see the Atmospheric Concentrations of
                                                                   lower aragonite saturation levels (less availability of minerals) in the oceans around the
     Greenhouse Gases indicator on p. 16),
                                                                   world (see Figure 2).
     the ocean absorbs more carbon dioxide.
     Because of the slow mixing time between                    •	 The largest decreases in aragonite saturation have occurred in tropical waters (see Figure
     surface waters and deeper waters, it can                      2). However, decreases in cold areas may be of greater concern because colder waters typi-
     take hundreds to thousands of years to                        cally have lower aragonite levels to begin with.19
     establish this balance. Over the past 250
     years, oceans have absorbed approxi-
     mately 40 percent of the carbon dioxide
     produced by human activities.17
     Although the ocean’s ability to take up
     carbon dioxide prevents atmospheric levels
     from climbing even higher, rising levels of
                                                                                                                                 Figure 1. Ocean Carbon Dioxide Levels and Acidity, 1983–2011
     carbon dioxide dissolved in the ocean can                                                                                   This figure shows the relationship between changes in ocean carbon dioxide levels (measured in
     have a negative effect on marine life. Carbon                                                                               the left column as a partial pressure—a common way of measuring the amount of a gas) and
     dioxide reacts with sea water to produce                                                                                    acidity (measured as pH in the right column). The data come from two observation stations in
     carbonic acid. The resulting increase in acid-                                                                              the North Atlantic Ocean (Canary Islands and Bermuda) and one in the Pacific (Hawaii). The
     ity (measured by lower pH values) reduces                                                                                   up-and-down pattern shows the influence of seasonal variations.
     the availability of minerals such as aragonite,
     which is a form of calcium carbonate that
                                                                                                                                500                                                                                  8.20
     corals, some types of plankton, and other
     creatures rely on to produce their hard skel-                                                                              450                                                                                  8.15
     etons and shells. Declining pH and reduced                                                                                 400                                                                                  8.10
                                                             Dissolved carbon dioxide (partial pressure in micro-atmospheres)




     availability of minerals can make it more
     difficult for these animals to thrive. This                                                                                350                                                                                  8.05
     can lead to broader changes in the overall                                                                                 300                                                                                  8.00
     structure of ocean and coastal ecosystems,                                                                                                                Bermuda                                                      Bermuda
                                                                                                                                250                                                                                  7.95
     and can ultimately affect fish populations and                                                                               1980 1985 1990 1995 2000 2005 2010 2015                                               1980 1985 1990 1995 2000 2005 2010 2015
     the people who depend on them.18
                                                                                                                                                                                       pH [lower pH = more acidic]




     While changes in ocean pH and mineral                                                                                      500                                                                                  8.20
     availability caused by the uptake of atmo-
                                                                                                                                450                                                                                  8.15
     spheric carbon dioxide generally occur over
     many decades, these properties can fluctuate                                                                               400                                                                                  8.10
     over shorter periods, especially in coastal
                                                                                                                                350                                                                                  8.05
     and surface waters. For example, increased
     photosynthesis and respiration during the                                                                                  300                                                                                  8.00
     day and during the summer leads to natural                                                                                                                 Canary Islands                                              Canary Islands
                                                                                                                                250                                                                                  7.95
     fluctuations in pH. Acidity also varies with                                                                                 1980 1985 1990 1995 2000 2005 2010 2015                                               1980 1985 1990 1995 2000 2005 2010 2015
     water temperature.
                                                                                                                                500                                                                                  8.20

     About the Indicator                                                                                                        450
                                                                                                                                400
                                                                                                                                                                                                                     8.15
                                                                                                                                                                                                                     8.10
     This indicator describes trends in pH and
     related properties of ocean water, based                                                                                   350                                                                                  8.05
     on a combination of direct observations,
                                                                                                                                300                                                                                  8.00
     calculations, and modeling.                                                                                                                                       Hawaii                                               Hawaii
                                                                                                                                250                                                                                  7.95
     Figure 1 shows pH values and levels of dis-                                                                                  1980 1985 1990 1995 2000 2005 2010 2015                                               1980 1985 1990 1995 2000 2005 2010 2015
     solved carbon dioxide at three locations that
     have collected measurements consistently                                                                                                                                          Year
     over the last few decades. These data have
     been either measured directly or calculated                                                                                  Data sources: Bates et al., 2012; González-Dávila, 2012;21 University of Hawaii, 2012 22
                                                                                                                                                                  20


     from related measurements such as dissolved

                             (Continued on page 45)
44




                                                                                                                                                                                                                                                P00000069638
                                                                                                                      inorganic carbon and alkalinity. Data come
                                                                                                                      from two stations in the Atlantic Ocean
                                                                                                                      (Bermuda and the Canary Islands) and one in
                                                                                                                      the Pacific (Hawaii).
                                                                                                                      The global map in Figure 2 shows changes
                                                                                                                      over time in the amount of aragonite
                                                                                                                      dissolved in ocean water, which is called
                                                                                                                      aragonite saturation. This map was created
                                                                                                                      by comparing average conditions during the
                                                                                                                      1880s with average conditions during the
  pH Scale                                                                                                            most recent 10 years (2003–2012). Aragonite
  Acidity is commonly measured using the pH scale. Pure water has a pH of about 7,                                    saturation has only been measured at se-
  which is considered neutral. A substance with a pH less than 7 is considered to be                                  lected locations during the last few decades,
  acidic, while a substance with a pH greater than 7 is considered to be basic or alkaline.                           but it can be calculated reliably for different
  The lower the pH, the more acidic the substance. Like the well-known Richter scale                                  times and locations based on the relation-
  for measuring earthquakes, the pH scale is based on powers of 10, which means a                                     ships scientists have observed among arago-
  substance with a pH of 3 is 10 times more acidic than a substance with a pH of 4.                                   nite saturation, pH, dissolved carbon, water
  For more information about pH, visit: www.epa.gov/acidrain/measure/ph.html.                                         temperature, concentrations of carbon
                                                                                                                      dioxide in the atmosphere, and other factors
                                                                                                                      that can be measured. Thus, while Figure 2
                           1             Battery Acid                                                                 was created using a computer model, it is
                           2             Lemon Juice                                                                  indirectly based on actual measurements.
          Increasing       3             Vinegar                                        Acid Rain


                                                                                                                      Indicator Notes
            Acidity                                           Adult Fish Die
                           4
                                                         Fish Reproduction Affected
                           5
                                                         Normal Range of Precipitation pH
                           6
                                         Milk
                                                                                                                      This indicator focuses on surface waters,
            Neutral        7                            Normal Range of Stream pH                                     which absorb carbon dioxide from the at-
                           8                                                                                          mosphere within a few months.25 It can take
                                         Baking Soda
                                         Sea Water
                                                                                                                      much longer for changes in pH and mineral
                           9
                                                                                                                      saturation to spread to deeper waters, so
                          10
          Increasing                     Milk of Magnesia                                                             the full effect of increased atmospheric car-
                          11
           Alkalinity                                                                                                 bon dioxide concentrations on ocean acidity
                          12             Ammonia                                                                      may not be seen for many decades, if not
                          13             Lye                                                                          centuries. Studies suggest that the impacts of
                          14                                                                                          ocean acidification may be greater at depth,
                                                                                                                      because the availability of minerals like ara-
  Source: Environment Canada, 200823                                                                                  gonite is naturally lower in deeper waters.26
                                                                                                                      Ocean chemistry is not uniform around the
  Figure 2. Changes in Aragonite Saturation of the World’s Oceans, 1880–2012                                          world, so local conditions can cause pH or
  This map shows changes in the amount of aragonite dissolved in ocean surface waters between the                     aragonite saturation measurements to differ
  1880s and the most recent decade (2003–2012). Aragonite is a form of calcium carbonate that                         from the global average. For example, car-
  many marine animals use to build their skeletons and shells. Aragonite saturation is a ratio that                   bon dioxide dissolves more readily in cold
  compares the amount of aragonite that is actually present with the total amount of aragonite that                   water than in warm water, so colder regions
  the water could hold if it were completely saturated. The more negative the change in aragonite                     could experience greater impacts from acid-
  saturation, the larger the decrease in aragonite available in the water, and the harder it is for                   ity than warmer regions.
  marine creatures to produce their skeletons and shells.
                                                                                                                      Data Sources
                                                                                                                      Data for Figure 1 came from three studies:
                                                                                                                      the Bermuda Atlantic Time-Series Study,
                                                                                                                      the European Station for Time-Series in
                                                                                                                      the Ocean (Canary Islands), and the Hawaii
                                                                                                                      Ocean Time-Series. Bermuda data were
                                                                                                                      analyzed by Bates et al. (2012)27 and are
                                                                                                                      available at: http://bats.bios.edu. Canary
                                                                                                                      Islands data were analyzed by Gonzalez-
                                                                                                                      Davila et al. (2010)28 and are available at:
                                                                                                                      www.eurosites.info/estoc/data.php. Hawaii
                                                                                                                      data were analyzed by Dore et al. (2009)29
                                                                                                                      and are available at: http://hahana.soest.
                                                                                                                      hawaii.edu/hot/products/products.html.
                                                                                                                      The map in Figure 2 was created by the Na-
                                                                                                                      tional Oceanic and Atmospheric Adminis-
                                                                                                                      tration and the Woods Hole Oceanographic
                                                                                                                      Institution using Community Earth System
                                                                                                                      Model data. Related information can be
-0.8          -0.7             -0.6             -0.5            -0.4             -0.3               -0.2   -0.1   0   found at: http://sos.noaa.gov/Datasets/list.
                                                                                                                      php?category=Ocean.
  Data source: Feely et al., 2009                                                                                                                                       45
                                    24




                                                                                                                                                      P00000069639
     Snow and Ice



     INDICATORS IN THIS CHAPTER


               Arctic Sea Ice     Glaciers   Lake Ice
46




                                               P00000069640
                                                                                                                    The Cryosphere
                                                                                                                                              Snow
                                                                                                                                              Sea ice
                                                                                                                                              Ice sheets
                                                                                                                                              Glaciers and
                                                                                                                                              ice caps
                                                                                                                                              Permafrost
                                                                                                                                              (continuous)



T
    he Earth’s surface contains many               relatively minor changes in tempera-                                                       Permafrost
    forms of snow and ice, including               ture. As a result, prolonged warming                                                       (discontinuous)
                                                                                                                                              Permafrost
    sea ice, lake and river ice, snow              or cooling trends can result in signifi-                                                   (isolated)
cover, glaciers, ice caps and sheets, and          cant changes across the landscape as
frozen ground. Together, these fea-                snow and ice masses shrink or grow
tures are sometimes referred to as the             over time.
“cryosphere,” a term for all parts of the
Earth where water exists in solid form.            What is happening?                                   Source: UNEP, 20071


                                                   Some regions that usually receive                    snow and ice influence air tempera-
Snow and ice are an important part
                                                   snow are receiving less snowfall and                 tures, sea level, ocean currents, and
of the global climate system. Because
                                                   do not have as much snow on the                      storm patterns. For example, melting
snow and ice are highly reflective,
                                                   ground. Glaciers in the United States                ice sheets on Greenland and Antarc-
much of the sunlight that hits these
                                                   and around the world have generally                  tica add fresh water to the ocean, in-
surfaces is reflected back into space
                                                   shrunk, and the rate at which they are               creasing sea level and possibly chang-
instead of warming the Earth. The
                                                   melting appears to have accelerated                  ing ocean circulation that is driven by
presence or absence of snow and
                                                   over the last decade. Additionally, the              differences in temperature and salin-
ice affects heating and cooling over
                                                   amount of ice in the Arctic Ocean has                ity. Because of their light color, snow
the Earth’s surface, influencing the
                                                   decreased, and many lakes are freezing               and ice also reflect more sunlight than
planet’s energy balance.
                                                   later in the fall and melting earlier in             open water or bare ground, so a reduc-
Climate change can dramatically alter              the spring.                                          tion in snow cover and ice causes the
the Earth’s snow- and ice-covered                                                                       Earth’s surface to absorb more energy
areas. Unlike other substances found               Why does it matter?                                  from the sun.
on the Earth, snow and ice exist at                Reduced snowfall and less snow cover                 Thawing of frozen ground and reduced
temperatures close to their melting                on the ground could diminish the                     sea ice in the Arctic could affect
point and can thus change between                  beneficial insulating effects of snow for            biodiversity on local and global scales,
solid and liquid states in response to             vegetation and wildlife, while also af-              leading to harmful effects not only
                                                   fecting water supplies, transportation,              on polar bears and seals, but also on
                                                   cultural practices, travel, and recre-               migratory species that breed or feed
 Important Concepts                                ation for millions of people. For com-               in these areas. These changes could
                                                   munities in Arctic regions, reduced
 in This Chapter                                   sea ice could increase coastal erosion
                                                                                                        affect people by compromising their
                                                                                                        livelihoods and traditional means of
 Snowfall refers to the amount of snow             and exposure to storms, threatening                  gathering food, particularly Arctic
 that falls in a particular location.              homes and property, while thawing                    indigenous populations. Conversely,
 Snow cover refers to the area of land that        ground could damage roads and build-                 reduced snow and ice could present
 is covered by snow at any given time.             ings and accelerate erosion.                         commercial opportunities for others,
 Snowpack refers to the thickness of                                                                    including ice-free shipping lanes and
 snow that accumulates on the ground.              Such changing climate conditions can
                                                   have worldwide implications because                  increased access to natural resources.



            For detailed information about data used in these indicators, see the online technical documentation at: www.epa.gov/climatechange/indicators.




              Snowfall                                              Snow Cover                                                Snowpack
                                                                                                                                                                47




                                                                                                                                           P00000069641
                          Arctic Sea Ice
                           This indicator tracks the extent and age of sea ice in the Arctic Ocean.




     Background                                                   Dwindling Arctic Sea Ice
     Sea ice is an integral part of the Arctic
     Ocean. During the dark winter months,                                September 1979
     sea ice essentially covers the entire
     Arctic Ocean. In summer, some of this
     ice melts because of warmer tempera-
     tures and long hours of sunlight. Sea ice
     typically reaches its minimum thickness
     and extent in mid-September, when the
     area covered by ice is roughly half the
     size of the winter maximum. The ice
     then begins expanding again.
     The extent of area covered by Arctic sea
     ice is an important indicator of changes
     in global climate because warmer air and
     water temperatures are reducing the
     amount of sea ice present. Because sea
     ice is more reflective than liquid water, it
     plays a significant role in the Earth’s en-
     ergy balance and keeping polar regions                               September 2012
     cool. (For more information on the ef-
     fects of surface color on reflecting sun-
     light, see the Snow Cover indicator on
     p. 56.) Sea ice also keeps the air cool by
     forming a barrier between the air above
     and the warmer water below. As the
     amount of sea ice decreases, the Arctic
     region’s ability to stabilize the Earth’s
     climate is reduced, potentially leading to
     a “feedback loop” of more absorption
     of solar energy, higher air temperatures,
     and even greater loss of sea ice.
     The age of sea ice is also an important
     indicator of Arctic conditions because
                                                                  Source: NASA, 2012 2
     older ice is generally thicker and stron-
     ger than younger ice. A loss of older
     ice suggests that the Arctic is losing ice
     faster than it is accumulating it.
     Changes in sea ice can directly affect the
     health of Arctic ecosystems. Mammals
     such as polar bears and walruses rely
     on the presence of sea ice to preserve                      Key Points
     their hunting, breeding, and migrating
                                                                 •	 September 2012 had the lowest sea ice extent on record, 49 percent below the 1979–
     habits. These animals face the threat of
     declining birth rates and restricted ac-                       2000 average for that month.
     cess to food sources because of reduced                     •	 The September 2012 record low sea ice extent was 1.3 million square miles (an area five
     sea ice coverage and thickness. Impacts                        times the size of Texas) less than the historical 1979–2000 average (see Figure 1).
     on Arctic wildlife, as well as the loss
     of ice itself, are already restricting the                  •	 Although the annual minimum of sea ice extent typically occurs in September, all months
     traditional subsistence hunting lifestyle                      have shown a decreasing trend in sea ice extent over the past several decades. The larg-
     of indigenous Arctic populations such as                       est decreases have occurred in the summer and fall. 3, 4
     the Yup’ik, Iñupiat, and Inuit.
                                                                 •	 Evidence of the age of Arctic sea ice suggests an overall loss of multi-year ice. The pro-
     While diminished sea ice can have                              portion of sea ice five years or older has declined dramatically over the recorded time
     negative ecological effects, it can also
                                                                    period, from more than 30 percent of September ice in the 1980s to 4 percent in 2012.
     present commercial opportunities. For
                                                                    A growing percentage of Arctic sea ice is only one or two years old. This thinning of
     instance, reduced sea ice opens shipping
     lanes and increases access to natural                          Arctic ice makes it more vulnerable to further melting.
     resources in the Arctic region.
48




                                                                                                                                              P00000069642
                                                                                                                                                                   About the Indicator
                                                                                                                                                                   Figure 1 presents trends in Arctic sea ice
                                                                                                                                                                   extent from 1979, when extensive measure-
                                                                                                                                                                   ments started, to 2012. Sea ice extent is
                                                                                                                                                                   defined as the area of ocean where at least
                                                                                                                                                                   15 percent of the surface is frozen. This
                                                                                                                                                                   threshold was chosen because scientists
Figure 1. September Monthly Average Arctic Sea Ice Extent, 1979–2012                                                                                               have found that it gives the best approxima-
                                                                                                                                                                   tion of the edge of the ice. Data are collect-
This figure shows Arctic sea ice extent from 1979 through 2012 using data from September of                                                                        ed throughout the year, but for comparison,
each year, which is when the minimum extent typically occurs.                                                                                                      this indicator focuses on the average sea
                                                                                                                                                                   ice extent in September of each year. This
                                             3.5                                                                                                                   is because September is typically when the
                                                                                                                                                                   sea ice extent reaches its annual minimum
                                                                                                                                                                   after melting during the spring and summer.
                                             3.0
                                                                                                                                                                   Data for this indicator were gathered by the
     Sea ice extent (million square miles)




                                                                                                                                                                   National Snow and Ice Data Center using
                                             2.5                                                                                                                   satellite imaging technology.
                                                                                                                                                                   Figure 2 examines the age of the ice that
                                             2.0                                                                                                                   is present in the Arctic during the week
                                                                                                                                                                   in September with the smallest extent of
                                                                                                                                                                   ice. By combining daily satellite images,
                                             1.5                                                                                                                   wind measurements, and data from surface
                                                                                                                                                                   buoys that move with the ice, scientists can
                                             1.0                                                                                                                   track specific parcels of ice as they move
                                                                                                                                                                   over time. This tracking enables them to
                                                                                                                                                                   calculate the age of the ice in different
                                             0.5                                                                                                                   parts of the Arctic. Although satellites
                                                                                                                                                                   started collecting data in 1979, Figure 2
                                              0                                                                                                                    only shows trends back to 1983 because it
                                              1975            1980         1985         1990            1995            2000    2005          2010          2015   is not possible to know the full age distri-
                                                                                                                                                                   bution until the ice has been tracked for at
                                                   Data source: NSIDC, 20125
                                                                                                        Year                                                       least five years.


                                                                                                                                                                   Indicator Notes
                                                                                                                                                                   Increasing temperatures associated with
Figure 2. Age of Arctic Sea Ice at Minimum September Week, 1983–2012*                                                                                              climate change are not the only factor
This figure shows the distribution of Arctic sea ice extent by age group during the peak melting                                                                   contributing to reductions in sea ice. Other
week in September of each year.                                                                                                                                    conditions that may be affected by climate
                                                                                                                                                                   change, such as fluctuations in oceanic and
                                         2.5                                                                                                                       atmospheric circulation and typical an-
                                                                                                                                                                   nual and decadal variability, also affect the
                                                                                                                                                                   extent of sea ice. Determining the age of ice
                                         2.0                                                                                                                       is an imperfect science, as there are cases
Sea ice extent (million square miles)




                                                                                                                                                                   where a small amount of older ice might
                                                                                                First-year ice                                                     exist within an area classified as younger, or
                                                                                                                                                                   vice-versa.
                                         1.5


                                                                                               Second-year ice
                                                                                                                                                                   Data Sources
                                         1.0                                                                                                                       The data for this indicator were provided
                                                                                                                                                                   by the National Snow and Ice Data Center.
                                                                                               Third-year ice                                                      Data for Figure 1 are also available online at:
                                                                                                                                                                   http://nsidc.org/data/seaice_index/archives/
                                                                                               Fourth-year ice                                                     index.html, while Figure 2 is based on an
                                         0.5
                                                                                                                                                                   analysis by the University of Colorado and
                                                                                                   5+ year ice                                                     a graph published at: http://nsidc.org/arctic-
                                                                                                                                                                   seaicenews/2012/10/poles-apart-a-record-
                                              0                                                                                                                    breaking-summer-and-winter. The National
                                                       1985              1990               1995                 2000           2005                 2010          Snow and Ice Data Center produces a
                                                                                                     Year                                                          variety of reports and a seasonal newsletter
                                                                                                                                                                   analyzing Arctic sea ice data.
                                                   * The total extent in Figure 2 differs from Figure 1 because Figure 1 shows a monthly average, while
                                                   Figure 2 shows conditions during a single week.

                                                   Data source: NSIDC, 20126
                                                                                                                                                                                                                     49
                                                                                                                                                                                                                     49




                                                                                                                                                                                                  P00000069643
                          Glaciers
                            This indicator examines the balance between snow accumulation and melting in glaciers, and it describes how
                            glaciers around the world have changed over time.



     Background                                                  Photographs of McCall Glacier, Alaska, 1958 and 2003
     A glacier is a large mass of snow and ice
     that has accumulated over many years                                1958
     and is present year-round. In the United
     States, glaciers can be found in the Rocky
     Mountains, the Sierra Nevada, the Cas-
     cades, and throughout Alaska. A glacier
     flows naturally like a river, only much
     more slowly. At higher elevations, gla-
     ciers accumulate snow, which eventually
     becomes compressed into ice. At lower
     elevations, the “river” of ice naturally
     loses mass because of melting and ice
     breaking off and floating away (iceberg
     calving) if the glacier ends in a lake or
     the ocean. When melting and calving are
     exactly balanced by new snow accumula-
     tion, a glacier is in equilibrium and its
     mass will neither increase nor decrease.
     In many areas, glaciers provide communi-
     ties and ecosystems with a reliable source
     of streamflow and drinking water, particu-                          2003
     larly in times of extended drought and late
     in the summer, when seasonal snowpack
     has melted away. Freshwater runoff from
     glaciers also influences ocean ecosystems.
     Glaciers are important as an indicator of
     climate change because physical changes
     in glaciers—whether they are growing or
     shrinking, advancing or receding—provide
     visible evidence of changes in temperature
     and precipitation. If glaciers lose more ice
     than they can accumulate through new
     snowfall, they ultimately add more water
     to the oceans, leading to a rise in sea level
     (see the Sea Level indicator on p. 42). The
     same kinds of changes occur on a much
     larger scale within the giant ice sheets that
     cover Greenland and Antarctica, poten-
     tially leading to even bigger implications for              Sources: Post, 1958;8 Nolan, 20039
     sea level. Small glaciers tend to respond
     more quickly to climate change than the
     giant ice sheets, however, and they have
     added more water to the oceans than the
     ice sheets have in recent decades.7
                                                                Key Points
     About the Indicator                                        •	 On average, glaciers worldwide have been losing mass since at least the 1970s (see
                                                                   Figure 1), which in turn has contributed to observed changes in sea level (see the Sea
     This indicator is based on long-term                          Level indicator on p. 42). Measurements from a smaller number of glaciers suggest that
     monitoring data collected at selected gla-                    they have been shrinking since the 1940s. The rate at which glaciers are losing mass ap-
     ciers around the world. Scientists collect                    pears to have accelerated over roughly the last decade.
     detailed measurements to determine gla-
     cier mass balance, which is the net gain                   •	 All three U.S. benchmark glaciers have shown an overall decline in mass balance since
     or loss of snow and ice over the course                       the 1950s and 1960s and an accelerated rate of decline in recent years (see Figure 2).
     of the year. A negative mass balance indi-                    Year-to-year trends vary, with some glaciers gaining mass in certain years (for example,
     cates that a glacier has lost ice or snow.                    Wolverine Glacier during the 1980s). However, most of the measurements indicate a
     The cumulative mass balance over time                         loss of glacier mass over time.
     reveals long-term trends. For example, if
     cumulative mass balance becomes more                       •	 Trends for the three benchmark glaciers are consistent with the retreat of glaciers
     negative over time, it means glaciers are                     observed throughout the western United States, Alaska, and other parts of the world.10
     losing mass more quickly than they can                        Observations of glaciers losing mass are also consistent with warming trends in U.S. and
     accumulate new snow.                                          global temperatures during this time period (see the U.S. and Global Temperature indica-
50                                                                 tor on p. 24).
                            (Continued on page 51)




                                                                                                                                           P00000069644
                                                                                                                                               Glaciers Shown in Figure 2
                                                                                                                                                     AK
                                                                                                                                                          Gulkana Glacier

                                                                                                                                                     Wolverine Glacier



   Figure 1. Average Cumulative Mass Balance of “Reference” Glaciers
   Worldwide, 1945–2010
   This figure shows the cumulative change in mass balance of a set of “reference” glaciers worldwide
   beginning in 1945. The line on the graph represents the average of all the glaciers that were measured.                                                            South Cascade Glacier
   Negative values in later years indicate a net loss of ice and snow compared with the base year of 1945.                                                            WA
   For consistency, measurements are in meters of water equivalent, which represent changes in the aver-
   age thickness of a glacier. The small chart below shows how many glaciers were measured in each year.
   Some glacier measurements have not yet been finalized for 2010, hence the smaller number of sites.                                          Figure 1 shows trends in mass balance for a
                                                                                                                                               set of 37 reference glaciers around the world
                                   0
                                                                                                                                               that have been measured consistently since
                                                                                                                                               the 1970s, including a few that have been
                                   -5                                                                                                          measured since the 1940s. Data from these
(meters of water equivalent)




                                                                                                                                               reference glaciers have been averaged to-
 Cumulative mass balance




                                                                                                                                               gether to depict changes over time. Figure 2
                               -10
                                                                                                                                               shows trends for three “benchmark” glaciers:
                                                                                                                                               South Cascade Glacier in Washington state,
                               -15                                                                                                             Wolverine Glacier near Alaska’s south-
                                                                                                                                               ern coast, and Gulkana Glacier in Alaska’s
                                                                                                                                               interior. These three glaciers were chosen
                               -20
                                                                                                                                               because they have been studied extensively
                                                                                                                                               by the U.S. Geological Survey for many years
                               -25                                                                                                             and because they are thought to be represen-
                                                                                                                                               tative of other glaciers nearby.
                               -30                                                                                                             This indicator describes the change in
                                 1940              1950            1960      1970            1980           1990        2000           2010    glacier mass balance, which is measured as
                                                                                                                                               the average change in thickness across the
                               40
glaciers measured




                                                                                                                                               surface of a glacier. The change in ice or
                                                                                                                                               snow has been converted to the equivalent
    Number of




                               20                                                                                                              amount of liquid water.

                                   0
                                   1940            1950            1960      1970            1980           1990        2000           2010
                                                                                                                                               Indicator Notes
                                                                                                                                               The relationship between climate change
                                         Data source: WGMS, 2011,11 201212
                                                                                     Year                                                      and glacier mass balance is complex, and the
                                                                                                                                               observed changes at specific reference or
                                                                                                                                               benchmark glaciers might reflect a combina-
      Figure 2. Cumulative Mass Balance of Three U.S. Glaciers, 1958–2010                                                                      tion of global and local climate variations.
                                                                                                                                               Slightly different measurement and analysis
      This figure shows the cumulative mass balance of the three U.S. Geological Survey “benchmark”                                            methods have been used at different glaciers,
      glaciers since measurements began in the 1950s or 1960s. For each glacier, the mass balance                                              but overall trends appear to be similar.
      is set at zero for the base year of 1965. Negative values in later years indicate a net loss of ice
      and snow compared with the base year. For consistency, measurements are in meters of water                                               Long-term measurements are available for
      equivalent, which represent changes in the average thickness of a glacier. The dashed line in the                                        only a relatively small percentage of the
      lower right corner represents a preliminary number for 2010.                                                                             world’s glaciers. This indicator does not
                                                                                                                                               include the Greenland and Antarctic ice
                                    5                                                                                                          sheets, although nearly two decades of satel-
                                                                                                                                               lite data suggest that these ice sheets are also
                                    0                                                                                                          experiencing a net loss of ice.14 Continued
    (meters of water equivalent)




                                                                                                                   Wolverine Glacier
                                                                                                                                               satellite data collection will allow scientists to
     Cumulative mass balance




                                    -5
                                                                                                                                               evaluate long-term trends in the future.
                                   -10

                                   -15
                                                                                    South Cascade Glacier                         Gulkana
                                                                                                                                   Glacier
                                                                                                                                               Data Sources
                                                                                                                                               The World Glacier Monitoring Service
                                   -20                                                                                                         compiled data for Figure 1, based on measure-
                                   -25
                                                                                                                                               ments collected by a variety of organizations
                                                                                                                                               around the world. The U.S. Geological Survey
                                   -30                                                                                                         Benchmark Glacier Program provided the
                                                                                                                                               data for Figure 2. These data, as well as peri-
                                   -35                                                                                                         odic reports and measurements of the bench-
                                                1960               1970         1980                 1990             2000              2010   mark glaciers, are available on the program’s
                                                                                     Year                                                      website at: http://ak.water.usgs.gov/glaciology.
                                         Data source: USGS, 201213
                                                                                                                                                                                                    51




                                                                                                                                                                                 P00000069645
                         Lake Ice
                          This indicator measures the amount of time that ice is present on lakes in the United States.




     Background                                                             Key Points
     The formation of ice cover on lakes in                                 •	 The time that lakes stay frozen has generally decreased since the mid-1800s. For most
     the winter and its disappearance the fol-                                 of the lakes in this indicator, the duration of ice cover has decreased at an average rate
     lowing spring depends on climate factors                                  of one to two days per decade (see Figure 1).
     such as air temperature, cloud cover,
     and wind. Conditions such as heavy rains                               •	 The lakes covered by this indicator are generally freezing later than they did in the past.
     or snowmelt in locations upstream or                                      Freeze dates have grown later at a rate of roughly half a day to one day per decade (see
     elsewhere in the watershed also affect                                    Figure 2).
     lake ice duration. Thus, ice formation                                 •	 Thaw dates for most of these lakes show a general trend toward earlier ice breakup in
     and breakup dates are key indicators of                                   the spring (see Figure 3).
     climate change. If lakes remain frozen
                                                                            •	 The changes in freeze and thaw dates shown here are consistent with other studies. For ex-
     for longer periods, it can signify that the
                                                                               ample, a broad study of lakes and rivers throughout the Northern Hemisphere found that
     climate is cooling. Conversely, shorter
                                                                               since the mid-1800s, freeze dates have occurred later, at an average rate of 5.8 days per 100
     periods of ice cover suggest a warming
                                                                               years, and thaw dates have occurred earlier, at an average rate of 6.5 days per 100 years.15
     climate.
     Changes in ice cover can affect the
     physical, chemical, and biological
     characteristics of a body of water. For
                                                                 Detroit Lake
     example, ice influences heat and mois-                                                                  Shell Lake                                                   Mirror Lake
     ture transfers between a lake and the
                                                                                         MN                                               Grand Traverse Bay               Lake George
     atmosphere. Reduced ice cover leads to
                                                                                                                   WI
     increased evaporation and lower water                                                                                                  MI                                     NY          Otsego Lake
     levels, as well as an increase in water
     temperature and sunlight penetration.                                                      Lake Mendota                   Lake Monona
     These changes, in turn, can affect plant
     and animal life cycles and the availability
     of suitable habitat. Additionally, ice
     cover affects the amount of heat that
     is reflected from the Earth’s surface.
     Exposed water will absorb and retain                                   Figure 1. Duration of Ice Cover for Selected U.S. Lakes, 1850–2010
     heat, whereas an ice- and snow-covered
                                                                            This figure displays the duration (in days) of ice cover for eight U.S. lakes. The data are
     lake will reflect the sun’s energy rather
                                                                            available from approximately 1850 to 2010, depending on the lake, and have been smoothed
     than absorb it. (For more information
                                                                            using a nine-year moving average.
     on ice and snow reflecting sunlight, see
     the Snow Cover indicator on p. 56.)                                                      200

     The timing and duration of ice cover on                                                  175
     lakes and other bodies of water can also
     affect society—particularly shipping and
                                                               Duration of ice cover (days)




                                                                                              150
     transportation, hydroelectric power
     generation, and fishing. The impacts can                                                 125
     be either positive or negative. For ex-
     ample, reduced ice cover on a large lake                                                 100
     could extend the open-water shipping
     season but require vessels to reduce                                                      75
     their cargo capacity, as increased evapo-
     ration leads to lower water levels.                                                       50



     About the Indicator
                                                                                               25

                                                                                                0
     This indicator analyzes the dates at                                                       1840        1860        1880       1900      1920          1940   1960      1980        2000          2020
     which lakes freeze and thaw. Freeze
     dates are when a continuous and im-
                                                                                                                                                    Year
     mobile ice cover forms over a body of                                                                          Detroit Lake          Lake Mendota            Lake Monona           Otsego Lake
     water. Thaw dates are when the ice                                                                             Lake George           Lake Michigan           Mirror Lake           Shell Lake
                                                                                                                                          (Grand Traverse Bay)
                          (Continued on page 53)
52                                                                                                  Data source: NSIDC, 201116




                                                                                                                                                                                    P00000069646
                                                                                                                                     cover breaks up and open water becomes
                                                                                                                                     extensive.
                                                                                                                                     Freeze and thaw dates have been recorded
                                                                                                                                     through human visual observations for more
                                                                                                                                     than 150 years. The National Snow and
                                                                                                                                     Ice Data Center maintains a database with
                                                                                                                                     freeze and thaw observations from more
                                                                                                                                     than 700 lakes and rivers throughout the
                                                                                                                                     Northern Hemisphere. This indicator fo-
Figure 2. Date of First Freeze for Selected U.S. Lakes, 1850–2010                                                                    cuses on eight lakes within the United States
                                                                                                                                     that have the longest and most complete
This figure shows the “ice-on” date, or date of first freeze, for eight U.S. lakes. The data
                                                                                                                                     historical records. The lakes of interest are
are available from approximately 1850 to 2010, depending on the lake, and have been
                                                                                                                                     located in Minnesota, Wisconsin, Michigan,
smoothed using a nine-year moving average.
                                                                                                                                     and New York.
              November 1

                                                                                                                                     Indicator Notes
                                                                                                                                     Although there is a lengthy historical record
              December 1
                                                                                                                                     of freeze and thaw dates for a much larger
                                                                                                                                     set of lakes and rivers, some records are
Freeze date




                                                                                                                                     incomplete, with breaks ranging from brief
               January 1                                                                                                             lapses to large gaps in data. This indicator
                                                                                                                                     is limited to eight lakes with fairly complete
                                                                                                                                     historical records.
                                                                                                                                     Data used in this indicator are all based on
               February 1
                                                                                                                                     visual observations. Records based on visual
                                                                                                                                     observations by individuals are open to
                                                                                                                                     some interpretation and can differ from one
                 March 1                                                                                                             individual to the next. In addition, historical
                       1840         1860         1880     1900        1920          1940    1960         1980    2000         2020   observations for lakes have typically been
                                                                             Year                                                    made from the shore, which might not
                                                                                                                                     be representative of lakes as a whole or
                                        Detroit Lake           Lake Mendota                Lake Monona          Otsego Lake          comparable to more recent satellite-based
                                        Lake George            Lake Michigan               Mirror Lake          Shell Lake           observations.
                                                               (Grand Traverse Bay)

                            Data source: NSIDC, 201117                                                                               Data Sources
                                                                                                                                     Data were obtained from the Global Lake
Figure 3. Date of Ice Thaw for Selected U.S. Lakes, 1850–2010                                                                        and River Ice Phenology Database, which
This figure shows the “ice-off” date, or date of ice thawing and breakup, for eight U.S.                                             is maintained by the National Snow and Ice
lakes. The data are available from approximately 1850 to 2010, depending on the lake,                                                Data Center. These data are available at:
and have been smoothed using a nine-year moving average.                                                                             http://nsidc.org/data/lake_river_ice.
              March 1
Thaw date




               April 1




               May 1
                   1840          1860         1880      1900        1920          1940     1960          1980    2000         2020
                                                                           Year
                                        Detroit Lake           Lake Mendota                Lake Monona          Otsego Lake
                                        Lake George            Lake Michigan               Mirror Lake          Shell Lake
                                                               (Grand Traverse Bay)

                     Data source: NSIDC, 201118                                                                                                                                        53
                                                                                                                                                                                       53




                                                                                                                                                                     P00000069647
                        Snowfall
                          This indicator uses two different measures to show how snowfall has changed in the contiguous 48 states.




     Background                                                Figure 1. Change in Total Snowfall in the Contiguous 48 States,
     Snowfall is an important aspect of win-                   1930–2007
     ter in many parts of the United States.                   This figure shows the average rate of change in total snowfall from 1930 to 2007 at 419
     People depend on snow to provide                          weather stations in the contiguous 48 states. Blue circles represent increased snowfall; red
     water when it melts in the spring, and                    circles represent a decrease.
     many communities rely on snow for win-
     ter recreation. Some plants and animals
     also depend on snow and snowmelt for
     survival. The amount of snow that falls in
     a particular area directly influences both
     snow cover and snowpack, which refer
     to snow that accumulates on the ground
     (see the Snow Cover indicator on p. 56
     and the Snowpack indicator on p. 58).
     Warmer temperatures cause more
     water to evaporate from the land and
     oceans, which leads to larger storms
     and more precipitation. In general, a
     warmer climate will cause more of this
     precipitation to fall in the form of rain
     instead of snow. However, some places
     could see more snowfall if temperatures
     rise but still remain below the freezing
     point, or if storm tracks change. Areas
     near large lakes might also experience
     more snowfall as lakes remain unfrozen
     for longer periods, allowing more water                                                           Rate of change (percent per year):
     to evaporate. In contrast, other areas
     might experience less snowfall as a                       < -1.2        -0.9        -0.6          -0.3      -0.1     -0.1      0.1      0.3      0.6         0.9   > 1.2
     result of wintertime droughts.                                       to -1.2     to -0.9       to -0.6   to -0.3   to 0.1   to 0.3   to 0.6   to 0.9      to 1.2

     Changes in the amount and timing of                                        Less snowfall                                                      More snowfall
     snowfall could affect the spawning of fish
     in the spring and the amount of water                     Data source: Kunkel et al., 200919
     available for people to use in the spring
     and summer. Changes in snowfall could
     also affect winter recreation activities,
     like skiing, and the people who depend
     on these activities to make a living.


     About the Indicator                                            Key Points
                                                                    •	 Total snowfall has decreased in most parts of the country since widespread
     This indicator tracks total snowfall as                           observations became available in 1930, with 57 percent of stations showing a
     well as the percentage of precipitation                           decline (see Figure 1).
     that falls in the form of snow versus
     rain. These data were collected from                           •	 In addition to changing the overall rate of precipitation, climate change can also
     hundreds of weather stations across the                           lead to changes in the type of precipitation. One reason for the decline in total
     contiguous 48 states.                                             snowfall is because more winter precipitation is falling in the form of rain instead
                                                                       of snow. More than three-fourths of the stations across the contiguous 48
     Total snowfall is determined by the                               states have experienced a decrease in the proportion of precipitation falling as
     height of snow that accumulates each                              snow (see Figure 2).
     day. These measured values commonly
     appear in weather reports (for ex-                             •	 Snowfall trends vary by region. The Pacific Northwest has seen a decline in both
     ample, a storm that deposits 10 inches                            total snowfall and the proportion of precipitation falling as snow. Parts of the
     of snow). Figure 1 shows how snowfall                             Midwest have also experienced a decrease, particularly in terms of the snow-to-
     accumulation totals changed between                               precipitation ratio. A few regions have seen modest increases, including some
                                                                       areas near the Great Lakes that now receive more snow than they used to (see
                         (Continued on page 55)                        Figures 1 and 2).
54




                                                                                                                                                             P00000069648
                                                                                                                      1930 and 2007 at more than 400 weather
                                                                                                                      stations. These stations were selected be-
                                                                                                                      cause they had high-quality data for the full
                                                                                                                      timespan of this indicator.
                                                                                                                      Figure 2 of this indicator shows trends
                                                                                                                      in the proportion of total precipitation
                                                                                                                      that falls in the form of snow during each
                                                                                                                      winter season. This is called the “snow-
                                                                                                                      to-precipitation” ratio, and it is based on
Figure 2. Change in Snow-to-Precipitation Ratio in the Contiguous                                                     comparing the amount of snowfall with the
48 States, 1949–2011                                                                                                  total amount of precipitation (snow plus
                                                                                                                      rain). For this comparison, snow has been
This figure shows the percentage change in winter snow-to-precipitation ratio from 1949 to                            converted to the equivalent amount of
2011 at 289 weather stations in the contiguous 48 states. This ratio measures what percent-                           liquid water. These data are available from
age of total winter precipitation falls in the form of snow. A decrease (red circle) indicates                        1949 to 2011.
that more precipitation is falling in the form of rain instead of snow. Filled circles represent
stations where the trend was statistically significant.
                                                                                                                      Indicator Notes
                                                                                                                      Several factors make it difficult to measure
                                                                                                                      snowfall precisely. The snow accumulations
                                                                                                                      shown in Figure 1 are based on the use of
                                                                                                                      measuring rods. This measurement method
                                                                                                                      is subject to human error, as well as the
                                                                                                                      effects of wind (drifting snow) and the sur-
                                                                                                                      rounding environment (such as tall trees).
                                                                                                                      Similarly, snow gauges for Figure 2 may
                                                                                                                      catch slightly less snow than rain because
                                                                                                                      of the effects of wind. However, steps have
                                                                                                                      been taken to limit this indicator to weather
                                                                                                                      stations with the most consistent methods
                                                                                                                      and the highest-quality data.21 As a result,
                                                                                                                      some parts of the country have a higher sta-
                                                                                                                      tion density than others.
                                                                                                                      Both figures are limited to the winter
                                                                                                                      season. Figure 1 comes from an analysis of
                                                                                                                      October-to-May snowfall, while Figure 2
                                                                                                                      covers November through March. Although
                                                  Percent change:                                                     these months account for the vast majority
                                                                                                                      of snowfall in most locations, this indicator
 < -40       -30         -20         -10         -2        -2         2         10         20           30     > 40   might not represent the entire snow season
            to -40      to -30      to -20     to -10     to 2      to 10      to 20      to 30        to 40          in some areas.
           Lower percentage of snow                                               Higher percentage of snow
                                Filled circles represent statistically significant trends.
                         Open circles represent trends that are not statistically significant.                        Data Sources
  Data source: Feng, 2012 20                                                                                          This indicator shows trends based on two
                                                                                                                      sets of weather records collected and
                                                                                                                      maintained by the National Oceanic and
                                                                                                                      Atmospheric Administration. Figure 1 was
                                                                                                                      adapted from an analysis by Kunkel et al.
                                                                                                                      (2009)22 based on records from Coopera-
                                                                                                                      tive Observer Program weather stations.
                                                                                                                      Figure 2 is an updated version of an analysis
                                                                                                                      by Feng and Hu (2007)23 using data from the
                                                                                                                      U.S. Historical Climatology Network. Ad-
                                                                                                                      ditional information about the Cooperative
                                                                                                                      Observer Program is available online at:
                                                                                                                      www.nws.noaa.gov/om/coop. Information
                                                                                                                      about the U.S. Historical Climatology Net-
                                                                                                                      work can be found at: www.ncdc.noaa.gov/
                                                                                                                      oa/climate/research/ushcn.




                                                                                                                                                                      55




                                                                                                                                                      P00000069649
                         Snow Cover
                          This indicator measures the amount of land in North America that is covered by snow.




     Background                                                      Figure 1. Snow-Covered Area in North America, 1972–2011
                                                                     This graph shows the average area covered by snow in a given calendar year, based on an analysis of
     Snow cover refers to the amount of                              weekly maps. The area is measured in square miles. These data cover all of North America (not includ-
     land covered by snow at any given time.                         ing Greenland).
     Naturally, it is influenced by the amount
                                                                                                       4.0
     of precipitation that falls as snow. Air
     temperature also plays a role because it
     determines whether precipitation falls
     as snow or rain, and it affects the rate at
     which snow on the ground will melt. As
                                                            Snow-covered area (million square miles)
     temperature and precipitation patterns                                                            3.5
     change, so can the overall area covered
     by snow.
     Snow cover is not just something that is
     affected by climate change; it also exerts
                                                                                                       3.0
     an influence on climate. Because snow
     is white, it reflects much of the sunlight
     that hits it. In contrast, darker surfaces
     such as open water absorb more light
     and heat up more quickly. In this way,
     the overall amount of snow cover affects                                                          2.5
     patterns of heating and cooling over the
     Earth’s surface. More snow means more
     energy reflects back to space, while less
     snow cover means the Earth will absorb
     more heat and become warmer.
     On a more local scale, snow cover is
     important for many plants and animals.                                                             0
     For example, some plants rely on a                                                                 1970          1975       1980       1985       1990          1995   2000   2005   2010   2015
     protective blanket of snow to insulate
                                                                                                                                                              Year
     them from sub-freezing winter tempera-
                                                                                                             Data source: Rutgers University Global Snow Lab, 2012 24
     tures. Humans and ecosystems also rely
     on snowmelt to replenish streams and
     ground water.


     About the Indicator
     This indicator tracks the total area
     covered by snow across all of North
     America (not including Greenland) since
     1972. It is based on maps generated by
     analyzing satellite images collected by
     the National Oceanic and Atmospheric
     Administration. The indicator was cre-
     ated by analyzing each weekly map to
     determine the extent of snow cover,
     then averaging the weekly observations
     together to get a value for each year.
     Average snow cover was also calcu-
     lated for each season: spring (defined as
     March–May), summer (June–August),
     fall (September–November), and winter
     (December–February). All maps were
     recently reanalyzed using the most pre-
     cise methods available, making this the
     best available data set for assessing snow
     cover on a continental scale.
56
56




                                                                                                                                                                                          P00000069650
  Figure 2. Snow-Covered Area in North America by Season, 1972–2011
  This graph shows the average area covered by snow during spring (March–May), summer (June–August),                                           Key Points
  fall (September–November), and winter (December–February), based on an analysis of weekly maps.                                              •	 Overall, during the period from 1972 to
  The area is measured in square miles. These data cover all of North America (not including Greenland).                                          2011, snow covered an average of
                                           7                                                                                                      3.23 million square miles of North America
                                                                                              Winter                                              (see Figure 1).
                                                                                        (December – February)
                                                                                                                                               •	 The extent of snow cover has varied from
                                           6                                                                                                      year to year. The average area covered by
                                                                                                                                                  snow has ranged from 3.0 million to 3.6 mil-
Snow-covered area (million square miles)




                                                                                                                                                  lion square miles, with the minimum value
                                           5                                                                                                      occurring in 1998 and the maximum in 1978
                                                                                              Spring
                                                                                                                                                  (see Figure 1).
                                                                                           (March – May)                                       •	 Looking at averages by decade suggests that
                                           4                                                                                                      the extent of North America covered by
                                                                                                                                                  snow has decreased somewhat over time.
                                                                                              Fall
                                                                                                                                                  The average extent for the most recent
                                           3                                         (September – November)                                       decade (2002–2011) was 3.21 million square
                                                                                                                                                  miles, which is 3 percent (100,000 square
                                                                                                                                                  miles) smaller than the average extent
                                           2                                                                                                      during the first 10 years of measurement
                                                                                                                                                  (1972–1981) (see Figure 1).
                                                                                                          Summer
                                                                                                       (June – August)                         •	 The largest decreases in snow cover have
                                           1                                                                                                      occurred in spring and summer, whereas
                                                                                                                                                  fall snow cover has remained fairly steady
                                                                                                                                                  and winter cover appears to have increased
                                           0                                                                                                      slightly in recent years (see Figure 2). Spring
                                           1970        1975        1980       1985       1990          1995        2000   2005   2010   2015      and summer snow cover can have a particu-
                                                                                                                                                  larly important influence on water supplies.
                                                                                                Year

                                               Data source: Rutgers University Global Snow Lab, 2012 25



                                                                                                                                               Indicator Notes
                                                                                                                                               Although satellite-based snow cover maps
                                                                                                                                               are available starting in the mid-1960s, some
                                                                                                                                               of the early years are missing data from sev-
                                                                                                                                               eral weeks during the summer, which would
                                                                                                                                               lead to an inaccurate annual average. Thus,
                                                                                                                                               the indicator is restricted to 1972 and later,
                                                                                                                                               with all years having a full set of data.


                                                                                                                                               Data Sources
                                                                                                                                               The data for this indicator were pro-
                                                                                                                                               vided by the Rutgers University Global
                                                                                                                                               Snow Lab, which posts data online at:
                                                                                                                                               http://climate.rutgers.edu/snowcover. The
                                                                                                                                               data are based on measurements collected
                                                                                                                                               by the National Oceanic and Atmospheric
                                                                                                                                               Administration’s National Environmental
                                                                                                                                               Satellite, Data, and Information Service at:
                                                                                                                                               www.nesdis.noaa.gov.




                                                                                                                                                                                                57




                                                                                                                                                                               P00000069651
                         Snowpack
                          This indicator measures trends in mountain snowpack in western North America.




     Background                                             Figure 1. Trends in April Snowpack in the Western United States and
                                                            Canada, 1950–2000
     Temperature and precipitation are key
     factors affecting snowpack, which is                   This map shows trends in April snowpack in the western United States and part of Canada,
     the amount or thickness of snow that                   measured in terms of snow water equivalent. Blue circles represent increased snowpack; red
     accumulates on the ground. In a warm-                  circles represent a decrease.
     ing climate, more precipitation will be
     expected to fall as rain rather than snow
     in most areas—reducing the extent and
     depth of snowpack. Higher tempera-
     tures in the spring can cause snow to
     melt earlier.
     Mountain snowpack plays a key role
     in the water cycle in western North
     America, storing water in the winter
     when the snow falls and releasing it as
     runoff in spring and summer when the
     snow melts. Millions of people in the
     West depend on the melting of moun-
     tain snowpack for power, irrigation, and
     drinking water. In most western river
     basins, snowpack is a larger component
     of water storage than human-construct-
     ed reservoirs.26
     Changes in mountain snowpack can af-
     fect agriculture, winter recreation, and
     tourism in some areas, as well as plants
     and wildlife. For example, certain types
     of trees rely on snow for insulation
     from freezing temperatures, as do some
     animal species. In addition, fish spawning
     could be disrupted if changes in snow-
     pack or snowmelt alter the timing and
     abundance of streamflows.


     About the Indicator
     This indicator uses a measurement
     called snow water equivalent to
     determine trends in snowpack. Snow
     water equivalent is the amount of water
     contained within the snowpack at a
     particular location. It can be thought of
     as the depth of water that would result
     if the entire snowpack were to melt.
     The U.S. Department of Agriculture and
     other collaborators have measured snow-
     pack since the 1930s. In the early years
     of data collection, researchers measured                                                             Percent change:
     snow water equivalent manually, but since
     1980, measurements at some locations
     have been collected with automated in-                   < -80        -60           -40      -20        0        0      20      40      60          > 80
     struments. This indicator is based on data                           to -80        to -60   to -40    to -20   to 20   to 40   to 60   to 80
     from approximately 800 permanent re-                   Data source: Mote, 200927
     search sites in the western United States

                         (Continued on page 59)
58




                                                                                                                                               P00000069652
                                                                                   and Canada. The indicator shows long-term
Key Points                                                                         rates of change for the month of April, which
                                                                                   could reflect changes in winter snowfall as
•	 From 1950 to 2000, April snowpack declined at most of the measurement sites     well as the timing of spring snowmelt.
   (see Figure 1), with some relative losses exceeding 75 percent.
•	 In general, the largest decreases were observed in western Washington, west-
   ern Oregon, and northern California. April snowpack decreased to a lesser
                                                                                   Indicator Notes
   extent in the northern Rockies.                                                 Natural changes in the Earth’s climate could
                                                                                   affect snowpack in such a way that trends
•	 A few areas have seen increases in snowpack, primarily in the southern Sierra   might slightly differ if measured over a dif-
   Nevada of California and in the Southwest.                                      ferent time period. The 1950s registered
                                                                                   some of the highest snowpack measure-
                                                                                   ments of the 20 th century in the Northwest.
                                                                                   While these values could be magnifying the
                                                                                   extent of the snowpack decline depicted in
                                                                                   Figure 1, the general direction of the trend
                                                                                   is the same regardless of the start date.
                                                                                   Although most parts of the West have seen
                                                                                   reductions in snowpack consistent with
                                                                                   overall warming trends shown in the U.S.
                                                                                   and Global Temperature indicator (p. 24)
                                                                                   snowfall trends may be partially influenced
                                                                                   by nonclimatic factors such as observa-
                                                                                   tion methods, land-use changes, and forest
                                                                                   canopy changes.


                                                                                   Data Sources
                                                                                   Data for this indicator came from the U.S.
                                                                                   Department of Agriculture’s Natural Re-
                                                                                   sources Conservation Service Water and Cli-
                                                                                   mate Center. The map was constructed using
                                                                                   methods described in Mote et al. (2005).28
                                                                                   The U.S. Department of Agriculture data are
                                                                                   available at: www.wcc.nrcs.usda.gov.




                                                                                                                                   59
                                                                                                                                   59




                                                                                                                  P00000069653
     Society and



     INDICATORS IN THIS CHAPTER

                                  Ragweed   Length of
               Streamflow         Pollen    Growing
60                                Season    Season




                                              P00000069654
Ecosystems
          T
              he indicators in this re-
              port show that changes are               While species have adapted to environmental
              occurring throughout the                 change for millions of years, climate change
          Earth’s climate system, includ-
                                                       could require adaptation on larger and faster
          ing increases in air and ocean
          temperatures, more extreme                   scales than current species have successfully
          weather events, a rise in sea                achieved in the past.
          level, widespread melting of gla-
          ciers, and longer ice-free periods            Changes in climate can af-                   to environmental change for
          on lakes and rivers. Changes                  fect ecosystems by influencing               millions of years, the climate
          such as these can present a wide              animal behavior, such as nest-               changes being experienced
          range of challenges to human                  ing and migration patterns, as               now could require adaptation
          well-being, the economy, and                  well as the timing and extent of             on larger and faster scales than
          natural ecosystems.                           natural processes such as flower             current species have success-
                                                        blooms and the length of pollen              fully achieved in the past, thus
          What is happening?                            seasons in many areas.                       increasing the risk of extinction
          For society, human health                                                                      for some species.
          effects from increases in                                                                      The more the climate
          temperature are likely to                                                                      changes, the greater the
          include increases in heat-                                                                     potential effects on so-
          related illnesses and deaths,                                                                  ciety and ecosystems.
          especially in urban areas.                                                                     The nature and extent of
          Changes in precipitation                                                                       climate change effects, and
          patterns and timing affect                                                                     whether these effects will
          streamflow and water avail-                                                                    be harmful or beneficial,
          ability, while more severe                                                                     will vary regionally and
          storms and floods damage                                                                       over time. The extent to
          property and infrastructure                                                                    which climate change will
          (such as roads, bridges, and                                                                   affect different ecosystems,
          utilities) and cause loss of                                                               regions, and sectors of society
          life. Warming temperatures are                                                             will depend not only on the
          also affecting the length of the
                                                        Why does it matter?
                                                                                                     sensitivity of those systems to
          growing season in the United                  Ecosystems provide humans
                                                                                                     climate change, but also on
          States as the timing between                  with food, clean water, and a
                                                                                                     their ability to adapt to or cope
          the last (spring) and first (fall)            variety of other services that can
                                                                                                     with climate change.
          frost has expanded by nearly two              be affected by climate change.
          weeks over the last 100 years.                While species have adapted


 For detailed information about data used in these indicators, see the online technical documentation at: www.epa.gov/climatechange/indicators.



   Leaf and                                               Bird                                                 Heat-
   Bloom                                                  Wintering                                            Related
   Dates                                                  Ranges                                               Deaths                             61




                                                                                                                                P00000069655
                         Streamflow
                          This indicator describes trends in the volume of water carried by streams across the United States, as well as the timing of peak flow.


                                                             Figure 1. Volume of Seven-Day Low Streamflows in the United States, 1940–2009
     Background                                              This map shows percentage changes in the minimum amount of water carried by rivers and streams
     Streamflow is a measure of the amount                   across the country, based on the long-term rate of change from 1940 to 2009. Minimum streamflow is
     of water carried by rivers and streams,                 based on the seven-day period with the lowest average flow during a given year.
     and it represents a critical resource for
     people and the environment. Changes
     in streamflow can directly influence the
     supply of drinking water and the amount
     of water available for irrigating crops,
     generating electricity, and other needs.
     In addition, many plants and animals
     depend on streamflow for habitat and
     survival.
     Streamflow naturally varies over the
     course of a year. For example, rivers and
     streams in many parts of the country
     have their highest sustained flow when
     snow melts in the spring. The amount of
     streamflow is important because very
     high flows can cause erosion and damag-
     ing floods, while very low flows can
     diminish water quality, harm fish, and
     reduce the amount of water available for
     people to use. The timing of peak flow
     is important because it affects the ability
     of reservoir managers to store water
     to meet people’s needs later in the year.
                                                                    Data source:
     In addition, some plants and animals                                           More than     20% to 50%   20% decrease to   20% to 50%    More than
                                                                    USGS, 20121
     (such as fish that migrate) depend on a                                       50% decrease    decrease     20% increase      increase    50% increase
     particular pattern of streamflow as part
     of their life cycles.                                    Figure 2. Volume of Three-Day High Streamflows in the United States, 1940–2009
     Climate change can affect streamflow in                  This map shows percentage changes in the maximum amount of water carried by rivers and streams
     several ways. Changes in the amount of                   across the country, based on the long-term rate of change from 1940 to 2009. Maximum streamflow is
     snowpack and earlier spring melting (see                 based on the three-day period with the highest average flow during a given year.
     the Snowpack indicator on p. 58) can
     alter the size and timing of peak stream-
     flows. More precipitation is expected to
     cause higher average streamflow in some
     places, while heavier storms (see the
     Heavy Precipitation indicator on p. 30)
     could lead to larger peak flows. More
     frequent or severe droughts will reduce
     streamflow in certain areas.


     About the Indicator
     The U.S. Geological Survey measures
     streamflow in rivers and streams across
     the United States using continuous mon-
     itoring devices called stream gauges. This
     indicator is based on 211 stream gauges
     located in areas where trends will not be
     artificially influenced by dams, reservoir
     management, wastewater treatment
     facilities, or other activities.
                          (Continued on page 63)
                                                                    Data source:
62                                                                  USGS, 2012 2    More than
                                                                                   50% decrease
                                                                                                  20% to 50%
                                                                                                   decrease
                                                                                                               20% decrease to
                                                                                                                20% increase
                                                                                                                                 20% to 50%
                                                                                                                                  increase
                                                                                                                                               More than
                                                                                                                                              50% increase




                                                                                                                                                             P00000069656
                                                                                                                    This indicator examines three important
                                                                                                                    measures of streamflow conditions that
                                                                                                                    occur over the course of a year. Figure 1
                                                                                                                    looks at the driest conditions each year,
                                                                                                                    which are commonly calculated by averag-
                                                                                                                    ing the lowest seven consecutive days of
                                                                                                                    streamflow over the year. This method
                                                                                                                    captures the year’s most severe, sustained
                                                                                                                    dry spell. Figure 2 examines high flow condi-

     Key Points
                                                                                                                    tions, which are commonly calculated as the
                                                                                                                    highest average flow over three consecutive
                                                                                                                    days. Based on typical weather patterns,
     •	 Over the past 70 years, seven-day low flows have generally increased in the
                                                                                                                    three days is an optimal length of time to
        Northeast and Midwest (in other words, on the driest days, streams are carrying
                                                                                                                    capture runoff associated with large storms
        more water than before). Low flows have generally decreased (that is, streams
                                                                                                                    and peak snowmelt.
        are carrying less water than before) in parts of the Southeast and the Pacific
        Northwest. Overall, more sites have seen increases than decreases (see Figure 1).                           Figure 3 shows changes in the timing of
     •	 Three-day high-flow trends vary from region to region across the country. For                               spring runoff over time. This measure is lim-
        example, streams in the Northeast have generally seen an increase or little                                 ited to 55 stream gauges in areas where at
        change in high flows since 1940, while some West Coast streams have seen a                                  least 30 percent of annual precipitation falls
        decrease and others have seen an increase (see Figure 2). Overall, more sites                               as snow. Scientists look at the total volume
        have seen increases than decreases.                                                                         of water that passes by a gauge between
                                                                                                                    January 1 and May 31 and then determine
     •	 Sixty percent of the streams measured show winter-spring runoff happening                                   the date when exactly half of the water has
        more than five days earlier than it did in the past. The most dramatic change has                           gone by. This date is called the winter-spring
        occurred in the Northeast (see Figure 3).                                                                   center of volume. A long-term trend toward
                                                                                                                    an earlier date suggests that spring snow-
                                                                                                                    melt is happening earlier.



Figure 3. Timing of Winter-Spring Runoff in the United States, 1940–2009
                                                                                                                    Indicator Notes
                                                                                                                    Measurements were taken in areas where
This map shows changes in the timing of peak spring flow carried by rivers and streams, based on
                                                                                                                    streamflow is not highly affected by human
the long-term rate of change from 1940 to 2009. This analysis focuses on parts of the country where
                                                                                                                    influences, including changes in land cover.
streamflow is strongly influenced by snowmelt. It is based on the winter-spring center of volume, which
                                                                                                                    However, changes in land cover and land use
is the date when half of the streamflow between January 1 and May 31 of each year has passed.
                                                                                                                    over time could still influence streamflow
                                                                                                                    trends at some streams. The gauges used
                                                                                                                    for this indicator are not evenly distributed
                                                                                                                    across the country.


                                                                                                                    Data Sources
                                                                                                                    Streamflow data were collected by the U.S.
                                                                                                                    Geological Survey. These data came from
                                                                                                                    a set of watersheds with minimal human
                                                                                                                    impacts, which have been classified as refer-
                                                                                                                    ence gauges.4 Daily average streamflow data
                                                                                                                    are stored in the National Water Informa-
                                                                                                                    tion System and are publicly available at:
                                                                                                                    http://waterdata.usgs.gov/nwis.




          More than         5 to 10         2 to 5      2 days earlier      2 to 5      5 to 10      More than
        10 days earlier   days earlier   days earlier   to 2 days later   days later   days later   10 days later


        Data source: USGS, 20123




                                                                                                                                                                     6363




                                                                                                                                                   P00000069657
                         Ragweed Pollen Season
                          This indicator depicts changes in the length of ragweed pollen season in the United States and Canada.




     Background                                                 Figure 1. Change in Ragweed Pollen Season, 1995–2011
     More than half of Americans have at                        This figure shows how the length of ragweed pollen season changed at 10 locations in the central
     least one allergy. 5 Allergies are a major                 United States and Canada between 1995 and 2011. Red circles represent a longer pollen season;
                                                                blue circles represent a shorter season. Larger circles indicate larger changes.
     public health concern, with hay fever
     (congestion, runny nose, itchy eyes)
     accounting for more than 13 million
     visits to physicians’ offices and other
     medical facilities every year.6 One of the
                                                                                                    +26 days
     most common environmental allergens
     is ragweed, which can cause hay fever
     and trigger asthma attacks, especially in
     children and the elderly. An estimated                                                                          +18 days
     26 percent of all Americans are sensitive
     to ragweed.7
     Ragweed plants mature in mid-summer                                                                                  +24 days
     and produce small flowers that generate
     pollen. Ragweed pollen season usually
                                                                                                                                      +21 days
     peaks in late summer and early fall, but
     these plants often continue to produce                                                                                              +14 days
     pollen until the first frost. A single rag-                                                                                               +13 days
     weed plant can produce up to a billion
     pollen grains in one season, and these
     grains can be carried long distances by                                                                               +12 days
     the wind.8
     Climate change can affect pollen aller-
     gies in several ways. Warmer spring
     temperatures cause some plants to start
     producing pollen earlier (see the Leaf                                                                                      +12 days
     and Bloom Dates indicator on p. 68),                                                                         -1 day
     while warmer fall temperatures extend
     the growing season for other plants such
     as ragweed (see the Length of Grow-
     ing Season indicator on p. 66). Warmer
     temperatures and increased carbon
     dioxide concentrations also enable rag-                                                                     -1 day
     weed and other plants to produce more
     pollen.9 This means that many locations
     could experience longer allergy seasons
     and higher pollen counts as a result of                           Change in length of pollen season:
     climate change.
                                                                                Decrease        Increase


     About the Indicator                                        Data source: Ziska et al., 201210
     This indicator shows changes in the
     length of the ragweed pollen season in
     10 cities in the central United States and
     Canada. These locations were selected
     as part of a study that looked at trends
     in pollen season at sites similar in eleva-
     tion but across a range of latitudes from
     south to north. At each location, air

                          (Continued on page 65)

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                                                                                                                                                    P00000069658
                                                                                          samples have been collected and examined
Key Points                                                                                for at least 16 years as part of a national
                                                                                          allergy monitoring network. Pollen spores
•	 Since 1995, ragweed pollen season has grown longer at eight of the 10 locations        are counted and identified using micro-
   studied (see Figure 1).                                                                scopes.
•	 The increase in ragweed season length becomes more pronounced from south               Pollen counts from each station have been
   to north. Ragweed season increased by 24 days in Fargo, North Dakota, and              analyzed to determine the start and end
   26 days in Saskatoon, Saskatchewan (see Figure 1). This trend is consistent with       dates of each year’s ragweed pollen season.
   many other observations showing that climate is changing more rapidly at higher        Because the length of ragweed season
   latitudes.11                                                                           naturally varies from year to year, statistical
•	 The trends in Figure 1 are strongly related to changes in the length of the            techniques have been used to determine
   frost-free season and the timing of the first fall frost. Northern areas have seen     the average rate of change over time. This
   fall frosts happening later than they used to, with the delay in first frost closely   indicator shows the total change in season
   matching the increase in pollen season. Meanwhile, some southern stations have         length from 1995 to 2011, which was de-
   experienced only a modest change in frost-free season length since 1995.12             termined by multiplying the average annual
                                                                                          rate of change by the number of years in
                                                                                          the period.


                                                                                          Indicator Notes
                                                                                          This indicator is based on data from a lim-
                                                                                          ited number of cities in the central states
                                                                                          and provinces. These cities cover a broad
                                                                                          range from north to south, however, which
                                                                                          allows researchers to establish a clear
                                                                                          connection between pollen season changes
                                                                                          and latitude.
                                                                                          Many factors can influence year-to-year
                                                                                          changes in pollen season, including typical
                                                                                          variations in temperature and precipita-
                                                                                          tion, extreme events such as floods and
                                                                                          droughts, and changes in plant diversity.
                                                                                          Adding more years of data would provide
                                                                                          a better picture of long-term trends, but
                                                                                          widespread data were not available prior
                                                                                          to 1995.
                                                                                          This indicator does not show how the
                                                                                          intensity of ragweed pollen season (pollen
                                                                                          counts) might also be changing.


                                                                                          Data Sources
                                                                                          Data for this indicator come from the Na-
                                                                                          tional Allergy Bureau, which is part of the
                                                                                          American Academy of Allergy, Asthma, and
                                                                                          Immunology’s Aeroallergen Network. Data
                                                                                          were compiled and analyzed by a team of
                                                                                          researchers who published a more detailed
                                                                                          version of this analysis in a scientific journal
                                                                                          with data through 2009.13




                                                                                                                                             65




                                                                                                                            P00000069659
                          Length of Growing Season
                           This indicator measures the length of the growing season in the contiguous 48 states.




     Background                                               Figure 1. Length of Growing Season in the Contiguous 48 States, 1895–2011
                                                              This figure shows the length of the growing season in the contiguous 48 states compared with a long-
     The length of the growing season in any                  term average. For each year, the line represents the number of days shorter or longer than average.
     given region refers to the number of                     The line was smoothed using an 11-year moving average. Choosing a different long-term average for
     days when plant growth takes place. The                  comparison would not change the shape of the data over time.
     growing season often determines which
     crops can be grown in an area, as some                                                   15
     crops require long growing seasons,
     while others mature rapidly. Growing                                                     10
     season length is limited by many differ-
     ent factors. Depending on the region                     Deviation from average (days)
     and the climate, the growing season is                                                    5
     influenced by air temperatures, frost
     days, rainfall, or daylight hours.                                                                   Long-term average
                                                                                               0
     Changes in the length of the grow-
     ing season can have both positive and
                                                                                               -5
     negative effects. Moderate warming can
     benefit crop and pasture yields in mid-
     to high-latitude regions, yet even slight                                                -10
     warming decreases yields in seasonally
     dry and low-latitude regions.14 A longer
     growing season could allow farmers to                                                    -15
                                                                                                1890     1900     1910   1920      1930   1940   1950   1960   1970   1980   1990   2000    2010   2020
     diversify crops or have multiple harvests
     from the same plot. However, it could                                                                                                          Year
     also limit the types of crops grown,
     encourage invasive species or weed                                                             Data source: Kunkel, 201215
     growth, or increase demand for irriga-
     tion. A longer growing season could
     also disrupt the function and structure
     of a region’s ecosystems and could, for                  Figure 2. Length of Growing Season in the Contiguous 48 States,
     example, alter the range and types of
     animal species in the area.
                                                              1895–2011: West Versus East
                                                              This figure shows the length of the growing season in the western and eastern United States

     About the Indicator                                      compared with a long-term average. For each year, the line represents the number of days shorter
                                                              or longer than average. The lines were smoothed using an 11-year moving average. Choosing a
                                                              different long-term average for comparison would not change the shape of the data over time.
     This indicator looks at the impact of
     temperature on the length of the grow-                                                   15
     ing season in the contiguous 48 states,
     as well as trends in the timing of spring
     and fall frosts. For this indicator, the                                                 10
                                                              Deviation from average (days)




     length of the growing season is defined
     as the period of time between the last                                                    5
     frost of spring and the first frost of fall,
     when the air temperature drops below
                                                                                                          Long-term average
     the freezing point of 32°F.                                                               0

     Trends in the growing season were cal-                                                                     East
     culated using temperature data from 750                                                   -5
     weather stations throughout the contigu-
                                                                                                                                West
     ous 48 states. These data were obtained
                                                                                              -10
     from the National Oceanic and Atmo-
     spheric Administration’s National Climatic
     Data Center. Growing season length and                                                   -15
     the timing of spring and fall frosts were                                                  1890     1900     1910   1920      1930   1940   1950   1960   1970   1980   1990   2000    2010   2020
     averaged across the nation, then com-                                                                                                          Year
     pared with long-term average numbers
     (1895–2011) to determine how each year                                                         Data source: Kunkel, 2012 16


     differed from the long-term average.
66
66




                                                                                                                                                                                           P00000069660
Key Points                                                                                                                                    Indicator Notes
                                                                                                                                              Changes in measurement techniques and in-
•	 The average length of the growing season in the contiguous 48 states has in-                                                               struments over time can affect trends. This
   creased by nearly two weeks since the beginning of the 20 th century. A particu-                                                           indicator only includes data from weather
   larly large and steady increase occurred over the last 30 years (see Figure 1).                                                            stations with a consistent record of data
•	 The length of the growing season has increased more rapidly in the West than in                                                            points for the time period.
   the East. In the West, the length of the growing season has increased at an aver-
   age rate of about 22 days per century since 1895, compared with a rate of about
   eight days per century in the East (see Figure 2).                                                                                         Data Sources
•	 The final spring frost is now occurring earlier than at any point since 1895, and                                                          All three figures are based on temperature
   the first fall frosts are arriving later. Since 1980, the last spring frost has oc-                                                        data compiled by the National Oceanic and
   curred an average of about three days earlier than the long-term average, and                                                              Atmospheric Administration’s National
   the first fall frost has occurred about two days later (see Figure 3).                                                                     Climatic Data Center, and these data are
                                                                                                                                              available online at: www.ncdc.noaa.gov/oa/
                                                                                                                                              ncdc.html. Frost timing and growing season
                                                                                                                                              length were analyzed by Kunkel (2012).18



Figure 3. Timing of Last Spring Frost and First Fall Frost in the
Contiguous 48 States, 1895–2011
This figure shows the timing of the last spring frost and the first fall frost in the contiguous
48 states compared with a long-term average. Positive values indicate that the frost oc-
curred later in the year, and negative values indicate that the frost occurred earlier in the
year. The lines were smoothed using an 11-year moving average. Choosing a different long-
term average for comparison would not change the shape of the data over time.

                                6


                                4
Deviation from average (days)




                                                                Spring frost
                                2

                                           Long-term average
                                0


                                -2
                                                         Fall frost
                                -4


                                -6
                                 1890     1900    1910    1920        1930     1940   1950   1960   1970   1980   1990   2000   2010   2020
                                                                                         Year
                                     Data source: Kunkel, 201217




                                                                                                                                                                                            6767




                                                                                                                                                                            P00000069661
                         Leaf and Bloom Dates
                           This indicator examines the timing of leaf growth and flower blooms for selected plants in the United States.




     Background                                                       Figure 1. First Leaf Dates in the Contiguous 48 States, 1900–2010
                                                                      This figure shows modeled trends in lilac and honeysuckle first leaf dates across the contiguous
     The timing of natural events, such as                            48 states, using the 1981 to 2010 average as a baseline. Positive values indicate that leaf growth
     flower blooms and animal migration, is                           began later in the year, and negative values indicate that leafing occurred earlier. The thicker line
     influenced by changes in climate. Phe-                           was smoothed using a nine-year weighted average. Choosing a different long-term average for
     nology is the study of such important                            comparison would not change the shape of the data over time.
     seasonal events. Phenological events are
     influenced by a combination of climate                                                                   15
     factors, including light, temperature,


                                                                   Deviation from 1981–2010 average (days)
     rainfall, and humidity. Different plant and
                                                                                                              10
     animal species respond to different cues.
     Scientists have very high confidence
     that the earlier arrival of spring events                                                                 5
     is linked to recent warming trends in
     global climate.19 Disruptions in the tim-
                                                                                                               0
     ing of these events can have a variety of
     impacts on ecosystems and human soci-
     ety. For example, an earlier spring might                                                                -5
     lead to longer growing seasons (see the
     Length of Growing Season indicator on
     p. 66), more abundant invasive species                                                                  -10
     and pests, and earlier and longer allergy
     seasons.
                                                                                                             -15
     Because of their close connection with                                                                    1900       1910     1920     1930   1940   1950      1960   1970   1980   1990   2000   2010
     climate, the timing of phenological                                                                                                                         Year
     events can be used as an indicator of                                                                         Data source: Schwartz, 201121
     the sensitivity of ecological processes
     to climate change. Some phenological
     indicators cover broad trends, such
     as overall “leaf-on” dates (when trees
     grow new leaves in the spring), using a                  Figure 2. First Bloom Dates in the Contiguous 48 States, 1900–2010
     combination of satellite data and ground                 This figure shows modeled trends in lilac and honeysuckle first bloom dates across the contigu-
     observations. Others rely on ground                      ous 48 states, using the 1981 to 2010 average as a baseline. Positive values indicate that
     observations that look at specific types                 blooming began later in the year, and negative values indicate that blooming occurred earlier.
     or species of plants or animals. Two par-                The thicker line was smoothed using a nine-year weighted average. Choosing a different long-
     ticularly useful indicators of the timing of             term average for comparison would not change the shape of the data over time.
     spring events are the first leaf dates and
     the first bloom dates of lilacs and honey-                                                              15
     suckles, which have an easily monitored
                                                              Deviation from 1981–2010 average (days)




     flowering season, relatively high survival
     rate, and large geographic distribution.                                                                10
     The first leaf date in these plants relates
     to the timing of “early spring,” while the                                                               5
     first bloom date is consistent with the
     timing of later spring events, such as the
     start of growth in forest vegetation.20                                                                  0


     About the Indicator                                                                                      -5

     This indicator shows trends in the timing
     of first leaf dates and first bloom dates                                                               -10
     in lilacs and honeysuckles across the
     contiguous 48 states. Because many of
     the phenological observation records in                                                                 -15
                                                                                                               1900      1910     1920     1930    1940   1950      1960   1970   1980   1990   2000   2010
     the United States are less than 40 years
     long, and because these records may have                                                                                                                Year
                                                                                                                   Data source: Schwartz, 201122
                          (Continued on page 69)
68




                                                                                                                                                                                                P00000069662
                                                                                       gaps in time or space, computer models have
                                                                                       been used to provide a more complete un-
                                                                                       derstanding of long-term trends nationwide.
                                                                                       The models for this indicator were devel-
                                                                                       oped using data from the USA National
                                                                                       Phenology Network, which collects ground
                                                                                       observations from a network of federal
                                                                                       agencies, field stations, educational institu-
                                                                                       tions, and citizens who have been trained
                                                                                       to log observations of leaf and bloom dates.
                                                                                       For consistency, observations were limited
                                                                                       to a few specific types of lilacs and hon-
                                                                                       eysuckles. Next, models were created to
                                                                                       relate actual leaf and bloom observations
                                                                                       with records from nearby weather stations.
                                                                                       Once scientists were able to determine the
                                                                                       relationship between leaf and bloom dates
                                                                                       and climate factors (particularly tempera-
                                                                                       tures), they used this knowledge to estimate
                                                                                       leaf and bloom dates for earlier years based
                                                                                       on historical weather records. They also
                                                                                       used the models to estimate how leaf and
                                                                                       bloom dates would have changed in a few
                                                                                       areas (mostly in the far South) where lilacs
                                                                                       and honeysuckles are not widespread.
                                                                                       This indicator uses data from several
                                                                                       hundred weather stations throughout the
                                                                                       contiguous 48 states. The exact number of
                                                                                       stations varies from year to year. For each
                                                                                       year, the timing of first leaf and first bloom
                                                                                       at each station was compared with the 1981
                                                                                       to 2010 average to determine the number of
                                                                                       days’ “deviation from normal.” This indica-
                                                                                       tor presents the average deviation across all
                                                                                       stations.


                                                                                       Indicator Notes
                                                                                       Plant phenological events are studied using
                                                                                       several data collection methods, including
                                                                                       satellite images, models, and direct obser-
                                                                                       vations. The use of varying data collection
                                                                                       methods in addition to different phenologi-
                                                                                       cal indicators (such as leaf or bloom dates
                                                                                       for different types of plants) can lead to a
                                                                                       range of estimates of the arrival of spring.
                                                                                       Climate is not the only factor that can
                                                                                       affect phenology. Observed variations can
                                                                                       also reflect plant genetics, changes in the
                                                                                       surrounding ecosystem, and other factors.
                                                                                       This indicator minimizes genetic influences
                                                                                       by relying on cloned plant species (that is,
Key Points                                                                             plants with no genetic differences).
•	 First leaf growth in lilacs and honeysuckles in the contiguous 48 states is now
   occurring a few days earlier than it did in the early 1900s. Although the data
   show a great deal of year-to-year variability, a noticeable change toward earlier
                                                                                       Data Sources
   dates seems to have begun around the 1980s (see Figure 1).                          Leaf and bloom observations were compiled
                                                                                       by the USA National Phenology Network
•	 Lilac and honeysuckle bloom dates show a high degree of year-to-year vari-          and are available at: www.usanpn.org. This
   ability, which makes it difficult to determine whether a statistically meaningful   indicator is also based on climate data that
   change has taken place (see Figure 2).                                              were provided by the U.S. Historical Clima-
•	 Other studies have looked at trends in leaf and bloom dates across all of North     tology Network and are available at: www.
   America and the entire Northern Hemisphere. These studies have also found           ncdc.noaa.gov/oa/climate/research/ushcn.
   a trend toward earlier spring events—some more pronounced than the trends           Data for this indicator were analyzed using
   seen in just the contiguous 48 states.23                                            methods described by McCabe et al. (2011).24
                                                                                                                                        69




                                                                                                                       P00000069663
                        Bird Wintering Ranges
                          This indicator examines changes in the winter ranges of North American birds.




     Background                                               Figure 1. Change in Latitude of Bird Center of Abundance, 1966–2005
                                                              This figure shows annual change in latitude of bird center of abundance for 305 widespread bird
     Changes in climate can affect ecosystems by              species in North America from 1966 to 2005. Each winter is represented by the year in which it be-
     influencing animal behavior and distribution.            gan (for example, winter 2005–2006 is shown as 2005). The shaded band shows the likely range
     Birds are a particularly good indicator of               of values, based on the number of measurements collected and the precision of the methods used.
     environmental change for several reasons:
     •	 Each species of bird has adapted to cer-                                                   60
        tain habitat types, food sources, and tem-
                                                                                                   50

                                                            Average distance moved north (miles)
        perature ranges. In addition, the timing of
        certain events in their life cycles—such
        as migration and reproduction—is driven                                                    40
        by cues from the environment. For
                                                                                                   30
        example, many North American birds
        follow a regular seasonal migration pat-
                                                                                                   20
        tern, moving north to feed and breed in
        the summer, then moving south to spend                                                     10
        the winter in warmer areas. Changing
        conditions can influence the distribution                                                   0
        of both migratory and nonmigratory
        birds as well as the timing of important                                                   -10
        life cycle events.
                                                                                                   -20
     •	 Birds are easy to identify and count,                                                        1965          1970        1975        1980          1985   1990   1995   2000   2005
        and thus there is a wealth of scientific
        knowledge about their distribution and                                                                                                           Year
        abundance. People have kept detailed
        records of bird observations for more                                                            Data source: National Audubon Society, 200925

        than a century.
     •	 There are many different species of birds
        living in a variety of habitats, including
        water birds, coastal birds, and land birds.
        If a change in habitats or habits occurs
        across a range of bird types, it suggests
        that a common force might be contribut-
        ing to that change.
     Temperature and precipitation patterns are
     changing across the United States (see the
     U.S. and Global Temperature indicator on
     p. 24 and the U.S. and Global Precipitation
     indicator on p. 28). Some bird species can
     adapt to generally warmer temperatures by
     changing where they live—for example, by
     migrating further north in the summer but
     not as far south in the winter, or by shift-
     ing inland as winter temperature extremes
     grow less severe. Nonmigratory species
     might shift as well, expanding into newly
     suitable habitats while moving out of areas
     that become less suitable. Other types of
     birds might not adapt to changing conditions
     and could experience a population decline
     as a result. Climate change can also alter the
     timing of events that are based on tempera-
     ture cues, such as migration and breeding
     (especially egg-laying).



70




                                                                                                                                                                                P00000069664
                                                                                                                                           About the Indicator
                                                                                                                                           This indicator looks at the “center of abun-
                                                                                                                                           dance” of 305 widespread North American
                                                                                                                                           bird species over a 40-year period. The center
                                                                                                                                           of abundance is a point on the map that repre-
                                                                                                                                           sents the middle of each species’ distribution.
                                                                                                                                           If a whole population of birds were to shift
                                                                                                                                           generally northward, one would see the center

                                        Key Points                                                                                         of abundance shift northward as well.
                                                                                                                                           For year-to-year consistency, this indicator uses
                                        •	 Among 305 widespread North American bird species, the average mid-                              observations from the National Audubon Soci-
                                           December to early January center of abundance moved northward between                           ety’s Christmas Bird Count, which takes place
                                           1966 and 2005. The average species shifted northward by 35 miles during this                    every year in early winter. The Christmas Bird
                                           period (see Figure 1). Trends in center of abundance are closely related to                     Count is a long-running citizen science program
                                           winter temperatures. 26                                                                         in which individuals are organized by the Nation-
                                                                                                                                           al Audubon Society, Bird Studies Canada, local
                                        •	 On average, bird species have also moved their wintering grounds farther from                   Audubon chapters, and other bird clubs to iden-
                                           the coast since the 1960s (see Figure 2). This shift also relates to changes in                 tify and count bird species. The data presented
                                           winter temperatures.27                                                                          in this indicator were collected from more than
                                                                                                                                           2,000 locations throughout the United States
                                        •	 Some species have moved farther than others. Of the 305 species studied, 177                    and parts of Canada. At each location, skilled
                                           (58 percent) have shifted their wintering grounds significantly northward since                 observers follow a standard counting procedure
                                           the 1960s, but some others have not moved at all. A few species have moved                      to estimate the number of birds within a 15-mile
                                           northward by as much as 200 to 400 miles. 28                                                    diameter “count circle” over a 24-hour period.
                                                                                                                                           Study methods remain generally consistent from
                                                                                                                                           year to year. Data produced by the Christmas
                                                                                                                                           Bird Count go through several levels of review
                                                                                                                                           before Audubon scientists analyze the final data,
                                                                                                                                           which have been used to support a wide variety
          Figure 2. Change in Distance to Coast of Bird Center of Abundance,                                                               of peer-reviewed studies.
          1966–2005
          This figure shows annual change in distance to the coast of bird center of abundance for 305
          widespread bird species in North America from 1966 to 2005. Each winter is represented by the
                                                                                                                                           Indicator Notes
          year in which it began (for example, winter 2005–2006 is shown as 2005). The shaded band                                         Many factors can influence bird ranges, includ-
          shows the likely range of values, based on the number of measurements collected and the preci-                                   ing food availability, habitat alteration, and
          sion of the methods used.                                                                                                        interactions with other species. As a result,
                                                                                                                                           some of the birds included in this indicator
                                                                                                                                           might have moved north for reasons other
                                                   35
Average distance moved inland from coast (miles)




                                                                                                                                           than changing temperatures. This indicator
                                                                                                                                           does not show how responses to climate
                                                   30
                                                                                                                                           change vary among different types of birds.
                                                                                                                                           For example, a more detailed National Audu-
                                                   25
                                                                                                                                           bon Society analysis found large differences
                                                                                                                                           among coastal birds, grassland birds, and birds
                                                   20
                                                                                                                                           adapted to feeders, which all have varying abili-
                                                   15
                                                                                                                                           ties to adapt to temperature changes. 30
                                                                                                                                           Some data variations can be caused by differ-
                                                   10                                                                                      ences among count circles, such as inconsis-
                                                                                                                                           tent level of effort by volunteer observers, but
                                                    5                                                                                      these differences are carefully corrected in
                                                                                                                                           Audubon’s statistical analysis.
                                                    0

                                                   -5
                                                    1965         1970        1975        1980           1985   1990   1995   2000   2005
                                                                                                                                           Data Sources
                                                                                                                                           Bird center of abundance data were collected
                                                                                                        Year
                                                                                                                                           by the annual Christmas Bird Count organized
                                                                                                                                           by the National Audubon Society and Bird
                                                        Data source: National Audubon Society, 200929
                                                                                                                                           Studies Canada. Recent and historical Christ-
                                                                                                                                           mas Bird Count data are available at: http://
                                                                                                                                           birds.audubon.org/christmas-bird-count. Data
                                                                                                                                           for this indicator were analyzed by the Nation-
                                                                                                                                           al Audubon Society in 200931 and are available
                                                                                                                                           at: www.audubon.org/bird/bacc/index.html.

                                                                                                                                                                                               71




                                                                                                                                                                             P00000069665
                         Heat-Related Deaths
                           This indicator presents data on deaths classified as “heat-related” in the United States.



     Background                                                    Figure 1. Deaths Classified as “Heat-Related” in the United States,
                                                                   1979–2009
     When people are exposed to extreme heat,
     they can suffer from potentially deadly heat-                 This figure shows the annual rates for deaths classified as “heat-related” by medical profession-
     related illnesses such as heat exhaustion and
                                                                   als in the 50 states and the District of Columbia. The orange line shows deaths for which heat
     heat stroke. Heat is the leading weather-related
     killer in the United States, even though most                 was listed as the main (underlying) cause.* The blue line shows deaths for which heat was listed
     heat-related deaths are preventable through                   as either the underlying or contributing cause of death during the months from May to Septem-
     outreach and intervention (see EPA’s Exces-                   ber, based on a broader set of data that became available in 1999.
     sive Heat Events Guidebook at: www.epa.gov/
                                                                                                        4.0
     heatisland/about/pdf/EHEguide_final.pdf)
     Unusually hot summer temperatures have                                                             3.5                      Underlying and contributing
     become more frequent across the contiguous 48                                                                               causes of death (May–Sept)
     states in recent decades32 (see the High and Low
                                                                  Death rate (per million population)
                                                                                                                                 Underlying cause of death
     Temperatures indicator on p. 26), and extreme                                                      3.0                      (all year)
     heat events (heat waves) are expected to be-
     come longer, more frequent, and more intense in                                                    2.5
     the future.33 As a result, the risk of heat-related
     deaths and illness is also expected to increase.34
                                                                                                        2.0
     Increases in summertime temperature variabil-
     ity may increase the risk of heat-related death
                                                                                                        1.5
     for the elderly and other vulnerable popula-
     tions.35 Older adults carry the highest risk of
     heat-related death, although young children                                                        1.0
     are also sensitive to the effects of heat. Across
     North America, the population over the age of                                                      0.5
     65 is growing dramatically as the baby boomer
     generation ages. People with certain diseases,
     such as cardiovascular and respiratory illnesses,                                                  0.0
                                                                                                          1975       1980         1985          1990           1995      2000           2005          2010
     are especially vulnerable to excessive heat ex-
     posure, as are the economically disadvantaged.                                                                                                    Year
     Some studies suggest that the number of deaths                                           * B etween 1998 and 1999, the World Health Organization revised the international codes used to classify causes
                                                                                                of death. As a result, data from earlier than 1999 cannot easily be compared with data from 1999 and later.
     caused by extremely cold temperatures might
     drop in certain areas as the climate gets warm-                                          Data source: CDC, 201240,41
     er, while others do not expect the number to
     change at all.36,37 Any decrease in cold-related
     deaths, however, will not be enough to out-
     weigh the increase in heat-related deaths.38,39
                                                                                                        Key Points
     About the Indicator                                                                                •	 During the 31 years of data collection (1979–2009), the death rate as a direct result
                                                                                                           of exposure to heat (underlying cause of death) generally hovered around 0.5 deaths
     This indicator shows the annual rate for
     deaths classified by medical professionals                                                            per million population, with spikes in certain years (see Figure 1). Overall, a total of
     as “heat-related” each year in the United                                                             over 7,000 Americans suffered heat-related deaths since 1979.
     States, based on death certificate records.
     Every death is recorded on a death certifi-                                                        •	 For years where the two records overlap (1999–2009), accounting for those ad-
     cate, where a medical professional identifies                                                         ditional deaths in which heat was listed as a contributing factor results in a higher
     the main cause of death (also known as the                                                            death rate—nearly double for some years—compared with the estimate that only
     underlying cause), along with other conditions                                                        includes deaths where heat was listed as the underlying cause. However, even this
     that contributed to the death. These causes                                                           expanded metric does not necessarily capture the full extent of heat-related deaths.
     are classified using a set of standard codes.
                                                                                                        •	 The indicator shows a peak in heat-related deaths in 2006, a year that was associ-
     Multiplying the annual number of deaths per
     U.S. population that year by one million will                                                         ated with widespread heat waves and was the second-hottest year on record in
     result in the death rate shown in Figure 1.                                                           the contiguous 48 states (see the U.S. and Global Temperature indicator on p. 24).

     This indicator shows heat-related deaths using                                                     •	 Considerable year-to-year variability in the data and certain limitations of this
     two methodologies. One method shows deaths                                                            indicator make it difficult to determine whether the United States has experienced
     for which excessive natural heat was stated as                                                        a meaningful increase or decrease in deaths classified as “heat-related” over time.
     the underlying cause of death from 1979 to 2009.                                                      Dramatic increases in heat-related deaths are closely associated with both the
     The other data series shows deaths for which                                                          occurrence of hot temperatures and heat waves, though these deaths may not be
     heat was listed as either the underlying cause                                                        reported as “heat-related” on death certificates. For example, studies of the 1995
     or a contributing cause, based on a broader set                                                       heat wave event in Chicago (see example on p. 73) suggest that there were hundreds
     of data that at present can only be evaluated                                                         more deaths than were actually reported as “heat-related” on death certificates.
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                                (Continued on page 73)




                                                                                                                                                                                        P00000069666
                 Example: Examining Heat-Related Deaths During the 1995 Chicago                                                                        back to 1999. For example, in a case where
                                                                                                                                                       cardiovascular disease was determined to be the
                 Heat Wave*                                                                                                                            underlying cause of death, heat could be listed
                                                                                                                                                       as a contributing factor because it can make
                 Many factors can influence the nature, extent, and timing of health consequences associated with
                                                                                                                                                       the individual more susceptible to the effects of
                 extreme heat events.42 Studies of heat waves are one way to better understand health impacts, but                                     this disease. Because excessive heat events are
                 different methods can lead to very different estimates of heat-related deaths. For example, during                                    associated with summer months, the 1999–2009
                 a severe heat wave that hit Chicago between July 11 and July 27, 1995, 465 heat-related deaths                                        analysis was limited to May through September.
                 were recorded on death certificates in Cook County.43 However, studies that compared the total
                 number of deaths during this heat wave (regardless of the recorded cause of death) with the long-
                 term average of daily deaths found that the heat wave led to about 700 more deaths than would
                 otherwise have been expected.44 Differences in estimated heat-related deaths that result from
                                                                                                                                                       Indicator Notes
                                                                                                                                                       Several factors influence the sensitivity of this
                 different methods may be even larger when considering the entire nation and longer time periods.                                      indicator and its ability to estimate the true
                                                                                                                                                       number of deaths associated with extreme
                                                                                                                                                       heat events. It has been well-documented that
                                    Cook County, July 11–27, 1995:                                                                                     many deaths associated with extreme heat are
                                    Excess deaths compared with this time period during an average year: about 700
                                                                                                                                                       not identified as such by the medical examiner
                                    Deaths classified as “heat-related” on death certificates (not shown here): 465                                    and might not be correctly coded on the death
                                                                                                                                                       certificate. In many cases, the medical examiner
                         600                                                                                                                           might classify the cause of death as a cardiovas-
                                                                                                                              110
                                                                                                          Daily high                                   cular or respiratory disease, not knowing for
                                                                                                        temperature,                                   certain whether heat was a contributing factor,
                         500
                                                                                                          1995 (˚F)           100                      particularly if the death did not occur during a
                                                                                                                                                       well-publicized heat wave. By studying how daily
Number of daily deaths




                                                                                                                                                       death rates vary with temperature in selected
                         400
                                                                                                                              90                       cities, scientists have found that extreme heat




                                                                                                                                    Temperature (˚F)
                                                                                                                                                       contributes to far more deaths than the official
                         300                                                                                                                           death certificates might suggest.47 This is because
                                                                               Daily                                          80                       the stress of a hot day can increase the chance of
                                                                              deaths,                                                                  dying from a heart attack, other heart conditions,
                                                                               1995
                         200                                                                                                  70
                                                                                                                                                       or respiratory diseases such as pneumonia.48
                                                                                                                                                       These causes of death are much more common
                                                                                                                                                       than heat-related illnesses such as heat stroke.
                         100              Average                                                                                                      Thus, this indicator very likely underestimates the
                                        daily deaths,                                                                         60
                                         1990–2000                                                                                                     number of deaths caused by exposure to heat.
                                                                                                                                                       Just because a death is classified as “heat-
                          0                                                                                                   50
                                                                                                                                                       related” does not mean that high temperatures
                           6/1   6/11        6/21       7/1     7/11       7/21         7/31     8/10       8/20       8/30
                                                                                                                                                       were the only factor that caused or contributed
                                                                       Date                                                                            to the death. Pre-existing medical conditions
                                                                                                                                                       can significantly increase an individual’s vulner-
               *This graph shows data for the Chicago Standard Metropolitan Statistical Area.                                                          ability to heat. Other important factors, such
               Data sources: CDC, 2012;45 NOAA, 201246                                                                                                 as the overall vulnerability of the population,
                                                                                                                                                       the extent to which people have adapted to
                                                                                                                                                       higher temperatures, and the local climate and
                                                                                                                                                       topography, can affect trends in “heat-related”
                                                                                                                                                       deaths. Heat response measures such as early
                                                                                                                                                       warning and surveillance systems, air condi-
                                                                                                                                                       tioning, health care, public education, cool-
                                                                                                                                                       ing centers during heat waves, infrastructure
                                                                                                                                                       standards, and air quality management can also
                                                                                                                                                       make a big difference in death rates. For exam-
                                                                                                                                                       ple, after a 1995 heat wave, the city of Milwau-
                                                                                                                                                       kee developed a plan for responding to extreme
                                                                                                                                                       heat conditions in the future; during the 1999
                                                                                                                                                       heat wave, heat-related deaths were roughly
                                                                                                                                                       half of what would have been expected.49
                                                                                                                                                       Future development related to this indica-
                                                                                                                                                       tor should focus on capturing all heat-related
                                                                                                                                                       deaths, not just those with a reported link to
                                                                                                                                                       heat stress, as well as examining heat-related
                                                                                                                                                       illnesses more systematically.


                                                                                                                                                       Data Sources
                                                                                                                                                       Data for this indicator were provided by the
                                                                                                                                                       U.S. Centers for Disease Control and Preven-
                                                                                                                                                       tion (CDC). The 1979–2009 underlying cause
                                                                                                                                                       data are publicly available through the CDC
                                                                                                                                                       WONDER database at: http://wonder.cdc.gov/
                                                                                                                                                       mortSQL.html. The 1999–2009 analysis was
                                                                                                                                                       developed by CDC’s Environmental Public
                                                                                                                                                       Health Tracking Program, which provides
                                                                                                                                                       a summary at: www.cdc.gov/nceh/tracking.     73




                                                                                                                                                                                        P00000069667
     Climate Change Indicators and Human Health

     T
         his report provides several environmental and
         ecological indicators of observed change related to          In 2011, The Centers for Disease Control and Prevention
         climate. Although climate change can affect human            (CDC) introduced a suite of indicators to track the effects of
                                                                      climate change on human health through the Environmental
     health in a number of direct and indirect ways, well-            Public Health Tracking Network (EPHTN). The network links
     defined, consensus-based “health” indicators are limited.        standardized metrics from local, state, and national databases
                                                                      on environmental hazards and human health effects with
     Many societal and environmental factors can influence            climate information.3 EPHTN is an emerging effort from which
     how climate change will affect health in any given               useful indicators may be leveraged to track potential direct
     community. These factors include the extent, frequen-            and indirect health effects due to climate change. For more
     cy, and severity of climate change impacts; the ability          information about EPHTN, go to: www.cdc.gov/nceh/tracking.
     of communities to prepare for and respond to the risks
     posed by climate change; and the vulnerability of the          work with climate and health experts to develop indi-
     different populations living in the community.                 cators that communicate the effects of climate change
     Because the impacts of climate change on health are com-       on health and society more broadly.
     plex, often indirect, and dependent on multiple societal       Key human health impacts and vulnerabilities associ-
     and environmental factors, the development of appropri-        ated with climate change include:
     ate climate-related health indicators is challenging and
     still emerging. To ensure that response measures are effec-    •	 A warmer climate will increase the risk of heat-
     tive and adverse health effects are avoided, it is important      related illness and death. A warmer climate is also
     for climate-related health indicators to be clear, measur-        expected to decrease the risk of cold-related illness
     able, timely, and closely linked to changes in climate.1,2        and death.
     Climate-related health indicators will be instrumental         •	 Climate change is expected to worsen conditions
     not only in tracking and measuring health impacts of              for air quality, including exposure to ground-level
     climate change but also, more importantly, in iden-               ozone, which can aggravate lung diseases and lead
     tifying areas where the protection of public health is            to premature death.
     needed most. EPA plans to explore opportunities to             •	 Climate change will likely increase the frequency
                                                                       and strength of certain extreme events (such as
                                                                       floods, droughts, and storms) that threaten human
                                                                       safety and health.
                                                                    •	 Changes in temperature and precipitation can
                                                                       spread or shift the geographic range of certain
                                                                       diseases and alter the seasons for pollen, affecting
                                                                       human exposure to infection, asthma, and other
                                                                       respiratory diseases.
                                                                    •	 Vulnerable populations including the poor, the
                                                                       elderly, those already in poor health, the disabled,
                                                                       and indigenous populations are most at risk.
                                                                    For more information about climate change impacts
                                                                    and human health, visit EPA’s website: www.epa.gov/
                                                                    climatechange/impacts-adaptation/health.html.
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                                                                                                                         P00000069668
Climate Change Resources
EPA’s Climate Change website (www.epa.gov/
climatechange) provides a good starting point for fur-
ther exploration of this topic. From this site, you can:
•	 View the latest information about EPA’s climate
   change indicators (www.epa.gov/climatechange/
   indicators) and download figures as well as accompa-
   nying technical documentation.
•	 Learn more about greenhouse gases and the science
   of climate change, discover the potential impacts of
   climate change on human health and ecosystems,
   read about how people can adapt to changes, and get
   up-to-date news.
•	 Read about greenhouse gas emissions, look through
   EPA’s greenhouse gas inventories, and explore EPA’s
   Greenhouse Gas Data Publication Tool.
•	 Learn about EPA’s regulatory initiatives and partner-
   ship programs.
•	 Search EPA’s database of frequently asked questions about climate change and ask your own questions. Explore a glossary
   of terms related to climate change, including many terms that appear in this report.
•	 Find out what you can do at home, on the road, at work, and at school to help reduce greenhouse gas emissions.
•	 Explore U.S. climate policy and climate economics.
•	 Find resources for educators and students.
                                                                   Many other government and nongovernment websites
                                                                   also provide information about climate change. Here
                                                                   are some examples:
                                                                   •	 T
                                                                       he Intergovernmental Panel on Climate Change
                                                                      (IPCC) is the international authority on climate
                                                                      change science. The IPCC website (www.ipcc.ch/
                                                                      index.htm) summarizes the current state of scientific
                                                                      knowledge about climate change.
                                                                   •	 T
                                                                       he U.S. Global Change Research Program
                                                                      (www.globalchange.gov) is a multi-agency effort
                                                                      focused on improving our understanding of the
                                                                      science of climate change and its potential impacts
                                                                      on the United States through reports such as the
                                                                      National Climate Assessment.
                                                                   •	 The National Academy of Sciences
                                                                      (http://nas-sites.org/americasclimatechoices) has




                                                                                                                                  75




                                                                                                                          P00000069669
        developed many independent scientific reports on the
        causes of climate change, its impacts, and potential
        solutions. The National Academy’s Koshland Sci-
        ence Museum (https://koshland-science-museum.org)
        provides an interactive online Earth Lab where people
        can learn more about these issues.
     •	 The National Oceanic and Atmospheric Admin-
        istration (NOAA) is charged with helping society
        understand, plan for, and respond to climate variabil-
        ity and change. Find out more about NOAA’s climate
        indicators and other activities at: www.climate.gov.
     •	 NOAA’s National Climatic Data Center website
        (www.ncdc.noaa.gov/oa/ncdc.html) provides access
        to data that demonstrate the effects of climate change
        on weather, climate, and the oceans.
     •	 T
         he Centers for Disease Control and Prevention
        (CDC) provides extensive information about the re-
        lationship between climate change and public health
        at: www.cdc.gov/climateandhealth/default.htm.
     •	 T
         he U.S. Geological Survey’s Climate and Land Use Change website (www.usgs.gov/climate_landuse) looks at the
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     •	 T
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        (http://climate.nasa.gov). Another NASA site (http://earthobservatory.nasa.gov/Features/EnergyBalance/page1.php)
        discusses the Earth’s energy budget and how it relates
        to greenhouse gas emissions and climate change.
     •	 The National Snow and Ice Data Center’s website
        (http://nsidc.org/cryosphere) provides more informa-
        tion about ice and snow and how they influence and
        are influenced by climate change.
     •	 The Woods Hole Oceanographic Institution’s website
        (www.whoi.edu/main/climate-ocean) explains how
        climate change affects the oceans and how scientists
        measure these effects.
     For more indicators of environmental condition, visit
     EPA’s Report on the Environment (www.epa.gov/roe).
     This resource presents a wide range of indicators of
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Endnotes
Introduction
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Summary of Key Points
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